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                    EXHIBIT A
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Bed Bath & Beyond Inc. NasdaqGS:BBBY
FQ3 2019 Earnings Call Transcripts
Wednesday, January 09, 2019 10:00 PM GMT
S&P Global Market Intelligence Estimates
                                          -FQ3 2019-                             -FQ4 2019-                        -FY 2019-                  -FY 2020-

                      CONSENSUS             ACTUAL             SURPRISE          CONSENSUS             CONSENSUS          GUIDANCE            CONSENSUS

     EPS
                          0.17                0.18                 5.88              1.12                   2.00               2.00             1.60
  Normalized

Revenue (mm)            3041.13             3032.23              (0.29 %)          3408.85              12149.35                -             12082.68
Currency: USD
Consensus as of Jan-09-2019 10:06 AM GMT




                                                                                   - EPS NORMALIZED -

                                                       CONSENSUS                               ACTUAL                           SURPRISE


           FQ4 2018                                             1.41                                 1.48                            4.96 %

           FQ1 2019                                             0.32                                 0.38                           18.75 %

           FQ2 2019                                             0.50                                 0.36                       (28.00 %)

           FQ3 2019                                             0.17                                 0.18                            5.88 %




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                    EXHIBIT B
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                                  UNITED STATES
                      SECURITIES AND EXCHANGE COMMISSION
                                                          Washington, D.C. 20549




                                                           FORM 8-K
                                                 CURRENT REPORT
                                       PURSUANT TO SECTION 13 OR 15 (d) OF THE
                                         SECURITIES EXCHANGE ACT OF 1934

                                       Date of Report (Date of earliest event reported) April 21, 2019


                                           BED BATH & BEYOND INC.
                                            (Exact name of registrant as specified in its charter)

                   New York                                     0-20214                                         XX-XXXXXXX
         (State or other jurisdiction of                 (Commission File Number)                    (I.R.S. Employer Identification No.)
                 incorporation)

                                              650 Liberty Avenue, Union, New Jersey 07083
                                             (Address of principal executive offices) (Zip Code)

                                                               (908) 688-0888
                                            (Registrant’s telephone number, including area code)

  Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant
  under any of the following provisions:

      Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

  _ Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)

      Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))

      Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4 (c))

  Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933
  (§230.405 of this chapter) or Rule 12b-2 of the Securities Exchange Act of 1934 (§240.12b-2 of this chapter).

  Emerging growth company 

  If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for
  complying with any new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. 




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  Item 5.02      Departure of Directors or Certain Officers; Election of Directors; Appointment of Certain Officers;
  Compensatory Arrangements of Certain Officers.

           On April 21, 2019, the Board of Directors (the “Board”) of Bed Bath & Beyond Inc. (the “Company”) appointed each of
  Harriet Edelman, Harsha Ramalingam, Andrea M. Weiss, Mary A. Winston and Ann Yerger as an independent director of the
  Company, effective as of May 1, 2019. Ms. Edelman, Ms. Weiss, Ms. Winston, Ms. Yerger and Mr. Ramalingam will each serve until
  the Company’s 2019 annual meeting of shareholders, when she or he is expected to stand for re-election to the Board by a vote of the
  Company’s shareholders. None of Ms. Edelman, Ms. Weiss, Ms. Winston, Ms. Yerger and Mr. Ramalingam has been appointed as a
  member of any committee of the Board at this time; however, the Company expects to appoint some or all of these new directors to one
  or more committees of the Board in the future.

           Ms. Edelman, Ms. Weiss, Ms. Winston, Ms. Yerger and Mr. Ramalingam will each be compensated in accordance with the
  Company’s standard compensation policies and practices for its non-employee directors (pro-rated based on start date), which are
  generally described in the Company’s proxy statement for its 2018 annual meeting of shareholders.

           No family relationships exist between any of Ms. Edelman, Ms. Weiss, Ms. Winston, Ms. Yerger or Mr. Ramalingam and any
  of the Company’s other directors or executive officers. There are no arrangements or understandings pursuant to which any of
  Ms. Edelman, Ms. Weiss, Ms. Winston, Ms. Yerger or Mr. Ramalingam was elected as a director, and there are no related party
  transactions between the Company and any of Ms. Edelman, Ms. Weiss, Ms. Winston, Ms. Yerger or Mr. Ramalingam reportable under
  Item 404(a) of Regulation S-K.

           On April 21, 2019, Warren Eisenberg and Leonard Feinstein transitioned to the role of Co-Founders, Co-Chairmen Emeriti of
  the Board, effective immediately. As part of this transition, Patrick R. Gaston was appointed Independent Chairman of the Board,
  effective immediately. As a result of this transition, Mr. Eisenberg and Mr. Feinstein ceased to be officers of the Company effective as
  of April 21, 2019.

           On April 21, 2019, the Board accepted the resignations of Warren Eisenberg, Leonard Feinstein, Dean Adler, Stanley Barshay,
  Klaus Eppler, Jordan Heller and Victoria Morrison from the Board, effective as of May 1, 2019. None of Mr. Eisenberg, Mr. Feinstein,
  Mr. Adler, Mr. Barshay, Mr. Eppler, Mr. Heller or Ms. Morrison resigned as a result of any disagreement with the Board, the Company
  or its management on any matter relating to the Company’s operations, policies or practices.

          On April 21, 2019, the Board also approved the creation of the Business Transformation and Strategic Review Committee as a
  new committee of the Board. The Committee will include both new and incumbent directors. In addition, on April 21, 2019, the Board
  appointed Virginia Ruesterholz as Chairwoman of the Nominating and Corporate Governance Committee.

          A copy of the press release issued by the Company on April 22, 2019 regarding the above is filed as Exhibit 99.1 to this
  Current Report on Form 8-K and is incorporated by reference into this Item 5.02.

  Item 5.03          Amendments to Articles of Incorporation or Bylaws; Change in Fiscal Year.

          On April 21, 2019 and effective on the same date, the Board amended the Amended By-laws of the Company (the “By-Law
  Amendment”). The By-Law Amendment allows the Company to appoint a Director Emeritus or Chairman Emeritus and removes the
  requirement that the Chairman of the Board be considered an executive officer of the Company.

           The foregoing description is qualified in its entirety by reference to the full text of the By-law Amendment, a copy of which is
  attached hereto as Exhibit 3.1.

  Item 8.01          Other Events.

           On April 22, 2019, the Company also published an Investor Presentation regarding the changes described in Item 5.02. A
  copy of the Investor Presentation is attached hereto as Exhibit 99.2 and is incorporated herein by reference. Additionally, the Company
  has posted the Investor Presentation on the investor relations section of its website at www.bedbathandbeyond.com.

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  Important Information

  Bed Bath & Beyond Inc. (the “Company”) intends to file a definitive proxy statement and associated proxy card in connection with the
  solicitation of proxies for the Company’s 2019 Annual Meeting with the Securities and Exchange Commission (the “SEC”).
  Details concerning the nominees of the Company’s Board of Directors for election at the 2019 Annual Meeting will be included in the
  Proxy Statement. BEFORE MAKING ANY VOTING DECISION, INVESTORS AND SHAREHOLDERS OF THE COMPANY
  ARE URGED TO READ ALL RELEVANT DOCUMENTS FILED WITH OR FURNISHED TO THE SEC, INCLUDING THE
  COMPANY’S DEFINITIVE PROXY STATEMENT AND ANY SUPPLEMENTS THERETO, BECAUSE THEY WILL CONTAIN
  IMPORTANT INFORMATION. Investors and shareholders will be able to obtain a copy of the definitive proxy statement and other
  documents filed by the Company free of charge from the SEC’s website, www.sec.gov. The Company’s shareholders will also be able
  to obtain, without charge, a copy of the definitive proxy statement and other relevant filed documents by directing a request by mail to
  Bed Bath & Beyond Inc. at 650 Liberty Avenue Union, New Jersey 07083, by contacting the Company’s proxy solicitor, D.F. King &
  Co., toll-free at 1 (888) 777-0320 or at bbby@dfking.com, or from the investor relations section of the Company’s website at
  www.bedbathandbeyond.com.

  Participants in the Solicitation

  The Company, its directors and certain of its executive officers will be deemed participants in the solicitation of proxies from
  shareholders in respect of the 2019 Annual Meeting. Information regarding the names of the Company’s directors and executive
  officers and their respective interests in the Company by security holdings or otherwise is set forth in the Company’s Annual Report on
  Form 10-K for the fiscal year ended March 3, 2018, filed with the SEC on May 2, 2018, the Company’s quarterly reports on Form 10-
  Q filed with the SEC on July 6, 2018, October 10, 2018 and January 9, 2019, the Company’s Current Report on Form 8-K filed with
  the SEC on June 5, 2018 and the Company’s definitive proxy statement for the 2018 Annual Meeting of Shareholders, filed with the
  SEC on May 31, 2018. To the extent holdings of such participants in the Company’s securities have changed since the amounts
  described in the proxy statement for the 2018 Annual Meeting of Shareholders, such changes have been reflected on Initial Statements
  of Beneficial Ownership on Form 3 or Statements of Change in Ownership on Form 4 filed with the SEC. These documents can be
  obtained free of charge from the sources indicated above. Additional information regarding the interests of these participants in any
  proxy solicitation and a description of their direct and indirect interests, by security holdings or otherwise, will also be included in any
  proxy statement and other relevant materials to be filed with the SEC, if and when they become available.

  Item 9.01          Financial Statements and Exhibits.

  (d) Exhibits:

  Exhibit No.                                                              Description

  3.1              Amendment to By-Laws of Bed Bath & Beyond Inc.

  99.1             Press Release issued by Bed Bath & Beyond Inc. on April 22, 2019.

  99.2             Investor Presentation for the fiscal fourth quarter ended April 22, 2019.

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  SIGNATURES

            Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on
  its behalf by the undersigned thereunto duly authorized.

                                                                       BED BATH & BEYOND INC.
                                                                       (Registrant)

  Date: April 22, 2019                                                 By: /s/ Allan N. Rauch
                                                                           Allan N. Rauch
                                                                           Chief Legal Officer and General Counsel

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                                                                                                                               Exhibit 3.1

  Effective April 21, 2019, Bed Bath & Beyond Inc. amended its Amended By-Laws by inserting the following as Article III, Section 19
  thereof:

            Section 19. Director and Chairman Emeritus. The Board of Directors may, from time to time in its discretion, by majority
  vote, designate one or more of its former directors a Director Emeritus or, in the case of a former Chairman of the Board, a Chairman
  Emeritus. Each such designation shall be for such term as is determined by a majority of the Board of Directors or until such Director
  Emeritus’ or Chairman Emeritus’ earlier death, resignation, retirement or removal (for any reason or no reason by a majority of the
  Board of Directors). Each Director Emeritus and Chairmen Emeritus may be re-appointed for one or more additional terms. Directors
  Emeritus and the Chairmen Emeritus may attend board meetings as and when invited by the Board of Directors and attend meetings of
  any committee of the Board of Directors as and when invited by the committee, but they shall not be entitled to notice of any such
  meetings or to vote or be counted for quorum purposes at any such meetings. If present, Directors Emeritus and the Chairmen Emeritus
  may participate in the discussions occurring at such meetings. Any person holding the position of Director Emeritus or Chairman
  Emeritus shall not be considered a director or officer for any purpose, including the corporation’s Certificate of Incorporation and
  bylaws, applicable federal securities laws and the New York Business Corporation Law, as it may be amended (the “NYBCL”), and a
  Director Emeritus or Chairman Emeritus shall have no power or authority to manage the affairs of the Corporation. Directors Emeritus
  and the Chairman Emeritus shall not have any of the responsibilities or liabilities of a director or officer of the Corporation under the
  NYBCL, nor any of a director’s or officer’s rights, powers or privileges in their capacities as Directors Emeritus or Chairman Emeritus.
  Reference in these By-laws to “directors” or “officers” shall not mean or include Directors Emeritus or the Chairman Emeritus.
  Directors Emeritus and the Chairman Emeritus will be entitled to receive fees for such service in such form and amount as approved by
  the Board of Directors, and shall be reimbursed for reasonable travel and other out-of-pocket business expenses incurred in connection
  with attendance at meetings of the Board of Directors and its committees. Directors Emeritus and the Chairman Emeritus shall remain
  subject to the reporting requirements of Section 16 of the Securities Exchange Act of 1934, as amended, and shall remain subject to all
  of the Corporation’s policies applicable to directors. A Director Emeritus and the Chairman Emeritus shall be entitled to benefits and
  protections in accordance Article V of these By-laws (“Indemnification”).

  Effective April 21, 2019, Bed Bath & Beyond Inc. also amended and restated Article IV, Section 1 of its Amended By-laws to read in
  its entirety as follows:

           Section 1. Officers. The officers of the Corporation shall include the Chief Executive Officer, the President, one or more Vice
  Presidents (one or more of whom may be designated as Executive Vice Presidents or as Senior Vice Presidents or by other
  designations), the Secretary, the Treasurer and such other officers as the Board of Directors may from time to time deem necessary,
  each of whom shall have such duties, powers and functions as provided in these By-laws and as may be determined from time to time
  by resolution of the Board of Directors. Two or more offices may be held by the same person; provided, however, that no officer shall
  execute, acknowledge or verify any instrument in more than one capacity. Each of the officers shall, when requested, consult with and
  advise the other officers of the Corporation.




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                                                                                                                           Exhibit 99.1

                           Bed Bath & Beyond Inc. Announces Transformation of Board of Directors and
                                             Additional Governance Enhancements

                                 Appoints Five Independent, Highly Qualified, Diverse Directors to Board

                                               Patrick Gaston Named Independent Chairman

                                    Forming Business Transformation and Strategy Review Committee

  UNION, NJ., April 22, 2019 — Bed Bath & Beyond Inc. (Nasdaq: BBBY) (the “Company”) today announced that, in response to
  shareholder feedback and in connection with its commitment to accelerating refreshment at the Board-level, the Company’s Board of
  Directors is transforming; the Board will comprise 10 directors, nine of whom are independent and six of whom are women. The
  transformed Board will reflect significant diversity across race, gender and ethnicity, and have an average tenure of less than four
  years. The Company also announced a series of additional governance enhancements.

  Specifically, the Company announced that:

      x    Five current independent directors will step down.
      x    Co-Founders Warren Eisenberg and Leonard Feinstein have transitioned to the role of
           Co-Founders, Co-Chairmen Emeriti and will retire from the Board.
      x    Current Lead Independent Director, Patrick Gaston has been named Independent Chairman, effective immediately.
      x    The Board will form a Business Transformation and Strategy Review Committee to review all aspects of the Company’s
           business transformation, strategy and structure.
      x    The Audit and Compensation Committees of the Board will be reconstituted, including the appointment of committee chairs.
      x    A new executive compensation plan that increases the at-risk component of executive compensation and further aligns
           compensation with Company performance and long-term shareholder value creation will be adopted. The Company will
           provide details on its new executive compensation plan in connection with the filing of its proxy statement.

  The five newly appointed independent directors, effective May 1, 2019, are:

      x    Harriet Edelman, current Vice Chairman, Emigrant Bank and former Senior Vice President and Chief Information Officer,
           Business Transformation, and Senior Vice President, Global Supply Chain of Avon Products Inc.
      x    Harsha Ramalingam, current senior advisor at Boston Consulting Group, current President and Owner, Ramalingam
           Consulting and former Global Vice President, e-commerce Platform at Amazon.com, Inc., where he was also responsible for
           the Chief Information Officer and Chief Information Security Officer (CISO) functions.
      x    Andrea Weiss, current Founding Partner, The O Alliance Consulting Services and Chief Executive Officer and Founder of
           Retail Consulting Inc., and former senior executive at dELiA*s, Inc., The Limited Inc., GUESS, Inc., Ann Taylor Stores, Inc.
           and The Walt Disney Company.
      x    Mary Winston, current President and Founder, WinsCo Enterprises Consulting Services and former Executive Vice President
           and Chief Financial Officer at Family Dollar Stores Inc.
      x    Ann Yerger, current Corporate Governance Specialist, Spencer Stuart North American Board Practice and former Executive
           Director of the Council of Institutional Investors.

  The four continuing independent directors, three of whom have been appointed in the past two years as part of the Board’s ongoing
  refreshment program, are — Stephanie Bell-Rose, Patrick Gaston, Johnathan B. (JB) Osborne and Virginia Ruesterholz. In connection
  with the new director appointments, Dean Adler, Stanley Barshay, Klaus Eppler, Jordan Heller and Victoria Morrison will step down
  from the Company’s Board, effective May 1, 2019.

  Patrick Gaston, who was named Independent Chairman, stated, “As we have communicated to Bed Bath & Beyond shareholders, the
  Board has been undertaking a comprehensive review of its composition, governance structure and compensation practices. The changes
  announced today reflect significant shareholder input and underscore our commitment to ensuring we have best-in-class governance.




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  This Board transformation and refreshed governance structure is rooted in accountability, transparency and collaboration, and as we
  provide oversight and move the Company forward, we are committed to continuing to act in the best interest of our shareholders.”

  Mr. Gaston continued, “We are immensely grateful to Dean, Stanley, Klaus, Jordan and Victoria for their leadership, tireless
  commitment and significant contributions to our Company. Their willingness to step down from the Board to facilitate the acceleration
  of the Company’s governance transformation speaks volumes as to the kind of people they are and their dedication to the Company.”

  The Company has had multiple discussions with members of the Activist Group, which is composed of Legion Partners, Macellum
  Capital Management and Ancora Advisors, and has invited them to participate in the Board transformation process and to offer their
  ideas for business and operational improvement. To date, the Activist Group has declined this invitation, but the Company remains
  open to engaging in constructive dialogue with them.

  Co-Founders Transitioned to Co-Founders, Co-Chairmen Emeriti; Lead Independent Director Named Independent Chairman

  In addition, in connection with the Board’s transformation plan, Co-Founders and Co-Chairmen of the Board Warren Eisenberg and
  Leonard Feinstein have transitioned to the role of Co-Founders, Co-Chairmen Emeriti and will retire from the Board, effective May 1,
  2019. As part of this transition, Patrick Gaston, current Lead Independent Director of the Board, has been named Independent
  Chairman, effective immediately.

  Creation of Business Transformation and Strategy Review Committee; Reconstitution of Existing Board Committees

  The Board is forming a new Business Transformation and Strategy Review Committee to review all aspects of the Company’s business
  transformation, strategy and structure.

  To further enhance its independence, organization and leadership responsibilities, the Board also intends to reconstitute the Audit
  Committee and the Compensation Committee with a mix of new and existing independent directors, including the appointment of
  committee chairs.

  In addition, the Nominating & Corporate Governance Committee was recently reconstituted as follows:

           x   Virginia Ruesterholz, Chairwoman
           x   Stephanie Bell-Rose
           x   Patrick Gaston

  Appointment of Five New Independent Directors

  Led by the independent directors of the reconstituted Nominating & Corporate Governance Committee, which consists of two of the
  four shortest tenured independent directors, and with the assistance of leading executive search firm Heidrick & Struggles, the Board
  conducted an extensive search to identify the five new independent directors.

  Ms. Ruesterholz, independent director and recently appointed Chairwoman of the Nominating & Corporate Governance Committee,
  said, “The changes made to our Board composition take into account the important feedback that we’ve received following discussion
  with many of our shareholders over the past year. Our Board is committed to continuing to engage with our shareholders, is open to
  further input and will continue to assess Board refreshment on an ongoing basis.”

  Ms. Ruesterholz continued, “We are delighted to welcome five new independent directors with such extensive business backgrounds
  and who bring skill sets directly relevant to the ongoing business transformation at Bed Bath & Beyond. As leaders in the fields of
  global retail, merchandising, technology, logistics, finance and governance, Harriet, Harsha, Andrea, Mary and Ann have been change-
  agents while serving on other public and private company boards and as members of management teams.




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  Collectively, their perspectives, experience and expertise will greatly enhance the effectiveness of our Board.”

  Harriet Edelman, 63

  Ms. Edelman brings three decades of global operating experience in consumer goods and financial services. She currently serves as
  Vice Chairman of Emigrant Bank, where she leads the finance, information technology and credit administrative operations. Prior to
  joining the bank in 2008 as special advisor to the Chairman, she spent nearly 30 years at Avon Products Inc. touching virtually every
  function, such as business transformation, marketing, new product development and sales, while serving in various leadership roles,
  including as Senior Vice President and Chief Information Officer, Business Transformation and Senior Vice President, Global Supply
  Chain. As Senior Vice President, Global Supply Chain at Avon, she led production and distribution of billions of products annually,
  and oversaw construction of Avon’s new facilities in Latin America, Asia, and Eastern Europe. She has 16 years of corporate
  governance experience, having served on the boards of Blair Corporation, The Hershey Company, Ariba Inc., and UCB S.A. She
  currently serves on the boards of Brinker International, Inc. and Assurant, Inc. Ms. Edelman also serves on the Board of Trustees at
  Bucknell University as Vice Chairman, and serves as a member of the Executive, Finance and Nominating & Governance Committees.

  Ms. Edelman received a Bachelor of Music from Bucknell University and an MBA in Marketing and Operations Research at the
  Fordham Gabelli School of Business.

  Ms. Edelman said, “Consumer goods businesses have been central to my career, and I am honored to join the Board of an industry
  pioneer such as Bed Bath & Beyond. As a frequent customer, I have long admired the Company for its products and services, and its
  customer-first approach to conducting business. I look forward to leveraging my background in marketing, technology and supply
  chain management, as well as experience serving public company boards, to help deliver on the Company’s continued transformation.”

  Harsha Ramalingam, 60

  Mr. Ramalingam, who currently serves as a senior advisor at Boston Consulting Group and who is the President and Owner of his own
  consulting firm, brings over 30 years of operational leadership experience and global expertise in areas including information
  technology and internet software. He has previously served in various leadership roles at Amazon.com, Inc., including as Global Vice
  President of the e-commerce Platform Group, which included ownership of the Chief Information Officer and CISO Functions, and
  also as a member of the Consumer Leadership Team responsible for the Company’s consumer business. During his tenure of just under
  seven years as a senior executive at Amazon.com, Inc., the Company grew from less than $20 billion in revenue to over $100 billion.
  Mr. Ramalingam also spent six years at EMC Corporation, including as Vice President, Products and Operations of EMC’s SaaS/Cloud
  business, where he was responsible for R&D, product and program management, financing, and technical and business operations from
  conception to launch. While at EMC, he successfully executed EMC’s acquisition and integration of Mozy. He spent the earlier part of
  his career in various information management and technology roles. Mr. Ramalingam previously served on the board of Intralinks Inc.

  Mr. Ramalingam received a Bachelor of Technology from the Indian Institute of Technology, an MBA in General Management from
  the Indian Institute of Management and received an Executive Education at Stanford University Graduate School of Business.

  Mr. Ramalingam said, “It is a privilege to be appointed to the Bed Bath & Beyond Board. The Company has many positive digital
  initiatives underway to improve and enhance the customer experience through e-commerce, consistent with the retail industry’s
  evolving needs. I am eager to work with my fellow Board members and the management team, and believe my consumer and
  technology experience, including while at Amazon.com, will lend itself well to capitalizing on the many opportunities for growth.”




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  Andrea Weiss, 64

  Ms. Weiss was an early innovator in multi-channel commerce and brings nearly 30 years of entrepreneurial leadership experience in
  the retail industry, currently serving as Founding Partner of The O Alliance, LLC and Chief Executive Officer and Founder of Retail
  Consulting Inc. She is recognized as a pioneer in creating a seamless customer experience, and has been a key player in transforming
  retail into the digital space. She also has extensive experience developing high-level business strategy and tactical execution plans,
  including implementing turnaround initiatives for leading brands in the U.S. and Europe. She has held executive leadership roles at
  dELiA*s, Inc., The Limited Inc., GUESS, Inc., Ann Taylor Stores, Inc. and The Walt Disney Company. Ms. Weiss is a National
  Association of Corporate Directors (NACD) Board Governance Fellow and was named to the NACD Top 100 Best Public Directors in
  2016. Ms. Weiss previously served on the boards of GSI Commerce, Pep Boys, Chico’s FAS, Inc. and Nutrisystem, Inc. She currently
  serves as a director on the boards of Cracker Barrel Old Country Store, Inc. and RPT Realty.

  Ms. Weiss received a Bachelor of Fine Arts from Virginia Commonwealth University and a Masters of Administrative Science from
  The Johns Hopkins University. She also completed post-graduate studies at Harvard Business School and The Kellogg School at
  Northwestern University.

  Ms. Weiss said, “In today’s omnichannel retail environment, it is critical to be agile and to collaborate across functions to drive faster
  decision making to enhance results. Bed Bath & Beyond is making strides in this regard and is poised to continue innovating and
  accelerating to meet customers’ complex needs. As a long time Bed Bath & Beyond customer myself and having spent my entire
  career in the retail industry leading transformation, I look forward to bringing my expertise to bear as the Company continues to
  execute against its transformation plan.”

  Mary Winston, 57

  Ms. Winston is a seasoned executive with significant governance expertise across a broad range of industries, having served on large
  public company boards and audit committees for many years. She has a strong background in all aspects of finance and accounting, as
  well as experience in M&A, corporate strategy, cost restructuring programs, corporate governance/compliance, and investor
  relations/communications. Among other roles, she has served as Executive Vice President and Chief Financial Officer at Family Dollar
  Stores Inc., Senior Vice President and Chief Financial Officer at Giant Eagle, Inc., Executive Vice President and Chief Financial
  Officer at Scholastic Corporation, Vice President and Controller of Visteon Corporation and Vice President, Global Financial
  Operations at Pfizer Inc. in the Pharmaceuticals Group. Ms. Winston currently serves as President at WinsCo Enterprises Inc., a
  financial and board governance consulting firm. She has served on the boards of Plexus Corp and SuperValu Inc. and is currently a
  member of the boards of Acuity Brands, Inc., Domtar Corporation and Dover Corporation.

  Ms. Winston received a Bachelors degree of Accounting from the University of Wisconsin, an MBA in Finance, Marketing and
  International Business from Northwestern University’s Kellogg Graduate School, and is a CPA, as well as a NACD Board Leadership
  Fellow.

  Ms. Winston said, “This is an important time for Bed Bath & Beyond as the Company prioritizes profitability and continues its efforts
  to position itself for long-term growth. As a seasoned Board member and having turned to Bed Bath & Beyond throughout my own life
  events, I am eager to contribute as a director to the ongoing transformation that will enable the Company to further differentiate itself
  across channels, brands and locations well into the future.”

  Ann Yerger, 57

  Ms. Yerger spent nearly 20 years with the Council of Institutional Investors (CII), including ten years in leadership as CII’s Executive
  Director. CII is a nonprofit, nonpartisan association of asset owners, asset managers and other service providers representing assets
  under management of approximately $40 trillion focused on effective corporate governance practices. Previously, Ms. Yerger was the
  Investor Responsibility Research Center’s Deputy Director for Corporate Governance Service. Ms. Yerger’s deep




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  corporate governance and shareholder-oriented work also includes service as an advisor to Spencer Stuart’s North American Board
  Practice group, which helps companies strengthen their boards and improve their effectiveness, a member of Grant Thornton’s Audit
  Quality Advisory Council, executive director of EY’s Center for Board Matters, and as a member of the Investor Advisory Group of
  the Public Company Accounting Oversight Board, the Investor Advisory Committee of the U.S. Securities and Exchange Commission,
  Weinberg Center for Corporate Governance Advisory Board, the Nasdaq Listing and Hearing Review Council and the U.S. Treasury
  Department’s Advisory Committee on the Auditing Profession. She has also testified before Congressional committees on important
  corporate governance and investor protection issues. ICGN, the International Corporate Governance Network, previously awarded
  Ms. Yerger with the “ICGN Award for Excellence in Corporate Governance,” which is granted for exceptional achievements towards
  improving corporate governance, in recognition of her work in galvanizing investor collaborative initiatives resulting in significant
  advances in American corporate governance over 25 years. She has also been included multiple times on the NACD’s list of the 100
  most influential corporate governance professionals. She is a NACD Board Leadership Fellow and an independent director of Hershey
  Entertainment and Resorts Company and chairs its Governance Committee and serves on the Compensation and Executive
  Organization Committee.

  Ms. Yerger received a Bachelor of Arts in Economics from Duke University and an MBA from Tulane University. She is a CFA
  charterholder.

  Ms. Yerger said, “I was attracted to the Bed Bath & Beyond Board because of the Company’s commitment to transform its corporate
  governance and strengthen its engagement with shareholders. Bed Bath & Beyond is making important changes to its Board and across
  the business, and I look forward to contributing to the Company’s ongoing transformation.”

  Bed Bath & Beyond Continuing Directors

  Stephanie Bell-Rose, 61

  Ms. Bell-Rose is a Senior Managing Director at TIAA and Head of the TIAA Institute, which produces original research and insights
  on issues pertaining to financial security and organizational effectiveness in the educational, nonprofit and public sectors. Before
  joining TIAA in 2010, Ms. Bell-Rose served as a managing director at The Goldman Sachs Group, Inc. and president of its foundation,
  and as counsel and program officer at the Andrew W. Mellon Foundation. She is a Trustee of The John S. and James L. Knight
  Foundation, the Council on Foundations and the Public Welfare Foundation. Ms. Bell-Rose is also a member of the Council on Foreign
  Relations, the Executive Leadership Council, the Economic Club of New York, and the Women’s Forum of New York, and she is
  Trustee Emerita of the Barnes Foundation and Honorary Trustee of the American Museum of Natural History.

  Ms. Bell-Rose’s leadership experience across a number of sophisticated organizations brings an important set of insights to our Board.
  In addition, her background in organizational effectiveness and her experience in participating, at a senior level, in business
  transformations in a variety of settings, is particularly beneficial in the context of the Company’s ongoing transformation.

  Patrick Gaston, 61

  Mr. Gaston is Chief Executive Officer of Gaston Consulting, which focuses on building public/private partnerships that addresses
  issues related to corporate responsibility, sustainability, diversity and social and economic change for businesses, the public sector and
  civil society. He also served as an adjunct professor of business management at the Community College of Denver from 2017 through
  2018. Prior to that, he was President of the Western Union Foundation (2013 - 2016) and initiated a workforce education program
  focused on youth and women throughout the world. From January to December 2012, he was the Chief Executive Officer of Gastal
  Networks, LLC, a consulting firm specializing in corporate social responsibility initiatives. From January to December 2011, he served
  a one-year term as Executive in Residence and Senior Advisor with the Clinton Bush Haiti Fund to support the rebuilding efforts in
  Haiti. Until January 2011, Mr. Gaston was President of the Verizon Foundation since 2003. Mr. Gaston pioneered the creation of a
  corporate social responsibility program and created a consumer advisory board focused on external stakeholder engagement on
  governance, public policy and community




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  investment matters. Prior to assuming that position, Mr. Gaston held a variety of management positions at Verizon Communications
  Inc. and its predecessors since 1984, including positions in operations, marketing, human resources, strategic planning and government
  relations. He has been a director of the Company since 2007.

  Among other things, Mr. Gaston brings to the Board experience with respect to very large and complex public companies as well as
  extensive strategic planning and stakeholder engagement experience. He has worked with local, national and international
  organizations through his non-profit work. He currently volunteers as a member on five non-profit boards focusing on education,
  reforestation and youth development.

  JB Osborne, 38

  Mr. Osborne is the CEO of Red Antler, a branding company, which he co-founded in 2007, which was named one of Fast Company’s
  Most Innovative in Marketing & Advertising. Leading a multi-disciplinary team of strategists, designers, marketers and engineers with
  his co-founders at Red Antler, Osborne has helped define a new generation of products and services that people love. Since 2007, he
  has worked with founders of top, fast-growing companies across categories including Casper, Allbirds, Brandless, Betterment and
  Boxed, advising them on how to build category-defining experiences. In addition, Osborne oversees Red Antler’s operations and
  venture partnerships, and frequently speaks to venture portfolios, accelerators, and at conferences about the role of brand in building a
  category leading business. Osborne was selected as one of WWD’s (Women’s Wear Daily) 40 under 40 in fashion and retail in 2017,
  and was also selected as one of Forbes’ Consumer Catalysts: 2017’s Top Dealmakers and Influencers in the Consumer Industry.

  Prior to founding Red Antler, Osborne opened the New York office of Consortium, a boutique creative shop based in Auckland, New
  Zealand. He began his career at advertising agency Saatchi & Saatchi working with global brands. Among other things, Mr. Osborne
  brings to the Board experience in and knowledge of branding, marketing and communications, as well as broad experience in the
  emerging technologies and data analytics utilized in digital marketing.

  Virginia Ruesterholz, 57

  Ms. Ruesterholz most recently served as Executive Vice President, Strategic Initiatives of Verizon Communications Inc. She was
  previously President of Verizon Services Operations, a $10 billion global shared-services business group with over 25,000 employees
  that operated Verizon’s wireline network as well as the finance operations, real estate and supply chain services that supported all
  Verizon companies. Prior, Ms. Ruesterholz served as President of Verizon Telecom, where she led the $30 billion wireline unit that
  served Verizon’s domestic consumer, general business and wholesale markets, and where she also oversaw the U.S. rollout of the high-
  speed fiber optic network known as Fios®. She serves on the Board of Directors of Frontier Communications Corporation and The
  Hartford Financial Services Group, Inc. She is also a Trustee of Stevens Institute of Technology, where she served as the first female
  Chair in its 149 year history.

  Among other things, Ms. Ruesterholz brings to the Board extensive senior leadership experience at a global organization, as well as
  broad experience with the type of strategic, operational and financial matters a public company encounters while executing a
  transformational business plan.

  Steven Temares, 60

  Mr. Temares has served as Chief Executive Officer of the Company since 2003. He was President and Chief Executive Officer from
  2003 to 2006 and was President and Chief Operating Officer from 1999 to 2003. Mr. Temares joined the Company in 1992 and has
  served as a director since 1999. Mr. Temares has been part of the leadership of the Company throughout its entire history as a public
  company.

  Having served as our CEO since 2003, Mr. Temares’ extensive knowledge of, and passion for, the Company and its wide-ranging
  operations are invaluable to the Board. Mr. Temares has guided the Company through a prolonged period of growth that established its
  competitive position, and today is




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  leading the Company through an extensive transformation in pursuit of its mission to be trusted by customers as the expert for the
  home and heart-felt life events.

  Additional Materials

  In connection with this announcement, the Company has made available an Investor Presentation and an infographic on the investor
  relations section of its website.

  Advisors

  Goldman, Sachs & Co. is acting as financial advisor to Bed Bath & Beyond, and Wachtell, Lipton, Rosen & Katz is serving as legal
  counsel.

  About the Company

  Bed Bath & Beyond Inc. and subsidiaries (the “Company”) is an omnichannel retailer that is the trusted expert for the home and
  heartfelt life events. The Company sells a wide assortment of domestics merchandise and home furnishings. The Company also
  provides a variety of textile products, amenities and other goods to institutional customers in the hospitality, cruise line, healthcare and
  other industries. Additionally, the Company is a partner in a joint venture which operates retail stores in Mexico under the name Bed
  Bath & Beyond.

  Forward-Looking Statements

  This press release may contain forward-looking statements. Many of these forward-looking statements can be identified by use of
  words such as may, will, expect, anticipate, approximate, estimate, assume, continue, model, project, plan, goal, and similar words and
  phrases. The Company’s actual results and future financial condition may differ materially from those expressed in any such forward-
  looking statements as a result of many factors. Such factors include, without limitation: general economic conditions including the
  housing market, a challenging overall macroeconomic environment and related changes in the retailing environment; consumer
  preferences, spending habits and adoption of new technologies; demographics and other macroeconomic factors that may impact the
  level of spending for the types of merchandise sold by the Company; civil disturbances and terrorist acts; unusual weather patterns and
  natural disasters; competition from existing and potential competitors across all channels; pricing pressures; liquidity; the ability to
  achieve anticipated cost savings, and to not exceed anticipated costs, associated with organizational changes and investments; the
  ability to attract and retain qualified employees in all areas of the organization; the cost of labor, merchandise and other costs and
  expenses; potential supply chain disruption due to trade restrictions, political instability, labor disturbances, product recalls, financial or
  operational instability of suppliers or carriers, and other items; the ability to find suitable locations at acceptable occupancy costs and
  other terms to support the Company’s plans for new stores; the ability to establish and profitably maintain the appropriate mix of digital
  and physical presence in the markets it serves; the ability to assess and implement technologies in support of the Company’s
  development of its omnichannel capabilities; uncertainty in financial markets; volatility in the price of the Company’s common stock
  and its effect, and the effect of other factors, on the Company’s capital allocation strategy; the impact of goodwill and intangible asset
  impairments; disruptions to the Company’s information technology systems including but not limited to security breaches of systems
  protecting consumer and employee information or other types of cybercrimes or cybersecurity attacks; reputational risk arising from
  challenges to the Company’s or a third party product or service supplier’s compliance with various laws, regulations or standards,
  including those related to labor, health, safety, privacy or the environment; reputational risk arising from third-party merchandise or
  service vendor performance in direct home delivery or assembly of product for customers; changes to statutory, regulatory and legal
  requirements, including without limitation proposed changes affecting international trade; changes to, or new, tax laws or interpretation
  of existing tax laws; new, or developments in existing, litigation, claims or assessments; changes to, or new, accounting standards;
  foreign currency exchange rate fluctuations; the integration of acquired businesses; and potential continuing uncertainty arising in
  connection with the announced intention by certain shareholders to seek control of the Company’s Board of Directors. The Company
  does not undertake any obligation to update its forward-looking statements.




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  Important Information

  Bed Bath & Beyond Inc. (the “Company”) intends to file a definitive proxy statement and associated proxy card in connection with the
  solicitation of proxies for the Company’s 2019 Annual Meeting with the Securities and Exchange Commission (the “SEC”). Details
  concerning the nominees of the Company’s Board of Directors for election at the 2019 Annual Meeting will be included in the Proxy
  Statement. BEFORE MAKING ANY VOTING DECISION, INVESTORS AND SHAREHOLDERS OF THE COMPANY ARE
  URGED TO READ ALL RELEVANT DOCUMENTS FILED WITH OR FURNISHED TO THE SEC, INCLUDING THE
  COMPANY’S DEFINITIVE PROXY STATEMENT AND ANY SUPPLEMENTS THERETO, BECAUSE THEY WILL CONTAIN
  IMPORTANT INFORMATION. Investors and shareholders will be able to obtain a copy of the definitive proxy statement and other
  documents filed by the Company free of charge from the SEC’s website, www.sec.gov. The Company’s shareholders will also be able
  to obtain, without charge, a copy of the definitive proxy statement and other relevant filed documents by directing a request by mail to
  Bed Bath & Beyond Inc. at 650 Liberty Avenue Union, New Jersey 07083, by contacting the Company’s proxy solicitor, D.F. King &
  Co., toll-free at 1 (888) 777-0320 or at bbby@dfking.com, or from the investor relations section of the Company’s website at
  www.bedbathandbeyond.com.

  Participants in the Solicitation

  The Company, its directors and certain of its executive officers will be deemed participants in the solicitation of proxies from
  shareholders in respect of the 2019 Annual Meeting. Information regarding the names of the Company’s directors and executive
  officers and their respective interests in the Company by security holdings or otherwise is set forth in the Company’s Annual Report on
  Form 10-K for the fiscal year ended March 3, 2018, filed with the SEC on May 2, 2018, the Company’s quarterly reports on Form 10-
  Q filed with the SEC on July 6, 2018, October 10, 2018 and January 9, 2019, the Company’s Current Report on Form 8-K filed with
  the SEC on June 5, 2018 and the Company’s definitive proxy statement for the 2018 Annual Meeting of Shareholders, filed with the
  SEC on May 31, 2018. To the extent holdings of such participants in the Company’s securities have changed since the amounts
  described in the proxy statement for the 2018 Annual Meeting of Shareholders, such changes have been reflected on Initial Statements
  of Beneficial Ownership on Form 3 or Statements of Change in Ownership on Form 4 filed with the SEC. These documents can be
  obtained free of charge from the sources indicated above. Additional information regarding the interests of these participants in any
  proxy solicitation and a description of their direct and indirect interests, by security holdings or otherwise, will also be included in any
  proxy statement and other relevant materials to be filed with the SEC, if and when they become available.

  CONTACTS:
  INVESTOR CONTACT: Janet M. Barth, (908) 613-5820

  MEDIA CONTACT: Matthew Sherman / Nick Lamplough, Joele Frank, Wilkinson Brimmer Katcher, (212) 355-4449




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 EX-99.2 4 a19-8691_2ex99d2.htm EX-99.2
                                                                                                                                                                          Exhibit 99.2
                                                                  Announcing Transformation of Board of Directors and Additional Governance Enhancements April 22, 2019




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                                         Building a Better Bed Bath & Beyond Adding 5 new and independent, highly qualified, and diverse directors Patrick Gaston has been named Independent Chairman 5 existing independent directors will step down from the Board Co-Founders and Co-Chairmen have transitioned to a Co-Chairmen Emeriti status and will retire from the Board Forming a Business Transformation and Strategy Review committee Reconstitution of our independent committee structures, including appointment of Will adopt a new executive compensation plan committee chairs 1 Taking into account these recent changes 80% of our board will have joined since 2017 and 80% are of diverse backgrounds We Are Transforming Our Board and Governance Structure to Support the Transformation of our Business




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 Bed Bath & Beyond’s Governance Transformation is a Direct Result of Our Shareholder Engagement What We Heard from Shareholders Taking Action to Enhance Governance Process executed by our recently reconstituted independent Nominating & Governance Committee, led by Chairwoman Virginia Ruesterholz Engaged Heidrick & Struggles, a leading executive search firm, to identify recent appointees 5 new independent, highly qualified and diverse candidates appointed to the Board, effective May 1, 2019 7 of the longest-tenured directors to leave Board In total, 8 new directors appointed in past 2 years (80% of the pro forma board) Accelerate Board Refreshment 1 New directors with significant experience in global retail, merchandising, technology, logistics, finance and governance Highly complementary to existing Board Director qualifications Bringing with them experience in business transformation and a track record of enhancing shareholder value Each new director is diverse, and 80% of the Board is diverse, 60% women Enhance the Board With New Skills 2 Patrick Gaston designated as Board Independent Chairman Co-Founders and Co-Chairmen transitioned to a Co-Chairmen Emeriti status and will retire from the Board, effective May 1, 2019 Forming a Business Transformation and Strategy Review Committee to review all aspects of the Company’s business transformation, strategy and structure Audit and Compensation Committees to be reconstituted with a mix of new and existing directors, including committee chairs Enhance Board Leadership 3 Will adopt new executive compensation plan, to be shared in connection with filing of our proxy Will increase the at-risk component of executive compensation Further align compensation plan with Company performance and long-term shareholder value creation Improve Executive
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Compensation Plan 4 2




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                                    Our Highly Independent Board Has Dramatically Evolved Today 2016 IC Patrick Gaston Joined Board: 2007 Patrick Gaston Joined Board: 2007 Steven Temares Joined Board: 1999 Steven Temares Joined Board: 1999 New Directors C Chairman IC Independent Chairman L Lead Director Former Director Added in Past 2 Years 3 Mary Winston Joined Board: 2019 Victoria Morrison Joined Board: 2001 Ann Yerger Joined Board: 2019 Andrea Weiss Joined Board: 2019 Harsha Ramalingam Joined Board: 2019 Virginia Ruesterholz Joined Board: 2017 Jordan Heller Joined Board: 2003 L Klaus Eppler Joined Board: 1992 C Leonard Feinstein Joined Board: 1971 Harriet Edelman Joined Board: 2019 JB Osborne Joined Board: 2018 Stephanie Bell-Rose Joined Board: 2018 Geraldine Elliott Joined Board: 2014 Stanley Barshay Joined Board: 2003 Dean Adler Joined Board: 2001 C Warren Eisenberg Joined Board: 1971




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                                                              The Board is More Independent, Perspectives More Diverse and Brings Fresh 2016 Current 4 Independent Directors70% 90% Average Director Tenure20 years <4 years % Diverse Directors30% 80% Average Director Age68 ~58




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                                              Our Directors Bring Substantial Branding, Retail, Operational and Technology Skills to the Boardroom Corporate Finance/ Capital Markets / Financial Acumen Public Company Board Service / Corporate Governance Brand Marketing / Product Merchandising Operations Management Experience Senior Leadership & Strategic Planning Industry Experience International Experience Technology / Data Security Real Estate Total 5 / 10 7 / 10 7 / 10 8 / 10 8 / 10 6 / 10 3 / 10 10 / 10 5 / 10 5 Patrick Gaston Steven Temares Stephanie Bell-Rose JB Osborne Virginia Ruesterholz Harriet Edelman Harsha Ramalingam Andrea Weiss Mary Winston Ann Yerger




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                         Our New Board Leadership Transitions to independent Board Chair leadership New Chairwoman of the Nomination & Corporate Governance Committee Virginia Ruesterholz Chairwoman of the Nomination & Corporate Governance Committee Patrick Gaston Independent Chairman • • • • Chief Executive Officer of Gaston Consulting President of the Western Union Foundation (2013-2016) President of the Verizon Foundation (2003 – 2011) Various management positions at Verizon Communications, Inc. (1984 - 2011) Director of BBBY since 2007 • Executive Vice President – Strategic Initiatives of Verizon Communications (2012) President of Verizon Services Operations (2009-2011) President of Verizon Telecom (2006-2009) Serves on the Board of Frontier Communications Corporation and the Hartford Financial Services Group Director of BBBY since 2017 • • • • • Ms. Ruesterholz’s extensive experience with executing a transformational business plan, involving significant investment in technology and related services, is highly relevant. Mr. Gaston brings to the Board extensive business and leadership experience in areas such as finance, human resources, public affairs, diversity, and strategic planning. 6




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 Bed Bath & Beyond’s New Independent Directors (1/3) • Vice Chairman of Emigrant Bank Former SVP, CIO, Business Transformation, and SVP Global Supply Chain at Avon Products Director of Brinker International and Assurant Former Director of Blair Corporation, The Hershey Company, Ariba Inc. and UCB S.A Vice Chairman and Member of the Executive, Finance and Nominating & Governance Committees, Bucknell University Board of Trustees • Senior Advisor, Boston Consulting Group and President and Owner of Ramalingam Consulting Former Global VP of the e-commerce Platform Group, ownership of the CIO and CISO Functions at Amazon.com, member of Consumer Leadership Team VP, Products and Operations, ECM SaaS/Cloud at ECM Corp Former Director of Intralinks • • • • • • expertise in areas including information technology and internet Experience eCommerce, information security, corporate information systems Experience transformation, marketing, new product development, and sales Board Experience communications solutions International and Assurant 7 Cyber Security Senior Leadership Global Experience Financial Expertise Brand Marketing Supply Chain Management TechnologyOver 30 years of operational leadership experience and global software BusinessLed Amazon.com’s platform technology organization, including (CIS) and new business incubation Served on the board of Intralinks, a software provider of secure SeniorExtensive leadership experience with 16 years of corporate Leadershipgovernance experience as Vice Chairman of Emigrant Bank BusinessSpent nearly 30 years at Avon Products Inc. where she rose to various Experienceleadership positions in virtually every function, including business BoardSignificant public company experience, having served on four boards Experienceof directors
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       including current service on the boards of Brinker Harsha Ramalingam Harriet Edelman




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     Bed Bath & Beyond’s New Independent Directors (2/3) • • • • • • Founding Partner, The O Alliance Consulting Services CEO and Founder of Retail Consulting Former executive at dELiA*s, The Limited, GUESS, Ann Taylor Stores and The Walt Disney Company Director of Cracker Barrel Old Country Store and RPT Realty Former Director of GSI Commerce, Pep Boys, Chico’s FAS and Nutrisystem • • • • • President and Founder, WinsCo Enterprises Consulting Services Former EVP, CFO, Family Dollar Stores Former senior executive at Giant Eagle, Scholastic, Visteon, Pfizer Director of Acuity Brands, Domtar and Dover Former Director of Plexus Corp and SuperValu Senior Leadership previously held executive leadership roles at Family Dollar Stores, transforming in to the digital space Board Experience boards of directors including currently on the board of Acuity 8 Retail Experience Corporate Finance Brand Marketing Operation Management Real Estate FinancialExtensive financial expertise, having served as the CFO of Family ExpertiseDollar Stores, Giant Eagle and Scholastic Currently serving as the founder of WinsCo Enterprises and Giant Eagle, Scholastic, Visteon and Pfizer Significant public company experience, having served on five Brands, Domtar and Dover SeniorPreviously held executive leadership roles at dELiA*s, The Limited, LeadershipGUESS, Ann Taylor Stores and The Walt Disney Company RetailEarly innovator in multi-channel commerce and brings nearly 30 Experienceyears of entrepreneurial leadership experience in the retail industry, BoardSignificant public company experience, having served on four boards Experienceincluding currently on Cracker Barrel Old Country Store, RPT Realty Mary Winston Andrea Weiss




https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     9/16
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                           https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm
                      Bed Bath & Beyond’s New Independent Directors (3/3) • • • • • Corporate Governance Specialist, North American Board Practice, Spencer Stuart Director, Hershey Entertainment and Resorts Company Member of Grant Thornton Audit Quality Advisory Council Member of Investor Advisory Group of the Public Company Accounting Oversight Board, the Investor Advisory Committee of the US Securities and Exchange Commission, Weinberg Center for Corporate Governance Advisory Board, the Nasdaq Listing and Hearing Review Council and the US Treasury Department’s Advisory Committee on the Auditing Profession Executive Director, EY Center for Board Matters Former Executive Director of the Council of Institutional Investors (CII) Former IRRC deputy director for the Investor Responsibility Research Center’s corporate governance service • • • chairing the Governance Committee and serving on the Compensation Experience 9 SeniorExtensive leadership experience as a nationally recognized governance Leadershipspecialist in various roles GovernanceSpent nearly 20 years at CII including 10 years in leadership as Experienceexecutive director BoardServes on the board of Hershey Entertainment and Resorts Company, and Executive Organization Committee Ann Yerger




https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              10/16
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                           https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm
                                              Additional Key Governance Initiatives Will adopt new executive compensation plan in response to shareholder feedback, to be shared in connection with filing of our proxy • • • Builds upon the ~40% reduction in compensation since 2015 Will increase the at-risk component of executive compensation Further alignment with Company performance and long-term shareholder value Will form Business Transformation and Strategy Review committee • To review all aspects of the Company’s business transformation, strategy and structure Reconstitution of our independent committee structure • Includes the appointment of Chairs for all committees 10




https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       11/16
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                           https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm
                                                                    Appendix – Foundation for Significant Transformational Change 11




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                           https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm
                                                                   Our Mission To be the trusted expert for the home and heart-felt life events. 12




https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm                                                                13/16
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                           https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm
                                                       Bed Bath & Beyond’s Strategic Advantages 1,500+ physical locations across all brands… A solution for every room in the house… …complemented by our digital platforms …through every important life stage 13 Deep expertise in whole home across all important life stages Omni-channel capabilities leveraging both physical and digital assets Strong brands that are trusted by customers with a reputation for quality




https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm                                                                                                                                                                                                                                                                                                                                                                                             14/16
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                           https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm
                              Bed Bath & Beyond is Responding Dynamic Retail Environment to the Challenging and • Dramatic shift to omnichannel – customers demanding a seamless, convenient experience between in-store and digital • Complete transformation of Bed Bath & Beyond’s business over the past 18 months • Structural change of our organization and infrastructure • Significant competition with high level of pricing transparency – both to the customer and the retailer • Investments in IT, analytics, and value optimization to enable data-driven decision making • Customer preference for breadth of offering in both brick & mortar and digital experience • Evolution of our in-store and digital customer experience • High level of interest in destinational categories (e.g. bed, bath, kitchen, windows and tabletop) and focus on experiential retail • Enhancement of our assortment – including new private label brands • Shift from branded items to high-quality private label products • Extensive focus on profitability, down to the item by channel 14 Bed Bath & Beyond’s Response Dynamic Retail Environment




https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     15/16
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                           https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm
                                         Key Initiatives in the Multi-Year Transformation plan • Concept Strategy/ Brand Vision Proprietary Brands & Private Label • Merchandise Mix • Store Labor Model • • Value Optimization Coupon Strategy Supply Chain Enhancements • • Marketing Efficiency Occupancy/Real Estate Optimization • • • Next Gen Lab Store Initiatives • Global Sourcing/ 2nd Sourcing Office in Asia • Front-End Optimization • Value Optimization • • • Reconstructed Team/ Changing How We Work Data & Analytics as a Strategic Asset IT Transformation/ India Development Center 15 Current and Sustainable World-Class Operational Support Drive Near-term and Ongoing SG&A Improvements Drive Near-term and Ongoing Gross Margin Improvements Drive Mid-and-Long-term Revenue Growth




https://www.sec.gov/Archives/edgar/data/886158/000110465919022903/a19-8691_2ex99d2.htm                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           16/16
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/LQHQ+ROGLQJVDSURYLGHURIDYDULHW\RIWH[WLOHSURGXFWVDPHQLWLHVDQGRWKHUJRRGVWRLQVWLWXWLRQDOFXVWRPHUVLQWKHKRVSLWDOLW\FUXLVHOLQHKHDOWKFDUHDQG
RWKHULQGXVWULHVZKLFKRSHUDWHVXQGHUWKHQDPHVRI+DUERU/LQHQDQG7<*URXS

7KH &RPSDQ\ RSHUDWHV D UREXVW HFRPPHUFH SODWIRUP FRQVLVWLQJ RI YDULRXV ZHEVLWHV DQG DSSOLFDWLRQV LQFOXGLQJ EHGEDWKDQGEH\RQGFRP
EHGEDWKDQGEH\RQGFD KDUPRQGLVFRXQWFRP IDFHYDOXHVFRP FKULVWPDVWUHHVKRSVFRP DQGWKDWFRP EX\EX\EDE\FRP EX\EX\EDE\FD KDUERUOLQHQFRP W
\JURXSFRPZRUOGPDUNHWFRPRIDNLQGFRPRQHNLQJVODQHFRPSHUVRQDOL]DWLRQPDOOFRPFKHIFHQWUDOFRPDQGGHFRULVWFRP7KH&RPSDQ\DOVRRSHUDWHVDQ
HVWDEOLVKHGUHWDLOVWRUHEDVHZKLFKFRQVLVWVRIVWRUHVDVRI0DUFKDQGLQFOXGHV%HG%DWK %H\RQG ³%%%´ VWRUHVLQDOOVWDWHVWKH
'LVWULFWRI&ROXPELD3XHUWR5LFRDQG&DQDGDVWRUHVXQGHUWKHQDPHVRI:RUOG0DUNHW&RVW3OXV:RUOG0DUNHWRU&RVW3OXV FROOHFWLYHO\³&RVW3OXV
:RUOG 0DUNHW´   EX\EX\ %$%< ³%DE\´  VWRUHV LQ  VWDWHV DQG &DQDGD  VWRUHV XQGHU WKH QDPHV &KULVWPDV 7UHH 6KRSV &KULVWPDV 7UHH 6KRSV
DQG7KDWRUDQG7KDW FROOHFWLYHO\³&76´ VWRUHVXQGHUWKHQDPHV+DUPRQ+DUPRQ)DFH9DOXHVRU)DFH9DOXHV FROOHFWLYHO\³+DUPRQ´ DQGWZR2QH
.LQJV/DQHVWRUHV,QDGGLWLRQWKH&RPSDQ\LVDSDUWQHULQDMRLQWYHQWXUHZKLFKRSHUDWHVWHQVWRUHVLQ0H[LFRXQGHUWKHQDPH%HG%DWK %H\RQG

7KHLQWHJUDWLRQRIUHWDLOVWRUHDQGFXVWRPHUIDFLQJGLJLWDOFKDQQHOVDOORZVWKH&RPSDQ\WRSURYLGHLWVFXVWRPHUVZLWKDVHDPOHVVVKRSSLQJH[SHULHQFH,Q
VWRUHSXUFKDVHVDUHSULPDULO\IXOILOOHGIURPWKDWVWRUH¶VLQYHQWRU\RUPD\DOVREHVKLSSHGWRDFXVWRPHUIURPRQHRIWKH&RPSDQ\¶VGLVWULEXWLRQIDFLOLWLHVD
YHQGRU RU DQRWKHU VWRUH 3XUFKDVHV LQFOXGLQJ ZHE DQG PRELOH FDQ EH VKLSSHG WR D FXVWRPHU IURP WKH &RPSDQ\¶V GLVWULEXWLRQ IDFLOLWLHV GLUHFWO\ IURP
YHQGRUV RU IURP D VWRUH 7KH &RPSDQ\¶V FXVWRPHUV FDQ DOVR FKRRVH WR SLFN XS RQOLQH RUGHUV LQ D VWRUH DV ZHOO DV UHWXUQ RQOLQH SXUFKDVHV WR D VWRUH
&XVWRPHUV FDQ DOVR PDNH SXUFKDVHV WKURXJK RQH RI WKH &RPSDQ\¶V FXVWRPHU FRQWDFW FHQWHUV DQG LQVWRUH WKURXJK 7KH %H\RQG 6WRUH WKH &RPSDQ\¶V
SURSULHWDU\ZHEEDVHGSODWIRUP7KHVHFDSDELOLWLHVDOORZWKH&RPSDQ\WREHWWHUVHUYHFXVWRPHUVDFURVVYDULRXVFKDQQHOV

7KH &RPSDQ\ DFFRXQWV IRU LWV RSHUDWLRQV DV WZR RSHUDWLQJ VHJPHQWV 1RUWK $PHULFDQ 5HWDLO DQG ,QVWLWXWLRQDO 6DOHV 7KH ,QVWLWXWLRQDO 6DOHV RSHUDWLQJ
VHJPHQWZKLFKLVFRPSULVHGRI/LQHQ+ROGLQJVGRHVQRWPHHWWKHTXDQWLWDWLYHWKUHVKROGVXQGHU86JHQHUDOO\DFFHSWHGDFFRXQWLQJSULQFLSOHVDQGWKHUHIRUH
LVQRWDUHSRUWDEOHVHJPHQW1HWVDOHVRXWVLGHRIWKH86IRUWKH&RPSDQ\ZHUHQRWPDWHULDOIRUDQG

6WUDWHJ\

%HG%DWK %H\RQG VPLVVLRQLVWREHWKHWUXVWHGH[SHUWIRUWKHKRPHDQGKHDUWIHOWOLIHHYHQWV7KHVHLQFOXGHFHUWDLQOLIHHYHQWVWKDWHYRNHVWURQJHPRWLRQDO
FRQQHFWLRQVVXFKDVJHWWLQJPDUULHGPRYLQJWRDQHZKRPHKDYLQJDEDE\JRLQJWRFROOHJHDQGGHFRUDWLQJDURRPZKLFKWKH&RPSDQ\VXSSRUWVWKURXJKLWV
ZHGGLQJDQGEDE\UHJLVWULHVPRYHUDQGVWXGHQWOLIHSURJUDPVDQGLWVGHVLJQFRQVXOWDWLRQVHUYLFHV

7RDGYDQFHLWVPLVVLRQWKH&RPSDQ\LVH[HFXWLQJRQDFRPSUHKHQVLYHSODQWRWUDQVIRUPLWVEXVLQHVVDQGSRVLWLRQ%HG%DWK %H\RQGIRUORQJWHUPVXFFHVV
7KHVWUDWHJLFIRFXVRIWKHWUDQVIRUPDWLRQDOLQLWLDWLYHVLQFOXGHSURGXFWDVVRUWPHQWVKRSSLQJH[SHULHQFH

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7DEOHRI&RQWHQWV
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VHUYLFHV DQG VROXWLRQV DQG RSHUDWLRQDO H[FHOOHQFH 7KH &RPSDQ\¶V RQJRLQJ HIIRUWV WR LPSOHPHQW DQG H[HFXWH RQ WKHVH RUJDQL]DWLRQZLGH IRXQGDWLRQDO
LQLWLDWLYHVDUHLQWHQGHGWRGULYHIRXUNH\VWUDWHJLFREMHFWLYHV

         0LGDQGORQJWHUPUHYHQXHJURZWKIURPSRUWIROLRVWUDWHJ\DOLJQPHQWDFURVVSURGXFWDVVRUWPHQWFXVWRPHUH[SHULHQFHDQGFXVWRPHUHQJDJHPHQW
          LQFOXGLQJ JUHDWHU IRFXV RQ JURZLQJ GHVWLQDWLRQDO FDWHJRULHV VXFK DV EHG EDWK NLWFKHQ ZLQGRZV DQG WDEOHWRS  DQG SURSULHWDU\ DQG SULYDWHODEHO
          EUDQGVHQKDQFHLQVWRUHFXVWRPHUH[SHULHQFHVDQHQKDQFHGRQOLQHH[SHULHQFHDVZHOODVHIIRUWVWRDVVXUHWKDWWKH&RPSDQ\¶VFXVWRPHUVDUHJHWWLQJ
          WKHULJKWYDOXHIRUWKHSURGXFWVWKH\ZDQWDQGQHHGPRVW

         1HDUWHUPDQGRQJRLQJJURVVPDUJLQLPSURYHPHQWVWKURXJKFKDQJHVLQDVVRUWPHQWPL[WRGULYHVDOHVWREHWWHUPDUJLQFDWHJRULHVPRGLILFDWLRQV
          LQSULFLQJDOJRULWKPVIXUWKHURSWLPL]DWLRQRIFRXSRQVWUDWHJ\DQGVXSSO\FKDLQLPSURYHPHQWV

         1HDUWHUP DQG RQJRLQJ 6* $ LPSURYHPHQWV IURP LPSURYHPHQWV LQ VWRUH ODERU PRGHO PDUNHWLQJ HIILFLHQFLHV DQG UHGXFWLRQV LQ RFFXSDQF\
          H[SHQVHUHODWLQJWRRQJRLQJVWRUHOHDVHQHJRWLDWLRQV

         &XUUHQWDQGVXVWDLQDEOHZRUOGFODVVRSHUDWLRQDOVXSSRUWWKURXJKLQYHVWPHQWVLQKXPDQFDSLWDOGDWDDQGDQDO\WLFVDQGSURFHVVLPSURYHPHQWV
          UHSRVLWLRQLQJ DQG DUWLFXODWLQJ WKH %HG %DWK  %H\RQG EUDQG LQ WKH PDUNHWSODFH DFURVV DOO FXVWRPHU LQWHUDFWLRQV LQFOXGLQJ DVVRUWPHQW VWRUH DQG
          GLJLWDOH[SHULHQFHDQGPDUNHWLQJDQGHQKDQFHPHQWVLQJOREDOVRXUFLQJFDSDELOLWLHV

7R FRQWLQXH WKH WUDQVIRUPDWLRQDO ZRUN QHFHVVDU\ WR H[HFXWH LWV FRPSUHKHQVLYH SODQ WKH &RPSDQ\ KDV EHHQ PDNLQJ VLJQLILFDQW LQYHVWPHQWV LQ SHRSOH
SURFHVVHVDQGWHFKQRORJ\7KH&RPSDQ\ VVWUDWHJ\DOVRUHPDLQVURRWHGLQDFXVWRPHUILUVWDSSURDFKDQGFRPPLWPHQWWRFXVWRPHUVHUYLFHZKLOHPDLQWDLQLQJ
VWURQJILQDQFLDOGLVFLSOLQH7KH&RPSDQ\EHOLHYHVLWZLOODFKLHYHLWVPLVVLRQWREHWKHWUXVWHGH[SHUWIRUWKHKRPHDQGKHDUWIHOWOLIHHYHQWV

3ULFLQJ 7KH &RPSDQ\ EHOLHYHV LQ RIIHULQJ LWV FXVWRPHUV KLJK TXDOLW\ DQG GLIIHUHQWLDWHG SURGXFWV VHUYLFHV DQG VROXWLRQV DW WKH ULJKW SULFH DQG YDOXH 7KH
&RPSDQ\ UHJXODUO\ PRQLWRUV SULFH OHYHOV DW LWV FRPSHWLWRUV LQ RUGHU WR HQVXUH WKDW LWV SULFHV DUH LQ DFFRUGDQFH ZLWK LWV SULFLQJ SKLORVRSK\ 7KH &RPSDQ\
EHOLHYHVWKDWWKHDSSOLFDWLRQRILWVSULFLQJSKLORVRSK\LVDVLJQLILFDQWIDFWRULQLWVDELOLW\WRHVWDEOLVKWUXVWDPRQJFXVWRPHUVDVWKHH[SHUWIRUWKHKRPHDQG
KHDUWIHOWOLIHHYHQWV

0HUFKDQGLVLQJ7KH&RPSDQ\VHOOVDZLGHDVVRUWPHQWRIGRPHVWLFVPHUFKDQGLVHDQGKRPHIXUQLVKLQJV'RPHVWLFVPHUFKDQGLVHLQFOXGHVFDWHJRULHVVXFKDV
EHG OLQHQV DQG UHODWHG LWHPV EDWK LWHPV DQG NLWFKHQ WH[WLOHV +RPH IXUQLVKLQJV LQFOXGH FDWHJRULHV VXFK DV NLWFKHQ DQG WDEOHWRS LWHPV ILQH WDEOHWRS EDVLF
KRXVHZDUHVJHQHUDOKRPHIXUQLVKLQJV LQFOXGLQJIXUQLWXUHDQGZDOOGpFRU FRQVXPDEOHVDQGFHUWDLQMXYHQLOHSURGXFWV7KH&RPSDQ\VWULYHVWRSUHVHQWDQ
H[FLWLQJDQGHQJDJLQJDVVRUWPHQWRISURGXFWVWRLWVFXVWRPHUVLQFOXGLQJQDPHEUDQGVSURSULHWDU\DQGH[FOXVLYHEUDQGVDVZHOODVSHUVRQDOL]HGSURGXFWV7KH
&RPSDQ\SXUVXHVSURGXFWGLIIHUHQWLDWLRQLQVHYHUDOZD\VLQFOXGLQJLWVRZQSURGXFWGHYHORSPHQWDQGH[FOXVLYLW\DQGOLPLWHGGLVWULEXWLRQZLWKLWVYHQGRU
SDUWQHUV6RPHH[DPSOHVRIWKH&RPSDQ\¶VSURSULHWDU\EUDQGVLQFOXGH%HH :LOORZ+RPH:DPVXWWD2OLYLD 2OLYHU6$/7DQG$UWLVDQDO.LWFKHQ6XSSO\
7KH&RPSDQ\RQDQRQJRLQJEDVLVWHVWVQHZPHUFKDQGLVHFDWHJRULHVDQGDGMXVWVWKHFDWHJRULHVRIPHUFKDQGLVHFDUULHGLQVWRUHDQGRQOLQHDQGPD\DGGQHZ
SURGXFW FDWHJRULHV RU H[SDQG LWV PHUFKDQGLVH DVVRUWPHQW DV DSSURSULDWH $GGLWLRQDOO\ WKH &RPSDQ\ KDV DQG FRQWLQXHV WR LQWHJUDWH LWV PHUFKDQGLVH
DVVRUWPHQWVDPRQJLWVFRQFHSWV

7KH&RPSDQ\KDVEHHQHYROYLQJLWVPHUFKDQGLVHPL[WRSURYLGHDPRUHLQVSLUDWLRQDODQGSHUVRQDOVKRSSLQJH[SHULHQFHZLWKDQH[SDQGHGRIIHULQJZKLFK
LQFOXGHVDPRUHGLIIHUHQWLDWHGSURGXFWPL[DQGHQKDQFHGVHUYLFHVDQGVROXWLRQVIRUFXVWRPHUVERWKLQVWRUHDQGDFURVVLWVFXVWRPHUIDFLQJGLJLWDOFKDQQHOV

$V FRQVXPHU VKRSSLQJ SUHIHUHQFHV FRQWLQXH WR VKLIW WR FXVWRPHU IDFLQJ GLJLWDO FKDQQHOV WKH &RPSDQ\ EHOLHYHV LWV LQYHVWPHQWV DUH GULYLQJ D EHWWHU
RPQLFKDQQHOH[SHULHQFH7KH&RPSDQ\FRQWLQXHVWRLPSURYHWKHSUHVHQWDWLRQDQGFRQWHQWDVZHOODVWKHIXQFWLRQDOLW\JHQHUDOVHDUFKDQGQDYLJDWLRQIHDWXUHV
DFURVVLWVFXVWRPHUIDFLQJGLJLWDOFKDQQHOV7KH&RPSDQ\LVDOVRDGDSWLQJLWVSK\VLFDOFKDQQHOVWRIXUWKHULQWHJUDWHLWVRPQLFKDQQHOFDSDELOLWLHVWRHQKDQFHWKH
LQVWRUH FXVWRPHU H[SHULHQFH E\ EULQJLQJ SURGXFWV VHUYLFHV DQG VROXWLRQV DV ZHOO DV WKH &RPSDQ\¶V EUDQG WR OLIH 7KLV LQFOXGHV VHUYLFHV VXFK DV UHVHUYH
RQOLQHDQGSLFNXSLQVWRUHSXUFKDVHRQOLQHDQGUHWXUQLQVWRUHDQGRQOLQHDSSRLQWPHQWVFKHGXOLQJIRURQHRIWKH&RPSDQ\¶VYDULRXVUHJLVWU\VHUYLFHV

0DUNHWLQJ 7KH &RPSDQ\¶V PDUNHWLQJ HIIRUWV LQFOXGH D IXOOUDQJH RI RQOLQH DQG RIIOLQH YHKLFOHV LQFOXGLQJ HPDLO PRELOH 606 VRFLDO VHDUFK GLJLWDO
GLVSOD\ FRQWHQW DQG LQIOXHQFHU PDUNHWLQJ RQOLQH DIILOLDWH SURJUDPV DQG SXEOLF UHODWLRQV HIIRUWV DV ZHOO DV WUDGLWLRQDO SULQW PHGLD VXFK DV SRVWFDUGV
QHZVSDSHULQVHUWVFLUFXODUVDQGFDWDORJVDOORIZKLFKVRPHWLPHVLQFOXGHFRXSRQRIIHUV7KH&RPSDQ\LVPDNLQJVLJQLILFDQWLQYHVWPHQWVWRIXUWKHUGHYHORS
DQGLQWHJUDWHLWVH[SDQVLYHFXVWRPHUGDWDZLWKRWKHUUHOHYDQWWKLUGSDUW\GDWDDQGWHFKQRORJ\WRROVWRGHYHORSDQGVFDOHWDLORUHGDQGSHUVRQDOL]HGPDUNHWLQJ
FRPPXQLFDWLRQVDQGVWUHQJWKHQLWVSRVLWLRQDVWKHH[SHUWIRUWKHKRPHDQGKHDUWIHOWOLIHHYHQWV

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7DEOHRI&RQWHQWV
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&XVWRPHU6HUYLFH7KH&RPSDQ\¶VFXVWRPHUILUVWDSSURDFKLVURRWHGLQFUHDWLQJDQRWLFHDEO\EHWWHUVKRSSLQJH[SHULHQFHIRUHDFKDQGHYHU\FXVWRPHU7KH
&RPSDQ\ LQYHVWV LQ LWV SHRSOH DQG LQ GHOLYHULQJ KLJKTXDOLW\ SURGXFWV VHUYLFHV DQG VROXWLRQV $V SDUW RI LWV REMHFWLYH WR WDNH FDUH RI LWV FXVWRPHUV WKH
&RPSDQ\ VWULYHV WR PDNH UHWXUQV DQG H[FKDQJHV KDVVOHIUHH ZKHWKHU LQ VWRUH RU RQOLQH 7KH &RPSDQ\¶V EHVWLQFODVV UHJLVWU\ VHUYLFHV IRU ZHGGLQJ EDE\
FROOHJH DQG RWKHU KHDUWIHOW OLIH HYHQWV SURYLGH D XQLTXH RSSRUWXQLW\ WR GHHSHQ FXVWRPHU UHODWLRQVKLSV E\ GHPRQVWUDWLQJ D KLJK OHYHO RI FXVWRPHU VHUYLFH
GXULQJLPSRUWDQWOLIHVWDJHV$OVRWKH&RPSDQ\FRQWLQXHVWRLQYHVWLQWKHWHFKQRORJ\QHFHVVDU\WRHQDEOHDPRUHVHDPOHVVLQWHUDFWLRQEHWZHHQLWVDVVRFLDWHV
DQGLWVFXVWRPHUVZKHUHYHUZKHQHYHUDQGKRZHYHUWKH\ZLVKWRLQWHUDFWZLWKWKH&RPSDQ\7KH&RPSDQ\¶VFXVWRPHUFRQWDFWFHQWHUVSURYLGHFXVWRPHU
VHUYLFHDQGSURYLGHVXSSRUWE\SKRQHHPDLORUOLYHFKDW'XULQJWKHVHFRQGTXDUWHURIILVFDOWKH&RPSDQ\RSHQHGLWVQHZHVWFXVWRPHUFRQWDFWFHQWHULQ
WKH2UODQGR)ORULGDDUHD7KH&RPSDQ\FRQWLQXHVWRIRFXVLWVHIIRUWVDQGLQYHVWPHQWVWRVWUHQJWKHQLWVSRVLWLRQDVDOHDGHULQFXVWRPHUVHUYLFH

6XSSOLHUV

7KH&RPSDQ\SXUFKDVHVVXEVWDQWLDOO\DOORILWVPHUFKDQGLVHLQWKH8QLWHG6WDWHVWKHPDMRULW\IURPGRPHVWLFVRXUFHV ZKRPD\PDQXIDFWXUHRYHUVHDV DQG
WKH EDODQFH IURP LPSRUWHUV 7KH &RPSDQ\ SXUFKDVHV D VPDOO DPRXQW RI LWV PHUFKDQGLVH GLUHFWO\ IURP RYHUVHDV VRXUFHV ,Q ILVFDO  WKH &RPSDQ\
SXUFKDVHGLWVPHUFKDQGLVHIURPDSSUR[LPDWHO\VXSSOLHUVZLWKLWVODUJHVWVXSSOLHUDFFRXQWLQJIRUDSSUR[LPDWHO\RILWVPHUFKDQGLVHSXUFKDVHVZLWK
WKHODUJHVWVXSSOLHUVDFFRXQWLQJIRUDSSUR[LPDWHO\RIVXFKSXUFKDVHV7KH&RPSDQ\KDVQRORQJWHUPFRQWUDFWVIRUWKHSXUFKDVHVRIPHUFKDQGLVH7KH
&RPSDQ\ EHOLHYHV WKDW PRVW PHUFKDQGLVH RWKHU WKDQ EUDQG QDPH JRRGV LV DYDLODEOH IURP D YDULHW\ RI VRXUFHV DQG WKDW PRVW EUDQG QDPH JRRGV FDQ EH
UHSODFHGZLWKFRPSDUDEOHPHUFKDQGLVH

7KH&RPSDQ\LVLQWKHHDUO\VWDJHVRIH[SDQGLQJLWVGLUHFWLPSRUWLQJDQGGLUHFWVRXUFLQJFDSDELOLWLHVLQFOXGLQJWKHHVWDEOLVKPHQWRIDVHFRQGVRXUFLQJRIILFH
LQ$VLDZKLFKRSHQHGGXULQJILVFDO7KH&RPSDQ\EHOLHYHVWKDWLWVH[SDQGLQJJOREDOVRXUFLQJFDSDELOLWLHVZLOOEHDEOHWRVXVWDLQDKLJKHUSHQHWUDWLRQRI
LWVRZQVRXUFHGDQGGHYHORSHGSURSULHWDU\SURGXFWLQLWVPHUFKDQGLVHDVVRUWPHQW

'LVWULEXWLRQ

$VXEVWDQWLDOSRUWLRQRIWKH&RPSDQ\¶VPHUFKDQGLVHLVVKLSSHGWRVWRUHVWKURXJKDFRPELQDWLRQRIWKLUGSDUW\IDFLOLWLHVLQFOXGLQJFURVVGRFNORFDWLRQVRU
&RPSDQ\ RSHUDWHG GLVWULEXWLRQ IDFLOLWLHV ZKLFK DUH ORFDWHG WKURXJKRXW WKH 8QLWHG 6WDWHV 7KH UHPDLQLQJ PHUFKDQGLVH IRU VWRUHV LV VKLSSHG GLUHFWO\ IURP
YHQGRUV0HUFKDQGLVHLVVKLSSHGGLUHFWO\WRFXVWRPHUVIURPRQHRIWKH&RPSDQ\¶VRSHUDWHGGLVWULEXWLRQIDFLOLWLHVVWRUHVRUIURPYHQGRUV7KHPDMRULW\RIWKH
&RPSDQ\¶VVKLSPHQWVDUHPDGHE\FRQWUDFWFDUULHUVGHSHQGLQJXSRQORFDWLRQ

6HH³,WHP±3URSHUWLHV´IRUDGGLWLRQDOLQIRUPDWLRQUHJDUGLQJWKH&RPSDQ\¶VGLVWULEXWLRQIDFLOLWLHV

$VVRFLDWHV

$V RI 0DUFK   WKH &RPSDQ\ HPSOR\HG DSSUR[LPDWHO\  UHJXODU IXOOWLPH DQG SDUWWLPH DVVRFLDWHV 7KH &RPSDQ\ EHOLHYHV WKDW LWV HPSOR\HH
UHODWLRQVDUHYHU\JRRGDQGWKDWWKHODERUWXUQRYHUUDWHDPRQJLWVPDQDJHPHQWHPSOR\HHVLVORZHUWKDQWKDWJHQHUDOO\H[SHULHQFHGZLWKLQWKHLQGXVWU\

6HDVRQDOLW\

7KH &RPSDQ\¶V EXVLQHVV LV VXEMHFW WR VHDVRQDO LQIOXHQFHV *HQHUDOO\ LWV VDOHV YROXPHV DUH KLJKHU LQ WKH FDOHQGDU PRQWKV RI $XJXVW 1RYHPEHU DQG
'HFHPEHUDQGORZHULQ)HEUXDU\

*URZWK

7KH &RPSDQ\ KDV XQGHUWDNHQ VLJQLILFDQW FKDQJH WR DGDSW WR WKH G\QDPLF UHWDLO HQYLURQPHQW DQG WKH HYROYLQJ QHHGV RI LWV FXVWRPHUV WR LPSURYH LWV
FRPSHWLWLYHSRVLWLRQ7RVXSSRUWWKLVFKDQJHWKH&RPSDQ\DSSRLQWHGQHZOHDGHUVWREULQJH[SHUWLVHLQWKHDUHDVRIGDWDDQDO\WLFVVXSSO\FKDLQFXVWRPHU
IXOILOOPHQW PHUFKDQGLVLQJ OLIH VWDJHV HFRPPHUFH SRUWIROLR PDQDJHPHQW DQG LQIRUPDWLRQ WHFKQRORJ\ $V D UHVXOW WKH &RPSDQ\ EHOLHYHV WKDW LW KDV WKH
QHFHVVDU\PDQDJHPHQWGHSWKWRGULYHJURZWK

7KH &RPSDQ\ V RQJRLQJ WUDQVIRUPDWLRQ SODQ LV H[SHFWHG WR LPSURYH PLGDQGORQJWHUP UHYHQXH JURZWK HQKDQFH JURVV DQG RSHUDWLQJ PDUJLQV DQG FUHDWH
VXVWDLQDEOH VKDUHKROGHU YDOXH 7KH VWUDWHJLF IRFXV RI WKH SODQ LQFOXGHV SURGXFW DVVRUWPHQW VKRSSLQJ H[SHULHQFH VHUYLFHV DQG VROXWLRQV DQG RSHUDWLRQDO
H[FHOOHQFH DQG WKH NH\ ILQDQFLDO REMHFWLYHV DUH PLGDQGORQJWHUP UHYHQXH JURZWK QHDUWHUP DQG RQJRLQJ JURVV PDUJLQ LPSURYHPHQWV QHDUWHUP DQG
RQJRLQJVHOOLQJJHQHUDODQGDGPLQLVWUDWLYHH[SHQVHVLPSURYHPHQWVDQGFXUUHQWDQGVXVWDLQDEOHZRUOGFODVVRSHUDWLRQDOVXSSRUW


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7DEOHRI&RQWHQWV
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7KHFRQWLQXHGJURZWKRIWKH&RPSDQ\LVGHSHQGHQWLQSDUWXSRQWKH&RPSDQ\¶VDELOLW\WRH[HFXWHLWVWUDQVIRUPDWLRQVWUDWHJ\VXFFHVVIXOO\

)URPWKHEHJLQQLQJRIILVFDOWRWKHHQGRIILVFDOWKH&RPSDQ\KDVJURZQIURPVWRUHVWRVWRUHVSOXVLWVLQWHUDFWLYHSODWIRUPVLQFOXGLQJ
ZHEVLWHVDQGDSSOLFDWLRQVDQGGLVWULEXWLRQIDFLOLWLHV7RWDOVWRUHVTXDUHIRRWDJHQHWRIRSHQLQJVDQGFORVLQJVJUHZIURPDSSUR[LPDWHO\PLOOLRQVTXDUH
IHHWDWWKHEHJLQQLQJRIILVFDOWRDSSUR[LPDWHO\PLOOLRQVTXDUHIHHWDWWKHHQGRIILVFDODQGLQFOXGHGVWRUHRSHQLQJVDQGFORVXUHVLQ
ILVFDO,QILVFDO WKH &RPSDQ\ H[SHFWV FRPSDQ\ZLGH WR RSHQ DSSUR[LPDWHO\  QHZ VWRUHV DQG FORVH D PLQLPXP RI DSSUR[LPDWHO\  VWRUHV
XQOHVVLWFDQQHJRWLDWHPRUHIDYRUDEOHOHDVHWHUPVZLWKODQGORUGV2YHUWKHSDVWVHYHUDO\HDUVVDOHVIURPWKH&RPSDQ\¶VFXVWRPHUIDFLQJGLJLWDOFKDQQHOV
KDYHFRQWLQXHGWRH[SHULHQFHVWURQJJURZWK

$VRI0DUFKWKH&RPSDQ\KDGGLVWULEXWLRQIDFLOLWLHVWRWDOLQJDSSUR[LPDWHO\PLOOLRQ VTXDUH IHHW VXSSRUWLQJ WKH JURZWK RI LWV FXVWRPHU IDFLQJ
GLJLWDOFKDQQHOVDVZHOODVLWVVWRUHVDQGLWVLQVWLWXWLRQDOVDOHVVHJPHQW

&RPSHWLWLRQ

7KH&RPSDQ\RSHUDWHVLQDKLJKO\FRPSHWLWLYHEXVLQHVVHQYLURQPHQWDQGFRPSHWHVZLWKRWKHUQDWLRQDOUHJLRQDOORFDODQGRQOLQHUHWDLOHUVWKDWPD\FDUU\
VLPLODUOLQHVRIPHUFKDQGLVHLQFOXGLQJGHSDUWPHQWVWRUHVVSHFLDOW\VWRUHVRIISULFHVWRUHVPDVVPHUFKDQGLVHVWRUHVDQGRQOLQHRQO\UHWDLOHUV7KH&RPSDQ\
EHOLHYHV WKH NH\ WR FRPSHWLQJ LQ LWV LQGXVWU\ LV WR SURYLGH EHVWLQFODVV FXVWRPHU VHUYLFH DQG FXVWRPHU H[SHULHQFHV LQ VWRUHV DQG RQOLQH ZKLFK LQFOXGHV D
FRPSHOOLQJ SULFH DQG YDOXH KLJKTXDOLW\ DQG GLIIHUHQWLDWHG SURGXFWV VHUYLFHV DQG VROXWLRQV FRQYHQLHQFH WHFKQRORJ\ SHUVRQDOL]DWLRQ DQG DSSHDOLQJ DQG
H[SHULHQWLDOVWRUHHQYLURQPHQWV

7UDGHQDPHVDQG6HUYLFH0DUNV

7KH&RPSDQ\XVHVWKHVHUYLFHPDUNV³%HG%DWK %H\RQG´³EX\EX\%$%<´³&KULVWPDV7UHH6KRSV´³DQG7KDW´³+DUPRQ´³)DFH9DOXHV´³&RVW3OXV´
³:RUOG 0DUNHW´ ³&RVW 3OXV :RUOG 0DUNHW´ ³2I D .LQG´ ³2QH .LQJV /DQH´ ³3HUVRQDOL]DWLRQ0DOOFRP´ ³30DOO´ ³&KHI &HQWUDO´ DQG ³'HFRULVW´ LQ
FRQQHFWLRQ ZLWK LWV UHWDLO VHUYLFHV 7KH &RPSDQ\ DOVR XVHV WKH VHUYLFH PDUNV ³+DUERU /LQHQ´ DQG ³7< *URXS´ LQ FRQQHFWLRQ ZLWK LWV LQVWLWXWLRQDO VDOHV
VHJPHQW7KH&RPSDQ\KDVUHJLVWHUHGWUDGHPDUNVDQGVHUYLFHPDUNVRULVVHHNLQJUHJLVWUDWLRQVIRUWKHVHDQGRWKHUWUDGHPDUNVDQGVHUYLFHPDUNVZLWKWKH
8QLWHG 6WDWHV 3DWHQW DQG 7UDGHPDUN 2IILFH ,Q DGGLWLRQ WKH &RPSDQ\ KDV UHJLVWHUHG RU KDV DSSOLFDWLRQV SHQGLQJ ZLWK WKH WUDGHPDUN UHJLVWULHV RI VHYHUDO
IRUHLJQFRXQWULHVLQFOXGLQJKDYLQJUHJLVWHUHGWKH³%HG%DWK %H\RQG´QDPHDQGORJRLQ&DQDGDDQG0H[LFRDQGKDYLQJUHJLVWHUHGWKH³EX\EX\%$%<´
QDPHDQGORJRLQ&DQDGD7KH&RPSDQ\DOVRRZQVDQXPEHURISURGXFWWUDGHPDUNV7KH&RPSDQ\ILOHVSDWHQWDSSOLFDWLRQVDQGVHHNVFRS\ULJKWUHJLVWUDWLRQV
ZKHUHLWGHHPVVXFKWREHDGYDQWDJHRXVWRWKHEXVLQHVV7KH&RPSDQ\EHOLHYHVWKDWLWVQDPHUHFRJQLWLRQDQGVHUYLFHPDUNVDUHLPSRUWDQWHOHPHQWVRIWKH
&RPSDQ\¶VPHUFKDQGLVLQJVWUDWHJ\

$YDLODEOH,QIRUPDWLRQ

7KH&RPSDQ\PDNHVDYDLODEOHDVVRRQDVUHDVRQDEO\SUDFWLFDEOHDIWHUILOLQJZLWKWKH6HFXULWLHVDQG([FKDQJH&RPPLVVLRQ ³6(&´ IUHHRIFKDUJHWKURXJK
LWVZHEVLWHZZZEHGEDWKDQGEH\RQGFRPWKH&RPSDQ\¶VDQQXDOUHSRUWVRQ)RUP.TXDUWHUO\UHSRUWVRQ)RUP4FXUUHQWUHSRUWVRQ)RUP.DQG
DPHQGPHQWVWRWKRVHUHSRUWVHOHFWURQLFDOO\ILOHGRUIXUQLVKHGSXUVXDQWWR6HFWLRQ D RU G RIWKH6HFXULWLHV([FKDQJH$FWRI

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7KLV )RUP . FRQWDLQV IRUZDUGORRNLQJ VWDWHPHQWV ZLWKLQ WKH PHDQLQJ RI 6HFWLRQ ( RI WKH 6HFXULWLHV ([FKDQJH $FW RI  DV DPHQGHG 7KH
&RPSDQ\¶V DFWXDO UHVXOWV DQG IXWXUH ILQDQFLDO FRQGLWLRQ PD\ GLIIHU PDWHULDOO\ IURP WKRVH H[SUHVVHG LQ DQ\ VXFK IRUZDUGORRNLQJ VWDWHPHQWV DV D UHVXOW RI
PDQ\IDFWRUV6XFKIDFWRUVLQFOXGHWKHIROORZLQJ

*HQHUDOHFRQRPLFIDFWRUVEH\RQGWKH&RPSDQ\¶VFRQWURODQGFKDQJHVLQWKHHFRQRPLFFOLPDWHFRXOGDGYHUVHO\DIIHFWWKH&RPSDQ\¶VSHUIRUPDQFH

*HQHUDO HFRQRPLF IDFWRUV WKDW DUH EH\RQG WKH &RPSDQ\¶V FRQWURO FRXOG LPSDFW WKH &RPSDQ\¶V IRUHFDVWV DQG DFWXDO SHUIRUPDQFH 7KHVH IDFWRUV LQFOXGH
KRXVLQJPDUNHWVUHFHVVLRQLQIODWLRQGHIODWLRQFRQVXPHUFUHGLWDYDLODELOLW\FRQVXPHUGHEWOHYHOVIXHODQGHQHUJ\FRVWVLQWHUHVWUDWHVWD[UDWHVDQGSROLF\
XQHPSOR\PHQW WUHQGV WKH LPSDFW RI QDWXUDO GLVDVWHUV FLYLO GLVWXUEDQFHV DQG WHUURULVW DFWLYLWLHV IRUHLJQ FXUUHQF\ H[FKDQJH UDWH IOXFWXDWLRQV FRQGLWLRQV
DIIHFWLQJ WKH UHWDLO HQYLURQPHQW IRU SURGXFWV VROG E\ WKH &RPSDQ\ DQG RWKHU PDWWHUV WKDW LQIOXHQFH FRQVXPHU VSHQGLQJ &KDQJHV LQ WKH HFRQRPLF FOLPDWH
FRXOGDGYHUVHO\DIIHFWWKH&RPSDQ\¶VSHUIRUPDQFH

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7DEOHRI&RQWHQWV
    Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 63 of 155 PageID: 473
7KH &RPSDQ\ RSHUDWHV LQ WKH KLJKO\ FRPSHWLWLYH UHWDLO EXVLQHVV ZKHUH WKH XVH RI HPHUJLQJ WHFKQRORJLHV DV ZHOO DV XQDQWLFLSDWHG FKDQJHV LQ WKH
SULFLQJDQGRWKHUSUDFWLFHVRIFRPSHWLWRUVPD\DGYHUVHO\DIIHFWWKH&RPSDQ\¶VSHUIRUPDQFH

7KHUHWDLOEXVLQHVVLVKLJKO\FRPSHWLWLYH7KH&RPSDQ\FRPSHWHVIRUFXVWRPHUVHPSOR\HHVORFDWLRQVPHUFKDQGLVHWHFKQRORJ\VHUYLFHVDQGRWKHULPSRUWDQW
DVSHFWV RI WKH EXVLQHVV ZLWK PDQ\ RWKHU ORFDO UHJLRQDO DQG QDWLRQDO UHWDLOHUV 7KRVH FRPSHWLWRUV UDQJH IURP VSHFLDOW\ UHWDLOHUV WR GHSDUWPHQW VWRUHV DQG
GLVFRXQWHUVDVZHOODVRQOLQHDQGPXOWLFKDQQHOUHWDLOHUV6SHFLILFDOO\UDSLGO\HYROYLQJWHFKQRORJLHVDUHDOWHULQJWKHPDQQHULQZKLFKWKH&RPSDQ\DQGLWV
FRPSHWLWRUVFRPPXQLFDWHDQGWUDQVDFWZLWKFXVWRPHUV7KH&RPSDQ\¶VH[HFXWLRQRIWKHHOHPHQWVRILWVWUDQVIRUPDWLRQVWUDWHJ\GHVLJQHGWRDGDSWWRWKHVH
FKDQJHVLQWKHFRQWH[WRIFRPSHWLWRUV¶DFWLRQVFXVWRPHUVDGRSWLRQRIQHZWHFKQRORJ\DQGUHODWHGFKDQJHVLQFXVWRPHUEHKDYLRUSUHVHQWVDVSHFLILFULVNLQ
WKHHYHQWWKH&RPSDQ\LVXQDEOH WR VXFFHVVIXOO\H[HFXWHLWVSODQVRUDGMXVWWKHPRYHUWLPHLIQHHGHG)XUWKHUXQDQWLFLSDWHGFKDQJHVLQSULFLQJDQGRWKHU
SUDFWLFHV RI WKH &RPSDQ\¶V FRPSHWLWRUV LQFOXGLQJ SURPRWLRQDO DFWLYLW\ VXFK DV WKUHVKROGV IRU IUHH VKLSSLQJ DQG UDSLG SULFH IOXFWXDWLRQ HQDEOHG E\
WHFKQRORJ\PD\DGYHUVHO\DIIHFWWKH&RPSDQ\¶VSHUIRUPDQFH

7KH&RPSDQ\¶VIDLOXUHWRDQWLFLSDWHDQGUHVSRQGLQDWLPHO\IDVKLRQWRFKDQJHVLQFRQVXPHUSUHIHUHQFHVDQGGHPRJUDSKLFIDFWRUVPD\DGYHUVHO\
DIIHFWWKH&RPSDQ\¶VILQDQFLDOFRQGLWLRQDQGUHVXOWVRIRSHUDWLRQV

7KH &RPSDQ\¶V VXFFHVV GHSHQGV RQ LWV DELOLW\ WR DQWLFLSDWH DQG UHVSRQG LQ D WLPHO\ PDQQHU WR FKDQJLQJ PHUFKDQGLVH WUHQGV FXVWRPHU GHPDQGV DQG
GHPRJUDSKLFV7KH&RPSDQ\¶VIDLOXUHWRDQWLFLSDWHLGHQWLI\RUUHDFWDSSURSULDWHO\WRFKDQJHVLQFXVWRPHUWDVWHVSUHIHUHQFHVVKRSSLQJDQGVSHQGLQJSDWWHUQV
DQG RWKHU OLIH LQWHUHVW GHFLVLRQV FRXOG OHDG WR DPRQJ RWKHU WKLQJV H[FHVV LQYHQWRULHV RU D VKRUWDJH RI SURGXFWV DQG PD\ DGYHUVHO\ DIIHFW WKH &RPSDQ\¶V
ILQDQFLDOFRQGLWLRQDQGUHVXOWVRIRSHUDWLRQV

8QXVXDOZHDWKHUSDWWHUQVFRXOGDGYHUVHO\DIIHFWWKH&RPSDQ\¶VSHUIRUPDQFH

7KH&RPSDQ\¶VRSHUDWLQJUHVXOWVFRXOGEHQHJDWLYHO\LPSDFWHGE\XQXVXDOZHDWKHUSDWWHUQV)UHTXHQWRUXQXVXDOO\KHDY\VQRZLFHRUUDLQVWRUPVKXUULFDQHV
IORRGVWRUQDGRVRUH[WHQGHGSHULRGVRIXQVHDVRQDEOHWHPSHUDWXUHVFRXOGDGYHUVHO\DIIHFWWKH&RPSDQ\¶VSHUIRUPDQFH

$PDMRUGLVUXSWLRQRIWKH&RPSDQ\¶VLQIRUPDWLRQWHFKQRORJ\V\VWHPVFRXOGQHJDWLYHO\LPSDFWRSHUDWLQJUHVXOWV

7KH&RPSDQ\¶VRSHUDWLQJUHVXOWVFRXOGEHQHJDWLYHO\LPSDFWHGE\DPDMRUGLVUXSWLRQRIWKH&RPSDQ\¶VLQIRUPDWLRQWHFKQRORJ\V\VWHPV7KH&RPSDQ\UHOLHV
KHDYLO\RQWKHVHV\VWHPVWRSURFHVVWUDQVDFWLRQVPDQDJHLQYHQWRU\UHSOHQLVKPHQWVXPPDUL]HUHVXOWVDQGFRQWUROGLVWULEXWLRQRISURGXFWV'HVSLWHQXPHURXV
VDIHJXDUGVDQGFDUHIXOFRQWLQJHQF\SODQQLQJWKHVHV\VWHPVDUHVWLOOVXEMHFWWRSRZHURXWDJHVWHOHFRPPXQLFDWLRQIDLOXUHVF\EHUFULPHVF\EHUVHFXULW\DWWDFNV
DQGRWKHUFDWDVWURSKLFHYHQWV$PDMRUGLVUXSWLRQRIWKHV\VWHPVDQGWKHLUEDFNXSPHFKDQLVPVPD\FDXVHWKH&RPSDQ\WRLQFXUVLJQLILFDQWFRVWVWRUHSDLUWKH
V\VWHPVH[SHULHQFHDFULWLFDOORVVRIGDWDDQGRUUHVXOWLQEXVLQHVVLQWHUUXSWLRQV

$ EUHDFK RI WKH &RPSDQ\¶V GDWD VHFXULW\ V\VWHPV RU WKRVH RI LWV WKLUG SDUW\ VHUYLFH SURYLGHUV FRXOG KDYH D QHJDWLYH LPSDFW RQ WKH &RPSDQ\ V
RSHUDWLQJ UHVXOWV DQG ILQDQFLDO SHUIRUPDQFH GXH WR SRVVLEOH ORVV RI FRQVXPHU FRQILGHQFH DV ZHOO DV SRWHQWLDO JRYHUQPHQW SHQDOWLHV DQG SULYDWH
OLWLJDWLRQ

7KH &RPSDQ\ SURFHVVHV WUDQVPLWV VWRUHV DQG PDLQWDLQV FHUWDLQ LQIRUPDWLRQ DERXW LWV FXVWRPHUV DQG HPSOR\HHV LQ WKH RUGLQDU\ FRXUVH RI EXVLQHVV ,Q
FRQQHFWLRQZLWKFHUWDLQDFWLYLWLHVLQFOXGLQJZLWKRXWOLPLWDWLRQFUHGLWFDUGSURFHVVLQJZHEVLWHKRVWLQJGDWDHQFU\SWLRQDQGVRIWZDUHVXSSRUWWKH&RPSDQ\
XWLOL]HVWKLUGSDUW\VHUYLFHSURYLGHUVDQGWKH&RPSDQ\EHOLHYHVLWWDNHVDSSURSULDWHVWHSVWRUHTXLUHVXFKSURYLGHUVWRVHFXUHVXFKLQIRUPDWLRQDQGWRDVVHVV
WKHLU DELOLW\ WR GR VR 7KH &RPSDQ\ LQYHVWV FRQVLGHUDEOH UHVRXUFHV LQ SURWHFWLQJ WKLV VHQVLWLYH LQIRUPDWLRQ EXW LV VWLOO VXEMHFW WR D SRVVLEOH VHFXULW\ HYHQW
LQFOXGLQJEXWQRWOLPLWHGWRF\EHUFULPHVRUF\EHUVHFXULW\DWWDFNVZKLFKPD\QRWEHGHWHFWHGIRUDSHULRGRIWLPH$EUHDFKRILWVVHFXULW\V\VWHPVRUWKRVHRI
LWVWKLUGSDUW\VHUYLFHSURYLGHUVUHVXOWLQJLQXQDXWKRUL]HGDFFHVVWRVWRUHGSHUVRQDOLQIRUPDWLRQFRXOGQHJDWLYHO\LPSDFWWKH&RPSDQ\¶VRSHUDWLQJUHVXOWVDQG
ILQDQFLDO SHUIRUPDQFH &HUWDLQ DVSHFWV RI WKH EXVLQHVV SDUWLFXODUO\ WKH &RPSDQ\¶V ZHEVLWHV KHDYLO\ GHSHQG RQ FRQVXPHUV HQWUXVWLQJ SHUVRQDO ILQDQFLDO
LQIRUPDWLRQWREHWUDQVPLWWHGVHFXUHO\RYHUSXEOLFQHWZRUNV$ORVVRIFRQVXPHUFRQILGHQFHIURPVXFKDEUHDFKFRXOGUHVXOWLQORVWIXWXUHVDOHVDQGKDYHD
PDWHULDODGYHUVHHIIHFWRQWKH&RPSDQ\¶VUHSXWDWLRQ,QDGGLWLRQDEUHDFKRURWKHUW\SHRIF\EHUFULPHRUF\EHUVHFXULW\DWWDFNFRXOGFDXVHWKH&RPSDQ\WR
LQFXU VLJQLILFDQW FRVWV WR UHVWRUH WKH LQWHJULW\ RI LWV GDWD DQG V\VWHPV FRXOG UHTXLUH WKH GHYRWLRQ RI VLJQLILFDQW PDQDJHPHQW UHVRXUFHV DQG FRXOG UHVXOW LQ
VLJQLILFDQWFRVWVLQJRYHUQPHQWSHQDOWLHVDQGSULYDWHOLWLJDWLRQ

$IDLOXUHRIWKH&RPSDQ\¶VVXSSOLHUVWRDGKHUHWRDSSURSULDWHODZVUHJXODWLRQVRUVWDQGDUGVFRXOGQHJDWLYHO\LPSDFWLWVUHSXWDWLRQ

7KH&RPSDQ\SXUFKDVHVVXEVWDQWLDOO\DOORILWVPHUFKDQGLVHLQWKH8QLWHG6WDWHVWKHPDMRULW\IURPGRPHVWLFVRXUFHV ZKRPD\PDQXIDFWXUHRYHUVHDV DQG
WKHEDODQFHIURPLPSRUWHUV7KH&RPSDQ\SXUFKDVHVDVPDOODPRXQWRILWVPHUFKDQGLVHGLUHFWO\IURPRYHUVHDVVRXUFHV7KHIDLOXUHRIRQHRIWKH&RPSDQ\¶V
GRPHVWLFRUIRUHLJQVXSSOLHUVWRDGKHUHWRODERUHQYLURQPHQWDOSULYDF\KHDOWK

                                                                                         
7DEOHRI&RQWHQWV
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DQG VDIHW\ ODZV UHJXODWLRQV DQG VWDQGDUGV FRXOG QHJDWLYHO\ LPSDFW WKH &RPSDQ\¶V UHSXWDWLRQ DQG KDYH DQ DGYHUVH HIIHFW RQ WKH &RPSDQ\¶V UHVXOWV RI
RSHUDWLRQV

'DPDJHWRWKHUHSXWDWLRQRIWKH&RPSDQ\LQDQ\DVSHFWRILWVRSHUDWLRQVFRXOGSRWHQWLDOO\LPSDFWLWVRSHUDWLQJDQGILQDQFLDOUHVXOWV

7KH&RPSDQ\¶VUHSXWDWLRQLVEDVHGLQSDUWRQSHUFHSWLRQVRIVXEMHFWLYHTXDOLWLHVVRLQFLGHQWVLQYROYLQJWKH&RPSDQ\LWVSURGXFWVRUWKHUHWDLOLQGXVWU\LQ
JHQHUDOWKDWHURGHFXVWRPHUWUXVWRUFRQILGHQFHFRXOGDGYHUVHO\DIIHFWWKH&RPSDQ\¶VUHSXWDWLRQDQGLWVEXVLQHVV$VWKH&RPSDQ\LQFUHDVHVWKHQXPEHURI
LWHPVLWLVDEOHWRKDYHVKLSSHGGLUHFWO\IURPDYHQGRUWRDFXVWRPHUIRUKRPHGHOLYHU\RULQKRPHDVVHPEO\DQ\GHILFLHQFLHVLQWKHSHUIRUPDQFHRIWKHVHWKLUG
SDUW\PHUFKDQGLVHYHQGRUVDQGVHUYLFHSURYLGHUVFRXOGDOVRKDYHDQDGYHUVHHIIHFWRQWKH&RPSDQ\¶VUHSXWDWLRQGHVSLWHWKH&RPSDQ\¶VPRQLWRULQJFRQWUROV
DQG SURFHGXUHV ,Q DGGLWLRQ FKDOOHQJHV WR WKH &RPSDQ\¶V FRPSOLDQFH ZLWK D YDULHW\ RI VRFLDO SURGXFW ODERU DQG HQYLURQPHQWDO VWDQGDUGV FRXOG DOVR
MHRSDUGL]HLWVUHSXWDWLRQDQGOHDGWRDGYHUVHSXEOLFLW\HVSHFLDOO\LQVRFLDOPHGLD7KHXVHRIVRFLDOPHGLDE\WKH&RPSDQ\DQGFRQVXPHUVKDVDOVRLQFUHDVHG
WKH ULVN WKDW WKH &RPSDQ\¶V UHSXWDWLRQ FRXOG EH QHJDWLYHO\ LPSDFWHG 7KH DYDLODELOLW\ RI LQIRUPDWLRQ DQG RSLQLRQ RQ VRFLDO PHGLD LV LPPHGLDWH DV LV LWV
LPSDFW7KHRSSRUWXQLW\IRUGLVVHPLQDWLRQRILQIRUPDWLRQLQFOXGLQJLQDFFXUDWHDQGLQIODPPDWRU\LQIRUPDWLRQDQGRSLQLRQLVYLUWXDOO\OLPLWOHVV,QIRUPDWLRQ
DERXWRUDIIHFWLQJWKH&RPSDQ\LVHDVLO\DFFHVVLEOHDQGUDSLGO\GLVVHPLQDWHG

'DPDJH WR WKH UHSXWDWLRQ RI WKH &RPSDQ\ LQ DQ\ DVSHFW RI LWV RSHUDWLRQV FRXOG SRWHQWLDOO\ LPSDFW LWV RSHUDWLQJ DQG ILQDQFLDO UHVXOWV DV ZHOO DV UHTXLUH
DGGLWLRQDOUHVRXUFHVWRUHEXLOGLWVUHSXWDWLRQ

&KDQJHVLQVWDWXWRU\UHJXODWRU\DQGRWKHUOHJDOUHTXLUHPHQWVDWDORFDOVWDWHRUSURYLQFLDODQGQDWLRQDOOHYHORUGHHPHGQRQFRPSOLDQFHZLWKVXFK
UHTXLUHPHQWVFRXOGSRWHQWLDOO\LPSDFWWKH&RPSDQ\¶VRSHUDWLQJDQGILQDQFLDOUHVXOWV

7KH &RPSDQ\ LV VXEMHFW WR QXPHURXV VWDWXWRU\ UHJXODWRU\ DQG OHJDO UHTXLUHPHQWV DW D ORFDO VWDWH RU SURYLQFLDO DQG QDWLRQDO OHYHO DQG WKLV UHJXODWRU\
HQYLURQPHQWLVVXEMHFWWRFRQVWDQWFKDQJH7KH&RPSDQ\¶VRSHUDWLQJUHVXOWVFRXOGEHQHJDWLYHO\LPSDFWHGE\GHYHORSPHQWVLQWKHVHDUHDVGXHWRWKHFRVWVRI
FRPSOLDQFH LQ DGGLWLRQ WR SRVVLEOH JRYHUQPHQW SHQDOWLHV DQG OLWLJDWLRQ LQ WKH HYHQW RI GHHPHG QRQFRPSOLDQFH &KDQJHV LQ WKH ODZ RU WKH UHJXODWRU\
HQYLURQPHQWLQWKHDUHDVRISURGXFWVDIHW\HQYLURQPHQWDOSURWHFWLRQSULYDF\DQGLQIRUPDWLRQVHFXULW\ZDJHDQGKRXUODZVDQGLQWHUQDWLRQDOWUDGHSROLF\
DPRQJRWKHUVFRXOGSRWHQWLDOO\LPSDFWWKH&RPSDQ\¶VRSHUDWLRQVDQGILQDQFLDOUHVXOWV

&KDQJHVWRDFFRXQWLQJUXOHVUHJXODWLRQVDQGWD[ODZVRUQHZLQWHUSUHWDWLRQVRIH[LVWLQJDFFRXQWLQJVWDQGDUGVRUWD[ODZVFRXOGQHJDWLYHO\LPSDFW
WKH&RPSDQ\¶VRSHUDWLQJUHVXOWVDQGILQDQFLDOSRVLWLRQ

7KH&RPSDQ\¶VRSHUDWLQJUHVXOWVDQGILQDQFLDOSRVLWLRQFRXOGEHQHJDWLYHO\LPSDFWHGE\FKDQJHVWRDFFRXQWLQJUXOHVDQGUHJXODWLRQVRUQHZLQWHUSUHWDWLRQVRI
H[LVWLQJDFFRXQWLQJVWDQGDUGV7KH&RPSDQ\¶VHIIHFWLYHLQFRPHWD[UDWHFRXOGEHLPSDFWHGE\FKDQJHVLQDFFRXQWLQJVWDQGDUGVDVZHOODVFKDQJHVLQWD[ODZV
RUWKHLQWHUSUHWDWLRQVRIWKHVHWD[ODZVE\FRXUWVDQGWD[LQJDXWKRULWLHVZKLFKFRXOGQHJDWLYHO\LPSDFWWKH&RPSDQ\¶VILQDQFLDOUHVXOWV6XFKFKDQJHVZRXOG
LQFOXGH IRU H[DPSOH WKH SRVVLEOH DGRSWLRQ E\ WKH 8QLWHG 6WDWHV RI DGGLWLRQDO WDULIIV RU WKH GLVDOORZDQFH RI WD[ GHGXFWLRQV ZLWK UHVSHFW WR LPSRUWHG
PHUFKDQGLVH

1HZRUGHYHORSPHQWVLQH[LVWLQJOLWLJDWLRQFODLPVRUDVVHVVPHQWVFRXOGSRWHQWLDOO\LPSDFWWKH&RPSDQ\¶VRSHUDWLQJDQGILQDQFLDOUHVXOWV

7KH &RPSDQ\ LV LQYROYHG LQ OLWLJDWLRQ FODLPV DQG DVVHVVPHQWV LQFLGHQWDO WR WKH &RPSDQ\¶V EXVLQHVV WKH GLVSRVLWLRQ RI ZKLFK LV QRW H[SHFWHG WR KDYH D
PDWHULDO HIIHFW RQ WKH &RPSDQ\¶V ILQDQFLDO SRVLWLRQ RU UHVXOWV RI RSHUDWLRQV ,W LV SRVVLEOH KRZHYHU WKDW IXWXUH UHVXOWV RI RSHUDWLRQV IRU DQ\ SDUWLFXODU
TXDUWHUO\RUDQQXDOSHULRGFRXOGEHPDWHULDOO\DIIHFWHGE\FKDQJHVLQWKH&RPSDQ\¶VDVVXPSWLRQVUHODWHGWRWKHVHPDWWHUV:KLOHRXWFRPHVRIVXFKDFWLRQV
YDU\DQ\VXFKFODLPRUDVVHVVPHQWDJDLQVWWKH&RPSDQ\FRXOGSRWHQWLDOO\LPSDFWWKH&RPSDQ\¶VRSHUDWLRQVDQGILQDQFLDOUHVXOWV

7KHVXFFHVVRIWKH&RPSDQ\LVGHSHQGHQWLQSDUWRQPDQDJLQJFRVWVRIODERUPHUFKDQGLVHDQGRWKHUH[SHQVHVWKDWDUHVXEMHFWWRIDFWRUVEH\RQGWKH
&RPSDQ\¶VFRQWURO

7KH&RPSDQ\¶VVXFFHVVGHSHQGVLQSDUWRQLWVDELOLW\WRPDQDJHRSHUDWLQJFRVWVDQGWRORRNIRURSSRUWXQLWLHVWRUHGXFHFRVWV7KH&RPSDQ\¶VDELOLW\WRPHHW
LWVODERUQHHGVZKLOHFRQWUROOLQJFRVWVLVVXEMHFWWRH[WHUQDOIDFWRUVVXFKDVXQHPSOR\PHQWOHYHOVSUHYDLOLQJZDJHUDWHVPLQLPXPZDJHOHJLVODWLRQODERU
RUJDQL]LQJDFWLYLWLHVDQGFKDQJLQJGHPRJUDSKLFV7KH&RPSDQ\¶VDELOLW\WRILQGTXDOLILHGPHUFKDQGLVHYHQGRUVDQGVHUYLFHSURYLGHUVDQGREWDLQDFFHVVWR
SURGXFWVLQDWLPHO\DQGHIILFLHQWPDQQHUFDQEHDGYHUVHO\DIIHFWHGE\WUDGHUHVWULFWLRQVSROLWLFDOLQVWDELOLW\WKHILQDQFLDOLQVWDELOLW\RIVXSSOLHUVVXSSOLHUV¶
QRQFRPSOLDQFH ZLWK DSSOLFDEOH ODZV WUDQVSRUWDWLRQ FRVWV GLVUXSWLRQV WR LWV VXSSO\ FKDLQ QHWZRUN VHUYLQJ WKH &RPSDQ\¶V VWRUHV GLVWULEXWLRQ IDFLOLWLHV DQG
FXVWRPHUVGXHWRODERUGLVWXUEDQFHVDQGRWKHULWHPVDQGRWKHUIDFWRUVEH\RQGWKH&RPSDQ\¶VFRQWURO

                                                                                       
7DEOHRI&RQWHQWV
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'LVUXSWLRQVRIWKH&RPSDQ\¶VVXSSO\FKDLQFRXOGKDYHDQDGYHUVHHIIHFWRQWKH&RPSDQ\¶VRSHUDWLQJDQGILQDQFLDOUHVXOWV

'LVUXSWLRQRIWKH&RPSDQ\¶VVXSSO\FKDLQFDSDELOLWLHVGXHWRWUDGHUHVWULFWLRQVSROLWLFDOLQVWDELOLW\ZHDWKHUQDWXUDOGLVDVWHUWHUURULVPSURGXFWUHFDOOVODERU
VXSSO\RUVWRSSDJHVWKHILQDQFLDODQGRURSHUDWLRQDOLQVWDELOLW\RINH\VXSSOLHUVDQGFDUULHUVRURWKHUUHDVRQVFRXOGLPSDLUWKH&RPSDQ\¶VDELOLW\WRGLVWULEXWH
LWV SURGXFWV 7R WKH H[WHQW WKH &RPSDQ\ LV XQDEOH WR PLWLJDWH WKH OLNHOLKRRG RU SRWHQWLDO LPSDFW RI VXFK HYHQWV WKHUH FRXOG EH DQ DGYHUVH HIIHFW RQ WKH
&RPSDQ\¶VRSHUDWLQJDQGILQDQFLDOUHVXOWV

7KHVXFFHVVRIWKH&RPSDQ\LVGHSHQGHQWLQSDUWRQWKHDELOLW\RILWVHPSOR\HHVLQDOODUHDVRIWKHRUJDQL]DWLRQWRH[HFXWHLWVEXVLQHVVSODQDQG
XOWLPDWHO\WRVDWLVI\LWVFXVWRPHUV

7KH&RPSDQ\¶VDELOLW\WRDWWUDFWDQGUHWDLQTXDOLILHGHPSOR\HHVLQDOODUHDVRIWKHRUJDQL]DWLRQPD\EHDIIHFWHGE\DQXPEHURIIDFWRUVLQFOXGLQJJHRJUDSKLF
UHORFDWLRQRIHPSOR\HHVRSHUDWLRQVRUIDFLOLWLHVDQGWKHKLJKO\FRPSHWLWLYHPDUNHWVLQZKLFKWKH&RPSDQ\RSHUDWHVLQFOXGLQJWKHPDUNHWVIRUWKHW\SHVRI
VNLOOHGLQGLYLGXDOVQHHGHGWRVXSSRUWWKH&RPSDQ\ VFRQWLQXHGVXFFHVV

7KHVXFFHVVRIWKH&RPSDQ\LVGHSHQGHQWLQSDUWRQLWVDELOLW\WRHVWDEOLVKDQGSURILWDEO\PDLQWDLQWKHDSSURSULDWHPL[RIGLJLWDODQGSK\VLFDO
SUHVHQFHLQWKHPDUNHWVLWVHUYHV

7KH &RPSDQ\¶V VXFFHVV GHSHQGV LQ SDUW RQ LWV DELOLW\ WR GHYHORS LWV GLJLWDO FDSDELOLWLHV LQ FRQMXQFWLRQ ZLWK RSWLPL]LQJ LWV SK\VLFDO VWRUH RSHUDWLRQV DQG
PDUNHW FRYHUDJH ZKLOH PDLQWDLQLQJ SURILWDELOLW\ 7KH &RPSDQ\¶V DELOLW\ WR GHYHORS WKHVH FDSDELOLWLHV ZLOO GHSHQG RQ D QXPEHU RI IDFWRUV LQFOXGLQJ LWV
DVVHVVPHQW DQG LPSOHPHQWDWLRQ RI HPHUJLQJ WHFKQRORJLHV 7KH &RPSDQ\¶V DELOLW\ WR RSWLPL]H LWV VWRUH RSHUDWLRQV DQG PDUNHW FRYHUDJH UHTXLUHV DFWLYH
PDQDJHPHQWRILWVUHDOHVWDWHSRUWIROLRLQDPDQQHUWKDWSHUPLWVVWRUHVL]HVOD\RXWVORFDWLRQVDQGRIIHULQJVWRHYROYHRYHUWLPHZKLFKWRWKHH[WHQWLWLQYROYHV
WKHUHORFDWLRQRIH[LVWLQJVWRUHVRUWKHRSHQLQJRIDGGLWLRQDOVWRUHVZLOOGHSHQGRQDQXPEHURIIDFWRUVLQFOXGLQJLWVLGHQWLILFDWLRQDQGDYDLODELOLW\RIVXLWDEOH
ORFDWLRQVLWVVXFFHVVLQQHJRWLDWLQJOHDVHVRQDFFHSWDEOHWHUPVDQGLWVWLPHO\GHYHORSPHQWRIQHZVWRUHVLQFOXGLQJWKHDYDLODELOLW\RIFRQVWUXFWLRQPDWHULDOV
DQGODERUDQGWKHDEVHQFHRIVLJQLILFDQWFRQVWUXFWLRQDQGRWKHUGHOD\VEDVHGRQZHDWKHURURWKHUHYHQWV7KHVHIDFWRUVFRXOGSRWHQWLDOO\LQFUHDVHWKHFRVWRI
GRLQJEXVLQHVVDQGWKHULVNWKDWWKH&RPSDQ\¶VEXVLQHVVSUDFWLFHVFRXOGUHVXOWLQOLDELOLWLHVWKDWPD\DGYHUVHO\DIIHFWLWVSHUIRUPDQFHGHVSLWHWKHH[HUFLVHRI
UHDVRQDEOHFDUH

'LVUXSWLRQVLQWKHILQDQFLDOPDUNHWVFRXOGKDYHDQDGYHUVHHIIHFWRQWKH&RPSDQ\¶VDELOLW\WRDFFHVVLWVFDVKDQGFDVKHTXLYDOHQWV

7KH &RPSDQ\ PD\ KDYH DPRXQWV RI FDVK DQG FDVK HTXLYDOHQWV DW ILQDQFLDO LQVWLWXWLRQV WKDW DUH LQ H[FHVV RI IHGHUDOO\ LQVXUHG OLPLWV :KLOH WKH &RPSDQ\
FORVHO\PDQDJHVLWVFDVKDQGFDVKHTXLYDOHQWVEDODQFHVWRPLQLPL]HULVNLIWKHUHZHUHGLVUXSWLRQVLQWKHILQDQFLDOPDUNHWVWKH&RPSDQ\FDQQRWEHDVVXUHG
WKDWLWZLOOQRWH[SHULHQFHORVVHVRQLWVGHSRVLWV

7KH&RPSDQ\¶VVWRFNSULFHKDVEHHQDQGPD\FRQWLQXHWREHVXEMHFWWRYRODWLOLW\DQGWKLVDQGRWKHUIDFWRUVPD\DIIHFWHOHPHQWVRIWKH&RPSDQ\¶V
FDSLWDODOORFDWLRQVWUDWHJ\VXFKDVVKDUHUHSXUFKDVHVDQGGLYLGHQGV

7KH&RPSDQ\¶VVWRFNSULFHKDVH[SHULHQFHGYRODWLOLW\RYHUWLPHDQGWKLVYRODWLOLW\PD\FRQWLQXHLQSDUWGXHWRIDFWRUVVXFKDVWKRVHPHQWLRQHGLQWKLV,WHP
$6WRFNYRODWLOLW\LQLWVHOIPD\DGYHUVHO\DIIHFWVKDUHKROGHUFRQILGHQFHDVZHOODVHPSOR\HHPRUDOHDQGUHWHQWLRQIRUWKRVHDVVRFLDWHVZKRUHFHLYHHTXLW\
JUDQWVDVSDUWRIWKHLUFRPSHQVDWLRQSDFNDJHV7KHLPSDFWRQHPSOR\HHPRUDOHDQGUHWHQWLRQFRXOGDGYHUVHO\DIIHFWWKH&RPSDQ\¶VEXVLQHVVSHUIRUPDQFHDQG
ILQDQFLDOUHVXOWV6WRFNYRODWLOLW\DQGRWKHUIDFWRUVPD\DOVRDIIHFWHOHPHQWVRIWKH&RPSDQ\¶VFDSLWDODOORFDWLRQVWUDWHJ\

$VSDUWRILWVFDSLWDODOORFDWLRQVWUDWHJ\VLQFH'HFHPEHUWKH&RPSDQ\¶V%RDUGRI'LUHFWRUVKDVDXWKRUL]HGVHYHUDOVKDUHUHSXUFKDVHSURJUDPVDQGLQ
$SULOWKH%RDUGRI'LUHFWRUVDXWKRUL]HGDTXDUWHUO\GLYLGHQGSURJUDP'HFLVLRQVUHJDUGLQJVKDUHUHSXUFKDVHVDQGGLYLGHQGVDUHZLWKLQWKHGLVFUHWLRQRI
WKH%RDUGRI'LUHFWRUVDQGZLOOEHLQIOXHQFHGE\DQXPEHURIIDFWRUVLQFOXGLQJWKHSULFHRIWKH&RPSDQ\¶VFRPPRQVWRFNJHQHUDOEXVLQHVVDQGHFRQRPLF
FRQGLWLRQVWKH&RPSDQ\¶VILQDQFLDOFRQGLWLRQDQGRSHUDWLQJUHVXOWVWKHHPHUJHQFHRIDOWHUQDWLYHLQYHVWPHQWRUDFTXLVLWLRQRSSRUWXQLWLHVFKDQJHVLQEXVLQHVV
VWUDWHJ\DQGRWKHUIDFWRUV&KDQJHVLQRUWKHHOLPLQDWLRQRIWKH&RPSDQ\¶VVKDUHUHSXUFKDVHSURJUDPVRULWVGLYLGHQGFRXOGKDYHDQDGYHUVHHIIHFWRQWKH
SULFHRIWKH&RPSDQ\¶VFRPPRQVWRFN

7KH&RPSDQ\¶VEXVLQHVVZRXOGEHDGYHUVHO\DIIHFWHGLIWKH&RPSDQ\LVXQDEOHWRVHUYLFHLWVGHEWREOLJDWLRQV

7KH &RPSDQ\ KDV LQFXUUHG LQGHEWHGQHVV XQGHU VHQLRU XQVHFXUHG QRWHV DQG KDV HQWHUHG LQWR D VHQLRU XQVHFXUHG UHYROYLQJ FUHGLW IDFLOLW\ 7KH &RPSDQ\¶V
DELOLW\WRSD\LQWHUHVWDQGSULQFLSDOZKHQGXHFRPSO\ZLWKGHEWFRYHQDQWVRUUHSXUFKDVHWKHVHQLRUXQVHFXUHGQRWHVLIDFKDQJHRIFRQWURORFFXUVZLOOGHSHQG
XSRQ DPRQJ RWKHU WKLQJV VDOHV DQG FDVK IORZ OHYHOV DQG RWKHU IDFWRUV WKDW DIIHFW LWV IXWXUH ILQDQFLDO DQG RSHUDWLQJ SHUIRUPDQFH LQFOXGLQJ SUHYDLOLQJ
HFRQRPLFFRQGLWLRQVDQGILQDQFLDODQGEXVLQHVVIDFWRUVPDQ\RIZKLFKDUHEH\RQGWKH&RPSDQ\¶VFRQWURO

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7DEOHRI&RQWHQWV
    Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 66 of 155 PageID: 476
,IWKH&RPSDQ\EHFRPHVXQDEOHLQWKHIXWXUHWRJHQHUDWHVXIILFLHQWFDVKIORZWRPHHWLWVGHEWVHUYLFHUHTXLUHPHQWVLWPD\EHIRUFHGWRWDNHUHPHGLDODFWLRQV
VXFKDVUHVWUXFWXULQJRUUHILQDQFLQJLWVGHEWVHHNLQJDGGLWLRQDOGHEWRUHTXLW\FDSLWDOUHGXFLQJRUGHOD\LQJLWVEXVLQHVVDFWLYLWLHVRUVHOOLQJDVVHWV7KHUHFDQ
EHQRDVVXUDQFHWKDWDQ\VXFKPHDVXUHVZRXOGEHVXFFHVVIXO

7KH &RPSDQ\ KDV DFTXLUHG VHYHUDO EXVLQHVVHV DQG FRQWLQXHV WR HYDOXDWH SRWHQWLDO EXVLQHVV LQLWLDWLYHV LQFOXGLQJ DFTXLVLWLRQV DQ\ RI ZKLFK FRXOG
DGYHUVHO\LPSDFWWKH&RPSDQ\¶VSHUIRUPDQFH

7KH&RPSDQ\EHOLHYHVLWFDUHIXOO\HYDOXDWHVDQGSODQVIRUWKHLQWHJUDWLRQRIQHZO\DFTXLUHGEXVLQHVVHVDVZHOODVFDUHIXOO\SUHSDUHVIRUDQGH[HFXWHVRQ
RWKHU EXVLQHVV FRPELQDWLRQV DQG VWUDWHJLF LQLWLDWLYHV WKDW DUH SDUW RI WKH VXFFHVV RI LWV EXVLQHVV +RZHYHU VXFK DFWLYLWLHV LQYROYH FHUWDLQ LQKHUHQW ULVNV
LQFOXGLQJWKHIDLOXUHWRUHWDLQNH\SHUVRQQHOIURPDQDFTXLUHGEXVLQHVVXQGLVFORVHGRUVXEVHTXHQWO\DULVLQJOLDELOLWLHVFKDOOHQJHVLQWKHVXFFHVVIXOLQWHJUDWLRQ
RI RSHUDWLRQV DOLJQLQJ VWDQGDUGV SROLFLHV DQG V\VWHPV DQG WKH SRWHQWLDO GLYHUVLRQ RI PDQDJHPHQW UHVRXUFHV IURP H[LVWLQJ RSHUDWLRQV WR UHVSRQG WR
XQIRUHVHHQLVVXHVDULVLQJLQWKHFRQWH[WRIWKHLQWHJUDWLRQRIDQHZEXVLQHVVRULQLWLDWLYH

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0RVW RI WKH &RPSDQ\¶V VWRUHV DUH ORFDWHG LQ VXEXUEDQ DUHDV RI PHGLXP DQG ODUJHVL]HG FLWLHV 7KHVH VWRUHV DUH VLWXDWHG LQ VWULS DQG SRZHU VWULS VKRSSLQJ
FHQWHUVDVZHOODVLQPDMRURIISULFHDQGFRQYHQWLRQDOPDOOVDQGLQIUHHVWDQGLQJEXLOGLQJV

7KH&RPSDQ\¶VVWRUHVDUHORFDWHGLQDOOVWDWHVWKH'LVWULFWRI&ROXPELD3XHUWR5LFRDQG&DQDGDDQGUDQJHLQVL]HIURPDSSUR[LPDWHO\WR
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7KHWDEOHEHORZVHWVIRUWKWKHORFDWLRQVRIWKH&RPSDQ\¶VVWRUHVDVRI0DUFK

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$ODVND                                                                                 1RUWK&DUROLQD                                                                     
$UL]RQD                                                                               1RUWK'DNRWD                                                                         
$UNDQVDV                                                                               2KLR                                                                               
&DOLIRUQLD                                                                           2NODKRPD                                                                           
&RORUDGR                                                                              2UHJRQ                                                                             
&RQQHFWLFXW                                                                           3HQQV\OYDQLD                                                                       
'HODZDUH                                                                               5KRGH,VODQG                                                                         
)ORULGD                                                                               6RXWK&DUROLQD                                                                     
*HRUJLD                                                                               6RXWK'DNRWD                                                                         
+DZDLL                                                                                 7HQQHVVHH                                                                          
,GDKR                                                                                  7H[DV                                                                             
,OOLQRLV                                                                              8WDK                                                                               
,QGLDQD                                                                               9HUPRQW                                                                              
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.DQVDV                                                                                :DVKLQJWRQ                                                                         
.HQWXFN\                                                                              :HVW9LUJLQLD                                                                        
/RXLVLDQD                                                                             :LVFRQVLQ                                                                          
0DLQH                                                                                  :\RPLQJ                                                                              
0DU\ODQG                                                                              'LVWULFWRI&ROXPELD                                                                 
0DVVDFKXVHWWV                                                                         3XHUWR5LFR                                                                          
0LFKLJDQ                                                                              $OEHUWD&DQDGD                                                                    
0LQQHVRWD                                                                             %ULWLVK&ROXPELD&DQDGD                                                           
0LVVLVVLSSL                                                                            0DQLWRED&DQDGD                                                                     
0LVVRXUL                                                                              1HZ%UXQVZLFN&DQDGD                                                                
0RQWDQD                                                                                1HZIRXQGODQGDQG/DEUDGRU&DQDGD                                                    
1HEUDVND                                                                               1RYD6FRWLD&DQDGD                                                                  
1HYDGD                                                                                2QWDULR&DQDGD                                                                    
1HZ+DPSVKLUH                                                                         3ULQFH(GZDUG,VODQG&DQDGD                                                         
1HZ-HUVH\                                                                            6DVNDWFKHZDQ&DQDGD                                                                
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7DEOHRI&RQWHQWV
    Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 67 of 155 PageID: 477
7KH &RPSDQ\ OHDVHV VXEVWDQWLDOO\ DOO RI LWV H[LVWLQJ VWRUHV 7KH OHDVHV SURYLGH IRU RULJLQDO OHDVH WHUPV WKDW JHQHUDOO\ UDQJH IURP  WR  \HDUV DQG PRVW
OHDVHV SURYLGH IRU D VHULHV RI ILYH \HDU UHQHZDO RSWLRQV RIWHQ DW LQFUHDVHG UHQWV 7KH &RPSDQ\ HYDOXDWHV OHDVHV RQ DQ RQJRLQJ EDVLV ZKLFK PD\ OHDG WR
UHQHJRWLDWHGOHDVHSURYLVLRQVLQFOXGLQJUHQWDQGWHUPGXUDWLRQGXULQJUHQHZDORSWLRQVRUWKHSRVVLEOHUHORFDWLRQRUFORVLQJRIVWRUHV7KH&RPSDQ\H[SHFWV
WR FORVH D PLQLPXP RI DSSUR[LPDWHO\  VWRUHV LQ ILVFDO  XQOHVV LW LV DEOH WR QHJRWLDWH PRUH IDYRUDEOH OHDVH WHUPV ZLWK LWV ODQGORUGV &HUWDLQ OHDVHV
SURYLGHIRUVFKHGXOHGUHQWLQFUHDVHV ZKLFKLQWKHFDVHRIIL[HGLQFUHDVHVWKH&RPSDQ\DFFRXQWVIRURQDVWUDLJKWOLQHEDVLVRYHUWKHFRPPLWWHGOHDVHWHUP
EHJLQQLQJZKHQWKH&RPSDQ\REWDLQVSRVVHVVLRQRIWKHSUHPLVHV DQGRUIRUFRQWLQJHQWUHQW EDVHGXSRQVWRUHVDOHVH[FHHGLQJVWLSXODWHGDPRXQWV 

7KH&RPSDQ\KDVGLVWULEXWLRQIDFLOLWLHVZKLFKVKLSPHUFKDQGLVHWRVWRUHVDQGFXVWRPHUVWRWDOLQJDSSUR[LPDWHO\PLOOLRQVTXDUHIHHWFRQVLVWLQJRIWKUHH
RZQHGDQGOHDVHGIDFLOLWLHV

$V RI 0DUFK   WKH &RPSDQ\ KDV DSSUR[LPDWHO\  VTXDUH IHHW ZLWKLQ  OHDVHG DQG RZQHG IDFLOLWLHV IRU SURFXUHPHQW DQG FRUSRUDWH RIILFH
IXQFWLRQV,QDGGLWLRQWKH&RPSDQ\KDVIRXUORFDWLRQVWRWDOLQJDSSUR[LPDWHO\VTXDUHIHHWZKLFKDUHXWLOL]HGSULPDULO\IRUVDOHVUHODWHGIXQFWLRQVIRULWV
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7KH'LVWULFW$WWRUQH\ VRIILFHIRUWKH&RXQW\RI9HQWXUD&DOLIRUQLDWRJHWKHUZLWK'LVWULFW$WWRUQH\VIRURWKHUFRXQWLHVLQ&DOLIRUQLD WRJHWKHUWKH'LVWULFW
$WWRUQH\V UHFHQWO\FRQFOXGHGDQLQYHVWLJDWLRQUHJDUGLQJWKHPDQDJHPHQWDQGGLVSRVDODWWKH&RPSDQ\ VVWRUHVLQ&DOLIRUQLDRIFHUWDLQPDWHULDOVWKDWPD\
EHGHHPHGKD]DUGRXVRUXQLYHUVDOZDVWHXQGHU&DOLIRUQLDODZ2Q0DUFKWKH'LVWULFW$WWRUQH\VSURYLGHGWKH&RPSDQ\ZLWKDVHWWOHPHQWGHPDQG
WKDWLQFOXGHGDSURSRVHGFLYLOSHQDOW\UHLPEXUVHPHQWRILQYHVWLJDWLRQFRVWVDQGFHUWDLQLQMXQFWLYHUHOLHILQFOXGLQJPRGLILFDWLRQVWRWKH&RPSDQ\ VH[LVWLQJ
FRPSOLDQFHSURJUDPZKLFKDOUHDG\LQFOXGHVDVVRFLDWHWUDLQLQJRQJRLQJUHYLHZRIGLVSRVDOUXOHVDSSOLFDEOHWRYDULRXVSURGXFWFDWHJRULHVDQGVSHFLDOL]HG
WKLUGSDUW\GLVSRVDO7KH&RPSDQ\LVZRUNLQJZLWKWKH'LVWULFW$WWRUQH\VWRZDUGVDUHVROXWLRQRIWKLVPDWWHUDQGKDVUHFRUGHGDQDFFUXDOIRUWKHHVWLPDWHG
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UHVROXWLRQRIWKLVPDWWHUZLOOKDYHDPDWHULDOHIIHFWRQWKH&RPSDQ\ VFRQVROLGDWHGILQDQFLDOSRVLWLRQUHVXOWVRIRSHUDWLRQVRUOLTXLGLW\

7KH &RPSDQ\ LV SDUW\ WR YDULRXV OHJDO SURFHHGLQJV DULVLQJ LQ WKH RUGLQDU\ FRXUVH RI EXVLQHVV ZKLFK WKH &RPSDQ\ GRHV QRW EHOLHYH WR EH PDWHULDO WR WKH
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'XULQJILVFDOWKH&RPSDQ\¶V%RDUGRI'LUHFWRUVDXWKRUL]HGDTXDUWHUO\GLYLGHQGSURJUDP'XULQJILVFDODQGWRWDOFDVKGLYLGHQGVRI
PLOOLRQDQGPLOOLRQZHUHSDLGUHVSHFWLYHO\6XEVHTXHQWWRWKHHQGRIWKHIRXUWKTXDUWHURIILVFDORQ$SULO   WKH &RPSDQ\¶V %RDUG RI
'LUHFWRUVGHFODUHGDTXDUWHUO\GLYLGHQGLQFUHDVHWRSHUVKDUHWREHSDLGRQ-XO\WRVKDUHKROGHUVRIUHFRUGDWWKHFORVHRIEXVLQHVVRQ-XQH
7KH&RPSDQ\H[SHFWVWRSD\TXDUWHUO\FDVKGLYLGHQGVRQLWVFRPPRQVWRFNLQWKHIXWXUHVXEMHFWWRWKHGHWHUPLQDWLRQE\WKH%RDUGRI'LUHFWRUVEDVHG
RQDQHYDOXDWLRQRIWKH&RPSDQ\¶VHDUQLQJVILQDQFLDOFRQGLWLRQDQGUHTXLUHPHQWVEXVLQHVVFRQGLWLRQVDQGRWKHUIDFWRUV

6LQFH  WKURXJK WKH HQG RI ILVFDO  WKH &RPSDQ\ KDV UHSXUFKDVHG DSSUR[LPDWHO\  ELOOLRQ RI LWV FRPPRQ VWRFN WKURXJK VKDUH UHSXUFKDVH
SURJUDPV7KH&RPSDQ\¶VSXUFKDVHVRILWVFRPPRQVWRFNGXULQJWKHIRXUWKTXDUWHURIILVFDOZHUHDVIROORZV

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                                                                                                                         7RWDO1XPEHURI             'ROODU
                                                                                                                         6KDUHV3XUFKDVHG        9DOXHRI6KDUHV
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3HULRG                                                                                          3DLGSHU6KDUH         RU3URJUDPV         3URJUDPV   
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RIELOOLRQRILWVVKDUHVRIFRPPRQVWRFN7KH&RPSDQ\KDVDXWKRUL]DWLRQWRPDNHUHSXUFKDVHVIURPWLPHWRWLPHLQWKHRSHQPDUNHWRUWKURXJKRWKHU
SDUDPHWHUVDSSURYHGE\WKH%RDUGRI'LUHFWRUVSXUVXDQWWRH[LVWLQJUXOHVDQGUHJXODWLRQV6KDUHVSXUFKDVHGDVLQGLFDWHGLQWKLVWDEOHDOVRLQFOXGHVKDUHV
ZLWKKHOGWRFRYHUHPSOR\HHUHODWHGWD[HVRQYHVWHGUHVWULFWHGVKDUHVDQGSHUIRUPDQFHVWRFNXQLWDZDUGV

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6WRFN3ULFH3HUIRUPDQFH*UDSK

7KHJUDSKVKRZQEHORZFRPSDUHVWKHSHUIRUPDQFHRIWKH&RPSDQ\¶VFRPPRQVWRFNZLWKWKDWRIWKH6 3,QGH[WKH6 36SHFLDOW\5HWDLO,QGH[DQGWKH
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&RQVROLGDWHG6HOHFWHG)LQDQFLDO'DWD                                                                                                 )LVFDO<HDU(QGHG 
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/RQJWHUPVDOHOHDVHEDFNDQGFDSLWDOOHDVH                                                                                                                                   
REOLJDWLRQV                                                                                                                                                    
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/RQJWHUPGHEW                                                                                                                                     
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6KDUHKROGHUV HTXLW\                                                                                                                        

  (DFKILVFDO\HDUUHSUHVHQWVZHHNVH[FHSWIRUILVFDO HQGHG0DUFK ZKLFKUHSUHVHQWVZHHNV
  7KH&RPSDQ\DFTXLUHG'HFRULVW,QFRQ0DUFK
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  &RPSDUDEOHVDOHVLQFOXGHVDOHVFRQVXPPDWHGWKURXJKDOOUHWDLOFKDQQHOVZKLFKKDYHEHHQRSHUDWLQJIRUWZHOYHIXOOPRQWKVIROORZLQJWKHRSHQLQJSHULRG W\SLFDOO\IRXUWRVL[ZHHNV 2ID.LQG
ZDVH[FOXGHGIURPWKHFRPSDUDEOHVDOHVFDOFXODWLRQVWKURXJKWKHHQGRIWKHILUVWILVFDOKDOIRIDQGLVLQFOXGHGEHJLQQLQJZLWKWKHILVFDOWKLUGTXDUWHURI30DOOLVLQFOXGHGLQWKH
FRPSDUDEOHVDOHVFDOFXODWLRQEHJLQQLQJLQWKHIRXUWKTXDUWHURIILVFDO2QH.LQJV/DQH&KHI&HQWUDODQG'HFRULVWDUHLQFOXGHGLQWKHFRPSDUDEOHVDOHVFDOFXODWLRQEHJLQQLQJLQWKHILUVWTXDUWHU
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  2Q-XO\WKH&RPSDQ\LVVXHGPLOOLRQDJJUHJDWHSULQFLSDODPRXQWRIVHQLRUXQVHFXUHGQRWHVGXH$XJXVWPLOOLRQDJJUHJDWHSULQFLSDODPRXQWRIVHQLRU
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  7KH&RPSDQ\¶V%RDUGRI'LUHFWRUVGHFODUHGTXDUWHUO\GLYLGHQGVRISHUVKDUHLQHDFKTXDUWHURIILVFDOWRWDOLQJSHUVKDUHRUDSSUR[LPDWHO\PLOOLRQIRUWKHILVFDO\HDU
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    Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 71 of 155 PageID: 481
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%HG %DWK  %H\RQG ,QF DQG VXEVLGLDULHV WKH ³&RPSDQ\´  LV DQ RPQLFKDQQHO UHWDLOHU VHOOLQJ D ZLGH DVVRUWPHQW RI GRPHVWLFV PHUFKDQGLVH DQG KRPH
IXUQLVKLQJVZKLFKRSHUDWHVXQGHUWKHQDPHV%HG%DWK %H\RQG ³%%%´ &KULVWPDV7UHH6KRSV&KULVWPDV7UHH6KRSVDQG7KDWRUDQG7KDW FROOHFWLYHO\
³&76´ +DUPRQ+DUPRQ)DFH9DOXHVRU)DFH9DOXHV FROOHFWLYHO\³+DUPRQ´ EX\EX\%$%< ³%DE\´ DQG:RUOG0DUNHW&RVW3OXV:RUOG0DUNHWRU
&RVW 3OXV FROOHFWLYHO\ ³&RVW 3OXV :RUOG 0DUNHW´  &XVWRPHUV FDQ SXUFKDVH SURGXFWV HLWKHU LQVWRUH RQOLQH ZLWK D PRELOH GHYLFH RU WKURXJK D FXVWRPHU
FRQWDFWFHQWHU7KH&RPSDQ\JHQHUDOO\KDVWKHDELOLW\WRKDYHFXVWRPHUSXUFKDVHVSLFNHGXSLQVWRUHRUVKLSSHGGLUHFWWRWKHFXVWRPHUIURPWKH&RPSDQ\¶V
GLVWULEXWLRQIDFLOLWLHVVWRUHVRUYHQGRUV,QDGGLWLRQWKH&RPSDQ\RSHUDWHV2ID.LQGDQHFRPPHUFHZHEVLWHWKDWIHDWXUHVVSHFLDOO\FRPPLVVLRQHGOLPLWHG
HGLWLRQLWHPVIURPHPHUJLQJIDVKLRQDQGKRPHGHVLJQHUV2QH.LQJV/DQHDQDXWKRULW\LQKRPHGpFRUDQGGHVLJQRIIHULQJDXQLTXHFROOHFWLRQRIVHOHFWKRPH
JRRGVGHVLJQHUDQGYLQWDJHLWHPV3HUVRQDOL]DWLRQ0DOOFRP ³30DOO´ DQLQGXVWU\OHDGLQJRQOLQHUHWDLOHURISHUVRQDOL]HGSURGXFWV&KHI&HQWUDODUHWDLOHURI
NLWFKHQZDUH FRRNZDUH DQG KRPHZDUH LWHPV FDWHULQJ WR FRRNLQJ DQG EDNLQJ HQWKXVLDVWV DQG 'HFRULVW DQ RQOLQH LQWHULRU GHVLJQ SODWIRUP WKDW SURYLGHV
SHUVRQDOL]HG KRPH GHVLJQ VHUYLFHV 7KH &RPSDQ\ DOVR RSHUDWHV /LQHQ +ROGLQJV D SURYLGHU RI D YDULHW\ RI WH[WLOH SURGXFWV DPHQLWLHV DQG RWKHU JRRGV WR
LQVWLWXWLRQDOFXVWRPHUVLQWKHKRVSLWDOLW\FUXLVHOLQHKHDOWKFDUHDQGRWKHULQGXVWULHV$GGLWLRQDOO\WKH&RPSDQ\LVDSDUWQHULQDMRLQWYHQWXUHZKLFKRSHUDWHV
UHWDLOVWRUHVLQ0H[LFRXQGHUWKHQDPH%HG%DWK %H\RQG

7KH &RPSDQ\ DFFRXQWV IRU LWV RSHUDWLRQV DV WZR RSHUDWLQJ VHJPHQWV 1RUWK $PHULFDQ 5HWDLO DQG ,QVWLWXWLRQDO 6DOHV 7KH ,QVWLWXWLRQDO 6DOHV RSHUDWLQJ
VHJPHQWZKLFKLVFRPSULVHGRI/LQHQ+ROGLQJVGRHVQRWPHHWWKHTXDQWLWDWLYHWKUHVKROGVXQGHU86JHQHUDOO\DFFHSWHGDFFRXQWLQJSULQFLSOHVDQGWKHUHIRUH
LVQRWDUHSRUWDEOHVHJPHQW

7KH &RPSDQ\¶V PLVVLRQ LV WR EH WKH WUXVWHG H[SHUW IRU WKH KRPH DQG KHDUWIHOW OLIH HYHQWV 7KHVH LQFOXGH FHUWDLQ OLIH HYHQWV WKDW HYRNH VWURQJ HPRWLRQDO
FRQQHFWLRQVVXFKDVJHWWLQJPDUULHGPRYLQJWRDQHZKRPHKDYLQJDEDE\JRLQJWRFROOHJHDQGGHFRUDWLQJDURRPZKLFKWKH&RPSDQ\VXSSRUWVWKURXJKLWV
ZHGGLQJDQGEDE\UHJLVWULHVPRYHUDQGVWXGHQWOLIHSURJUDPVDQGLWVGHVLJQFRQVXOWDWLRQVHUYLFHV

7RDGYDQFHLWVPLVVLRQWKH&RPSDQ\LVH[HFXWLQJRQDFRPSUHKHQVLYHSODQWRWUDQVIRUPLWVEXVLQHVVDQGSRVLWLRQWKH&RPSDQ\IRUORQJWHUPVXFFHVV7KH
VWUDWHJLFIRFXVRIWKHWUDQVIRUPDWLRQDOLQLWLDWLYHVLQFOXGHSURGXFWDVVRUWPHQWVKRSSLQJH[SHULHQFHVHUYLFHVDQGVROXWLRQVDQGRSHUDWLRQDOH[FHOOHQFH7KH
&RPSDQ\¶VRQJRLQJHIIRUWVWRLPSOHPHQWDQGH[HFXWHRQWKHVHRUJDQL]DWLRQZLGHIRXQGDWLRQDOLQLWLDWLYHVDUHLQWHQGHGWRGULYHIRXUNH\VWUDWHJLFREMHFWLYHV
LQFOXGLQJPLGDQGORQJWHUPUHYHQXHJURZWKQHDUWHUPDQGRQJRLQJJURVVPDUJLQLPSURYHPHQWVQHDUWHUPDQGRQJRLQJVHOOLQJJHQHUDODQGDGPLQLVWUDWLYH
H[SHQVHV 6* $ LPSURYHPHQWVDQGFXUUHQWDQGVXVWDLQDEOHZRUOGFODVVRSHUDWLRQDOVXSSRUW

7KHLQWHJUDWLRQRIUHWDLOVWRUHDQGFXVWRPHUIDFLQJGLJLWDOFKDQQHOVDOORZVWKH&RPSDQ\WRSURYLGHLWVFXVWRPHUVZLWKDVHDPOHVVVKRSSLQJH[SHULHQFH,Q
VWRUHSXUFKDVHVDUHSULPDULO\IXOILOOHGIURPWKDWVWRUH¶VLQYHQWRU\RUPD\DOVREHVKLSSHGWRDFXVWRPHUIURPRQHRIWKH&RPSDQ\¶VGLVWULEXWLRQIDFLOLWLHVD
YHQGRU RU DQRWKHU VWRUH 3XUFKDVHV LQFOXGLQJ ZHE DQG PRELOH FDQ EH VKLSSHG WR D FXVWRPHU IURP WKH &RPSDQ\¶V GLVWULEXWLRQ IDFLOLWLHV GLUHFWO\ IURP
YHQGRUV RU IURP D VWRUH 7KH &RPSDQ\¶V FXVWRPHUV FDQ DOVR FKRRVH WR SLFN XS RQOLQH RUGHUV LQ D VWRUH DV ZHOO DV UHWXUQ RQOLQH SXUFKDVHV WR D VWRUH
&XVWRPHUV FDQ DOVR PDNH SXUFKDVHV WKURXJK RQH RI WKH &RPSDQ\¶V FXVWRPHU FRQWDFW FHQWHUV DQG LQVWRUH WKURXJK 7KH %H\RQG 6WRUH WKH &RPSDQ\¶V
SURSULHWDU\ZHEEDVHGSODWIRUP7KHVHFDSDELOLWLHVDOORZWKH&RPSDQ\WREHWWHUVHUYHFXVWRPHUVDFURVVYDULRXVFKDQQHOV

2SHUDWLQJLQWKHKLJKO\FRPSHWLWLYHUHWDLOLQGXVWU\WKH&RPSDQ\DORQJZLWKRWKHUUHWDLOFRPSDQLHVLVLQIOXHQFHGE\DQXPEHURIIDFWRUVLQFOXGLQJEXWQRW
OLPLWHGWRJHQHUDOHFRQRPLFFRQGLWLRQVLQFOXGLQJWKHKRXVLQJPDUNHWXQHPSOR\PHQWOHYHOVDQGFRPPRGLW\SULFHVWKHRYHUDOOPDFURHFRQRPLFHQYLURQPHQW
DQG UHODWHG FKDQJHV LQ WKH UHWDLOLQJ HQYLURQPHQW FRQVXPHU SUHIHUHQFHV VSHQGLQJ KDELWV DQG DGRSWLRQ RI QHZ WHFKQRORJLHV XQXVXDO ZHDWKHU SDWWHUQV DQG
QDWXUDO GLVDVWHUV FRPSHWLWLRQ IURP H[LVWLQJ DQG SRWHQWLDO FRPSHWLWRUV DFURVV DOO FKDQQHOV SRWHQWLDO VXSSO\ FKDLQ GLVUXSWLRQ WKH DELOLW\ WR ILQG VXLWDEOH
ORFDWLRQVDWDFFHSWDEOHRFFXSDQF\FRVWVDQGRWKHUWHUPVWRVXSSRUWWKH&RPSDQ\¶VSODQVIRUQHZVWRUHVDQGWKHDELOLW\WRDVVHVVDQGLPSOHPHQWWHFKQRORJLHV
LQVXSSRUWRIWKH&RPSDQ\¶VGHYHORSPHQWRILWVRPQLFKDQQHOFDSDELOLWLHV7KH&RPSDQ\FDQQRWSUHGLFWZKHWKHUZKHQRUWKHPDQQHULQZKLFKWKHVHIDFWRUV
FRXOGDIIHFWWKH&RPSDQ\¶VRSHUDWLQJUHVXOWV

7KHUHVXOWVRIRSHUDWLRQVIRUWKHILVFDO\HDUHQGHG0DUFKLQFOXGH'HFRULVWVLQFHWKHGDWHRIDFTXLVLWLRQ0DUFK7KHUHVXOWVRIRSHUDWLRQVIRU
WKH ILVFDO \HDU HQGHG )HEUXDU\   LQFOXGH 2QH .LQJV /DQH VLQFH WKH GDWH RI DFTXLVLWLRQ -XQH   DQG 30DOO VLQFH WKH GDWH RI DFTXLVLWLRQ
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7DEOHRI&RQWHQWV
    Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 72 of 155 PageID: 482
7KHIROORZLQJUHSUHVHQWVDQRYHUYLHZRIWKH&RPSDQ\¶VILQDQFLDOSHUIRUPDQFHIRUWKHSHULRGVLQGLFDWHG

       1HWVDOHVLQILVFDO ILIW\WZRZHHNV GHFUHDVHGDSSUR[LPDWHO\WRELOOLRQ QHW VDOHV LQ ILVFDO  ILIW\WKUHHZHHNV LQFUHDVHG
        DSSUR[LPDWHO\WRELOOLRQRYHUQHWVDOHVRIELOOLRQLQILVFDO ILIW\WZRZHHNV 

       &RPSDUDEOHVDOHVLQILVFDO ILIW\WZRZHHNV GHFUHDVHGE\DSSUR[LPDWHO\DVFRPSDUHGWRDGHFUHDVHRIDSSUR[LPDWHO\IRUILVFDO
         ILIW\WKUHHZHHNV DQGDGHFUHDVHRIDSSUR[LPDWHO\IRUILVFDO ILIW\WZRZHHNV &RPSDUDEOHVDOHVSHUFHQWDJHVDUHFDOFXODWHGEDVHG
        RQDQHTXLYDOHQWQXPEHURIZHHNVLQHDFKDQQXDOSHULRG)RUILVFDODQGILVFDOFRPSDUDEOHVDOHVFRQVXPPDWHGWKURXJKFXVWRPHUIDFLQJ
        GLJLWDOFKDQQHOVFRQWLQXHGWKHWUHQGRI\HDURYHU\HDUVWURQJJURZWKZKLOHFRPSDUDEOHVDOHVFRQVXPPDWHGLQVWRUHGHFOLQHGLQWKHPLGVLQJOHGLJLW
        SHUFHQWDJHUDQJHIURPWKHFRUUHVSRQGLQJSHULRGLQWKHSULRU\HDU

        &RPSDUDEOHVDOHVLQFOXGHVDOHVFRQVXPPDWHGWKURXJKDOOUHWDLOFKDQQHOVZKLFKKDYHEHHQRSHUDWLQJIRUWZHOYHIXOOPRQWKVIROORZLQJWKHRSHQLQJ
        SHULRG W\SLFDOO\IRXUWRVL[ZHHNV 7KH&RPSDQ\LVDQRPQLFKDQQHOUHWDLOHUZLWKFDSDELOLWLHVWKDWDOORZDFXVWRPHUWRXVHPRUHWKDQRQHFKDQQHO
        ZKHQPDNLQJDSXUFKDVHLQFOXGLQJLQVWRUHRQOLQHZLWKDPRELOHGHYLFHRUWKURXJKDFXVWRPHUFRQWDFWFHQWHUDQGKDYHLWIXOILOOHGLQPRVWFDVHV
        HLWKHUWKURXJKLQVWRUHFXVWRPHUSLFNXSRUE\GLUHFWVKLSPHQWWRWKHFXVWRPHUIURPRQHRIWKH&RPSDQ\¶VGLVWULEXWLRQIDFLOLWLHVVWRUHVRUYHQGRUV

        6DOHVFRQVXPPDWHGRQDPRELOHGHYLFHZKLOHSK\VLFDOO\LQDVWRUHORFDWLRQDUHUHFRUGHGDVFXVWRPHUIDFLQJGLJLWDOFKDQQHOVDOHV&XVWRPHURUGHUV
        WDNHQLQVWRUHE\DQDVVRFLDWHWKURXJK7KH%H\RQG6WRUHWKH&RPSDQ\¶VSURSULHWDU\ZHEEDVHGSODWIRUPDUHUHFRUGHGDVLQVWRUHVDOHV&XVWRPHU
        RUGHUVUHVHUYHGRQOLQHDQGSLFNHGXSLQDVWRUHDUHUHFRUGHGDVLQVWRUHVDOHV6DOHVRULJLQDOO\FRQVXPPDWHGIURPFXVWRPHUIDFLQJGLJLWDOFKDQQHOV
        DQGVXEVHTXHQWO\UHWXUQHGLQVWRUHDUHUHFRUGHGDVDUHGXFWLRQRILQVWRUHVDOHV

        6WRUHVUHORFDWHGRUH[SDQGHGDUHH[FOXGHGIURPFRPSDUDEOHVDOHVLIWKHFKDQJHLQVTXDUHIRRWDJHZRXOGFDXVHPHDQLQJIXOGLVSDULW\LQVDOHVRYHUWKH
        SULRUSHULRG,QWKHFDVHRIDVWRUHWREHFORVHGVXFKVWRUH¶VVDOHVDUHQRWFRQVLGHUHGFRPSDUDEOHRQFHWKHVWRUHFORVLQJSURFHVVKDVFRPPHQFHG
        6WRUHV LPSDFWHG E\ XQXVXDO DQG XQH[SHFWHG HYHQWV RXWVLGH WKH &RPSDQ\¶V FRQWURO LQFOXGLQJ VHYHUH ZHDWKHU ILUH RU IORRGV DUH H[FOXGHG IURP
        FRPSDUDEOHVDOHVIRUWKHSHULRGRIWLPHWKDWVXFKHYHQWZRXOGFDXVHDPHDQLQJIXOGLVSDULW\LQVDOHVRYHUWKHSULRUSHULRG2ID.LQGZDVH[FOXGHG
        IURPWKHFRPSDUDEOHVDOHVFDOFXODWLRQVWKURXJKWKHHQGRIWKHILUVWILVFDOKDOIRIDQGLVLQFOXGHGEHJLQQLQJZLWKWKHILVFDOWKLUGTXDUWHURI
        30DOOLVLQFOXGHGLQWKHFRPSDUDEOHVDOHVFDOFXODWLRQEHJLQQLQJLQWKHIRXUWKTXDUWHURIILVFDO2QH.LQJV/DQH&KHI&HQWUDODQG'HFRULVWDUH
        LQFOXGHG LQ WKH FRPSDUDEOH VDOHV FDOFXODWLRQ EHJLQQLQJ LQ WKH ILUVW TXDUWHU RI ILVFDO  /LQHQ +ROGLQJV LV H[FOXGHG IURP WKH FRPSDUDEOH VDOHV
        FDOFXODWLRQVDQGZLOOFRQWLQXHWREHH[FOXGHGRQDQRQJRLQJEDVLVDVLWUHSUHVHQWVQRQUHWDLODFWLYLW\

       *URVVSURILWIRUILVFDOZDVELOOLRQRURIQHWVDOHVFRPSDUHGZLWKELOOLRQRURIQHWVDOHVIRUILVFDODQG
        ELOOLRQRURIQHWVDOHVIRUILVFDO

       6* $IRUILVFDOZHUHELOOLRQRURIQHW VDOHVFRPSDUHGZLWKELOOLRQ RU  RI QHW VDOHV IRU ILVFDO  DQG 
        ELOOLRQRURIQHWVDOHVIRUILVFDO

       *RRGZLOODQGRWKHULPSDLUPHQWVIRUILVFDOZHUHPLOOLRQRURIQHWVDOHV7KHUHZHUHQRJRRGZLOODQGRWKHULPSDLUPHQWVLQILVFDO
        RUILVFDO

       ,QWHUHVWH[SHQVHQHWZDVPLOOLRQPLOOLRQDQGPLOOLRQLQILVFDODQGUHVSHFWLYHO\

       7KHHIIHFWLYHWD[UDWHZDVDQGIRUILVFDO\HDUVDQGUHVSHFWLYHO\

        )RU ILVFDO   DQG  WKH HIIHFWLYH WD[ UDWH LQFOXGHG QHW EHQHILWV RI DSSUR[LPDWHO\  PLOOLRQ QHW H[SHQVH RI DSSUR[LPDWHO\ 
        PLOOLRQZKLFKLQFOXGHGWKHLPSDFWVRIWKHFRPSUHKHQVLYHWD[OHJLVODWLRQFRPPRQO\UHIHUUHGWRDVWKH7D[&XWVDQG-REV$FW WKH7D[$FW HQDFWHG
        E\WKH86JRYHUQPHQWRQ'HFHPEHUDQGQHWEHQHILWVRIDSSUR[LPDWHO\PLOOLRQUHVSHFWLYHO\7KHHIIHFWLYHWD[UDWHVIRUILVFDO
        DQGLQFOXGHGQHWEHQHILWVGXHWRWKHUHFRJQLWLRQRIIDYRUDEOHGLVFUHWHIHGHUDODQGVWDWHWD[LWHPV

        7KH&RPSDQ\¶VHIIHFWLYHWD[UDWHIRUILVFDOLQFOXGHGDQHWLQFUHDVHRIDSSUR[LPDWHO\UHVXOWLQJIURPWKHLPSDFWVRIWKH7D[$FW7KH7D[
        $FWVLJQLILFDQWO\UHYLVHGWKH86WD[FRGHE\DPRQJRWKHUWKLQJV L UHGXFLQJWKHIHGHUDOFRUSRUDWHLQFRPHWD[UDWHIURPWRHIIHFWLYH
        -DQXDU\   LL  LPSRVLQJ D RQHWLPH WUDQVLWLRQ WD[ RQ HDUQLQJV RI IRUHLJQ VXEVLGLDULHV GHHPHG WR EH UHSDWULDWHG DQG LLL  LPSOHPHQWLQJ D
        PRGLILHGWHUULWRULDOWD[V\VWHP7KHQHWXQIDYRUDEOHWD[LPSDFWLQFOXGHGWKHIROORZLQJ  UHPHDVXUHPHQWRIWKH&RPSDQ\¶VQHWGHIHUUHGWD[DVVHWV
        WKDWH[LVWHGRQ'HFHPEHU

                                                                                    
7DEOHRI&RQWHQWV
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           GHIHUUHGWD[HVWKDWZHUHFUHDWHGDIWHU'HFHPEHUWKDWZHUHGHGXFWHGDWWKHIHGHUDOVWDWXWRU\UDWHRIEXWZLOOUHYHUVHDWWKH
         QHZO\HQDFWHGIHGHUDOVWDWXWRU\UDWH  WKHWUDQVLWLRQWD[RQDFFXPXODWHGIRUHLJQHDUQLQJVDQG  WKHGHFUHDVHLQWKHIHGHUDOVWDWXWRU\WD[UDWH
         LQILVFDO

         $GGLWLRQDOO\LQILVFDOWKHHIIHFWLYHWD[UDWHLQFOXGHGWKHHIIHFWRIWKHDGRSWLRQRI$FFRXQWLQJ6WDQGDUGV8SGDWH&RPSHQVDWLRQ±6WRFN
         &RPSHQVDWLRQ 7RSLF   ,PSURYHPHQWV WR 6KDUH%DVHG 3D\PHQW $FFRXQWLQJ ³$68  6WRFN &RPSHQVDWLRQ´  ZKLFK LQFUHDVHG WKH
         HIIHFWLYHWD[UDWHE\DSSUR[LPDWHO\7KHHIIHFWLYHUDWHDOVRLQFOXGHGDSSUR[LPDWHO\RIIDYRUDEOHWD[EHQHILWVRFFXUULQJGXULQJILVFDO

        )RUWKHILVFDO\HDUHQGHG0DUFK ILIW\WZRZHHNV QHWORVVSHUGLOXWHGVKDUHZDV     PLOOLRQ DQGLQFOXGHGWKHXQIDYRUDEOH
         LPSDFWRIDSSUR[LPDWHO\SHUGLOXWHGVKDUHIURPJRRGZLOODQGRWKHULPSDLUPHQWV)RUWKHILVFDO\HDUHQGHG0DUFK ILIW\WKUHHZHHNV 
         QHWHDUQLQJVSHUGLOXWHGVKDUHZDV PLOOLRQ DQGIRUWKHILVFDO\HDUHQGHG)HEUXDU\ ILIW\WZRZHHNV QHWHDUQLQJVSHUGLOXWHG
         VKDUHZDV PLOOLRQ 

         )RUWKHILVFDO\HDUHQGHG0DUFKWKHGHFUHDVHLQQHWHDUQLQJVSHUGLOXWHGVKDUHLVDUHVXOWRIWKHGHFUHDVHLQQHWHDUQLQJVGXHWRWKHLWHPV
         GHVFULEHGDERYHSDUWLDOO\RIIVHWE\WKHLPSDFWRIWKH&RPSDQ\ VUHSXUFKDVHRILWVFRPPRQVWRFN

         )RUWKHILVFDO\HDUHQGHG0DUFKWKHGHFUHDVHLQQHWHDUQLQJVSHUGLOXWHGVKDUHLVWKHUHVXOWRIWKHGHFUHDVHLQQHWHDUQLQJVGXHWRWKHLWHPV
         GHVFULEHG DERYH SDUWLDOO\ RIIVHW E\ DQ HVWLPDWHG  EHQHILW UHODWHG WR WKH ILIW\WKLUG ZHHN LQ ILVFDO  DQG WKH EHQHILW RI WKH &RPSDQ\¶V
         UHSXUFKDVHV RI LWV FRPPRQ VWRFN ,Q DGGLWLRQ ILVFDO  QHW HDUQLQJV SHU GLOXWHG VKDUH LQFOXGHG WKH QHW XQIDYRUDEOH LPSDFW RI WKH 7D[ $FW RI
         DSSUR[LPDWHO\  WKH XQIDYRUDEOH LPSDFW RI WKH DGRSWLRQ RI $68  6WRFN &RPSHQVDWLRQ RI DSSUR[LPDWHO\  DQG WKH FDVK
         UHVWUXFWXULQJFKDUJHVDVVRFLDWHGZLWKWKHDFFHOHUDWLRQRIWKHUHDOLJQPHQWRILWVVWRUHPDQDJHPHQWVWUXFWXUHRIDSSUR[LPDWHO\

&DSLWDOH[SHQGLWXUHVIRUILVFDODQGZHUHPLOOLRQPLOOLRQDQGPLOOLRQUHVSHFWLYHO\$SSUR[LPDWHO\RIWKHFXUUHQW
\HDUFDSLWDOH[SHQGLWXUHVZHUHIRUWHFKQRORJ\SURMHFWVLQFOXGLQJLQYHVWPHQWVLQWKH&RPSDQ\¶VGLJLWDOFDSDELOLWLHVDQGWKHGHYHORSPHQWDQGGHSOR\PHQWRI
QHZV\VWHPVDQGHTXLSPHQWLQLWVVWRUHV7KHUHPDLQLQJFDSLWDOH[SHQGLWXUHVZHUHSULPDULO\UHODWHGWRQHZVWRUHRSHQLQJVDQGLQYHVWPHQWVLQH[LVWLQJVWRUHV

7KH&RPSDQ\FRQWLQXHVWRUHYLHZDQGSULRULWL]HLWVFDSLWDOQHHGVDQGUHPDLQVFRPPLWWHGWRPDNLQJWKHUHTXLUHGLQYHVWPHQWVLQLWVLQIUDVWUXFWXUHLQFOXGLQJ
DGGLQJUHVRXUFHVWRKHOSSRVLWLRQWKH&RPSDQ\IRUFRQWLQXHGJURZWKDQGVXFFHVV.H\DUHDVRILQYHVWPHQWLQFOXGHFRQWLQXLQJWRLPSURYHWKHSUHVHQWDWLRQ
DQGFRQWHQWDVZHOODVWKHIXQFWLRQDOLW\JHQHUDOVHDUFKDQGQDYLJDWLRQDFURVVLWVFXVWRPHUIDFLQJGLJLWDOFKDQQHOVLPSURYLQJFXVWRPHUGDWDLQWHJUDWLRQDQG
FXVWRPHU UHODWLRQV PDQDJHPHQW FDSDELOLWLHV FRQWLQXLQJ WR HQKDQFH VHUYLFH RIIHULQJV WR LWV FXVWRPHUV FRQWLQXLQJ WR VWUHQJWKHQ DQG GHHSHQ LWV LQIRUPDWLRQ
WHFKQRORJ\DQDO\WLFVPDUNHWLQJDQGHFRPPHUFHJURXSVDQGFUHDWLQJPRUHIOH[LEOHIXOILOOPHQWRSWLRQVWKDWZLOOLPSURYHWKH&RPSDQ\¶VGHOLYHU\FDSDELOLWLHV
DQG ORZHU WKH &RPSDQ\¶V VKLSSLQJ FRVWV 7KHVH DQG RWKHU LQYHVWPHQWV DUH H[SHFWHG WR DPRQJ RWKHU WKLQJV SURYLGH D VHDPOHVV DQG FRPSHOOLQJ FXVWRPHU
H[SHULHQFHDFURVVWKH&RPSDQ\¶VRPQLFKDQQHOUHWDLOSODWIRUP

'XULQJILVFDOWKH&RPSDQ\RSHQHGDWRWDORIQHZVWRUHVDQGFORVHGVWRUHV7KH&RPSDQ\SODQVWRFRQWLQXHWRDFWLYHO\PDQDJHLWVUHDOHVWDWH
SRUWIROLRLQRUGHUWRSHUPLWVWRUHVL]HVOD\RXWVORFDWLRQVDQGRIIHULQJVWRHYROYHRYHUWLPHWRRSWLPL]HPDUNHWSURILWDELOLW\DQGZLOOUHQRYDWHRUUHSRVLWLRQ
VWRUHVZLWKLQPDUNHWVZKHQDSSURSULDWH2YHUWKHSDVWVHYHUDO\HDUVWKH&RPSDQ\¶VSDFHRILWVVWRUHRSHQLQJVKDVVORZHGDQGWKH&RPSDQ\KDVLQFUHDVHGWKH
QXPEHURIVWRUHFORVLQJV7KH&RPSDQ\H[SHFWVWRFORVHDPLQLPXPRIDSSUR[LPDWHO\VWRUHVLQILVFDOXQOHVVLWLVDEOHWRQHJRWLDWHPRUHIDYRUDEOH
OHDVHWHUPVZLWKLWVODQGORUGV7KHVHH[SHFWHGFORVXUHVDUHSULPDULO\%HG%DWK %H\RQGVWRUHV,QILVFDOWKH&RPSDQ\H[SHFWVWRRSHQDSSUR[LPDWHO\
 QHZ VWRUHV $GGLWLRQDOO\ WKH &RPSDQ\ H[SHFWV WR FRQWLQXH WR LQYHVW LQ WHFKQRORJ\ UHODWHG SURMHFWV LQFOXGLQJ WKH GHSOR\PHQW RI QHZ V\VWHPV DQG
HTXLSPHQWLQLWVVWRUHVHQKDQFHPHQWVWRWKH&RPSDQ\¶VFXVWRPHUIDFLQJGLJLWDOFKDQQHOVRQJRLQJLQYHVWPHQWLQLWVGDWDZDUHKRXVHDQGGDWDDQDO\WLFVDQGWKH
FRQWLQXHGGHSOR\PHQWRIDQHZSRLQWRIVDOHV\VWHP

'XULQJILVFDOWKH&RPSDQ\¶V%RDUGRI'LUHFWRUVDXWKRUL]HGDTXDUWHUO\GLYLGHQGSURJUDP'XULQJILVFDODQGWRWDOFDVKGLYLGHQGVRI
PLOOLRQPLOOLRQDQGPLOOLRQ ZHUH SDLG UHVSHFWLYHO\ 6XEVHTXHQW WR WKH HQG RI WKH IRXUWK TXDUWHU RI ILVFDO  RQ $SULO   WKH
&RPSDQ\¶V%RDUGRI'LUHFWRUVGHFODUHGDTXDUWHUO\GLYLGHQGLQFUHDVHWRSHUVKDUHWREHSDLGRQ-XO\WRVKDUHKROGHUVRIUHFRUGDWWKHFORVHRI
EXVLQHVVRQ-XQH 7KH &RPSDQ\ H[SHFWV WR SD\ TXDUWHUO\ FDVK GLYLGHQGV RQ LWV FRPPRQ VWRFN LQ WKH IXWXUH VXEMHFW WR WKH GHWHUPLQDWLRQ E\ WKH
%RDUGRI'LUHFWRUVEDVHGRQDQHYDOXDWLRQRIWKH&RPSDQ\¶VHDUQLQJVILQDQFLDOFRQGLWLRQDQGUHTXLUHPHQWVEXVLQHVVFRQGLWLRQVDQGRWKHUIDFWRUV

'XULQJILVFDODQGWKH&RPSDQ\UHSXUFKDVHGPLOOLRQPLOOLRQDQGPLOOLRQVKDUHVUHVSHFWLYHO\RILWVFRPPRQVWRFNDWDWRWDO
FRVW RI DSSUR[LPDWHO\ PLOOLRQ  PLOOLRQ DQG  PLOOLRQ UHVSHFWLYHO\ 7KH &RPSDQ\¶V VKDUH UHSXUFKDVH SURJUDP PD\ EH LQIOXHQFHG E\
VHYHUDOIDFWRUVLQFOXGLQJEXVLQHVVDQGPDUNHWFRQGLWLRQV7KH&RPSDQ\UHYLHZVLWVDOWHUQDWLYHVZLWKUHVSHFWWRLWVFDSLWDOVWUXFWXUHRQDQRQJRLQJEDVLV

                                                                                     
7DEOHRI&RQWHQWV
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5(68/762)23(5$7,216

7KHIROORZLQJWDEOHVHWVIRUWKIRUWKHSHULRGVLQGLFDWHG L VHOHFWHGVWDWHPHQWRIRSHUDWLRQVGDWDRIWKH&RPSDQ\H[SUHVVHGDVDSHUFHQWDJHRIQHWVDOHVDQG
 LL WKHSHUFHQWDJHFKDQJHLQGROODUDPRXQWVIURPWKHSULRU\HDULQVHOHFWHGVWDWHPHQWRIRSHUDWLRQVGDWD

                                                                                                                 )LVFDO<HDU(QGHG
                                                                                              3HUFHQWDJH                                        3HUFHQWDJH&KDQJH
                                                                                            RI1HW6DOHV                                       IURP3ULRU<HDU
                                                                        0DUFK             0DUFK            )HEUXDU\          0DUFK              0DUFK
                                                                                                                                             
1HWVDOHV                                                                                                                                     
                                                                                                                                                   
&RVWRIVDOHV                                                                                                                                         
                                                                                                                                                   
*URVVSURILW                                                                                                                                          
                                                                                                                                                   
6HOOLQJJHQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                                                         ²                   
                                                                                                                                                   
*RRGZLOODQGRWKHULPSDLUPHQWV                                                                      ²                    ²                                    ²
                                                                                                                                                   
2SHUDWLQJ ORVV SURILW                                                                                                                               
                                                                                                                                                   
,QWHUHVWH[SHQVHQHW                                                                                                                                    
                                                                                                                                                   
    /RVV HDUQLQJVEHIRUHSURYLVLRQIRULQFRPHWD[HV                                                                                                  
                                                                                                                                                   
    %HQHILW SURYLVLRQIRULQFRPHWD[HV                                                                                                               
                                                                                                                                                   
1HW ORVV HDUQLQJV                                                                                                                                   

1HW6DOHV

6LQFHILVFDOZDVDILIW\WKUHHZHHN\HDUILVFDOVWDUWHGRQHFDOHQGDUZHHNODWHUWKDQILVFDO7KHFRPSDUDEOHVDOHVFDOHQGDUFRPSDUHVWKHVDPH
FDOHQGDUZHHNV

1HWVDOHVLQILVFDO ILIW\WZRZHHNV GHFUHDVHGPLOOLRQWRELOOLRQUHSUHVHQWLQJDGHFUHDVHRIFRPSDUHGWRELOOLRQRIQHW
VDOHVLQILVFDO ILIW\WKUHHZHHNV ZKLFKLQFUHDVHGPLOOLRQRURYHUWKHELOOLRQRIQHWVDOHVLQILVFDO ILIW\WZRZHHNV )RU
ILVFDOWKHGHFUHDVHZDVDWWULEXWDEOHWRRQHOHVVZHHNLQVDOHVFRPSDUHGWRILVFDODQGDGHFUHDVHLQFRPSDUDEOHVDOHV)RUILVFDOWKHLQFUHDVH
ZDVDWWULEXWDEOHWRDQLQFUHDVHRIDSSUR[LPDWHO\GXHWRWKHILIW\WKLUGZHHNDQGDSSUR[LPDWHO\LQWKH&RPSDQ\¶VQRQFRPSDUDEOHVDOHVSDUWLDOO\
RIIVHWE\DGHFUHDVHRIDSSUR[LPDWHO\LQFRPSDUDEOHVDOHVDGMXVWHGWRFRPSDUHILIW\WZRZHHNVWRILIW\WZRZHHNV

7KHGHFUHDVHLQFRPSDUDEOHVDOHVIRUILVFDO ILIW\WZRZHHNV ZDVDSSUR[LPDWHO\DVFRPSDUHGZLWKDGHFUHDVHRIDSSUR[LPDWHO\IRUILVFDO
 ILIW\WKUHH ZHHNV  &RPSDUDEOH VDOHV SHUFHQWDJHV DUH FDOFXODWHG EDVHG RQ DQ HTXLYDOHQW QXPEHU RI ZHHNV LQ HDFK DQQXDO SHULRG 7KH GHFUHDVH LQ
FRPSDUDEOH VDOHV IRU ILVFDO  DQG  ZDV GXH WR D GHFUHDVH LQ WKH QXPEHU RI WUDQVDFWLRQV LQ VWRUHV SDUWLDOO\ RIIVHW E\ DQ LQFUHDVH LQ WKH DYHUDJH
WUDQVDFWLRQDPRXQW

7KH &RPSDQ\¶V FRPSDUDEOH VDOHV PHWULF FRQVLGHUV VDOHV FRQVXPPDWHG WKURXJK DOO UHWDLO FKDQQHOV ± LQVWRUH RQOLQH ZLWK D PRELOH GHYLFH RU WKURXJK D
FXVWRPHUFRQWDFWFHQWHU&XVWRPHUVWRGD\PD\WDNHDGYDQWDJHRIWKH&RPSDQ\¶VRPQLFKDQQHOHQYLURQPHQWE\XVLQJPRUHWKDQRQHFKDQQHOZKHQPDNLQJD
SXUFKDVH7KH&RPSDQ\EHOLHYHVLQDQLQWHJUDWHGDQGVHDPOHVVFXVWRPHUH[SHULHQFH$IHZH[DPSOHVDUHDFXVWRPHUPD\EHDVVLVWHGE\DQLQVWRUHDVVRFLDWH
WRFUHDWHDZHGGLQJRUEDE\UHJLVWU\ZKLOHWKHJXHVWVPD\XOWLPDWHO\SXUFKDVHDJLIWIURPWKH&RPSDQ\¶VZHEVLWHVRUDFXVWRPHUPD\UHVHDUFKDSDUWLFXODU
LWHPDQGUHDGRWKHUFXVWRPHU

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7DEOHRI&RQWHQWV
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UHYLHZVRQWKH&RPSDQ\¶VZHEVLWHVEHIRUHYLVLWLQJDVWRUHWRFRQVXPPDWHWKHDFWXDOSXUFKDVHRUDFXVWRPHUPD\UHVHUYHDQLWHPRQOLQHIRULQVWRUHSLFNXS
RUZKLOHLQDVWRUHDFXVWRPHUPD\PDNHWKHSXUFKDVHRQDPRELOHGHYLFHIRULQKRPHGHOLYHU\IURPHLWKHUDGLVWULEXWLRQIDFLOLW\DVWRUHRUGLUHFWO\IURPD
YHQGRU ,Q DGGLWLRQ WKH &RPSDQ\ DFFHSWV UHWXUQV LQVWRUH ZLWKRXW UHJDUG WR WKH FKDQQHO LQ ZKLFK WKH SXUFKDVH ZDV FRQVXPPDWHG WKHUHIRUH UHVXOWLQJ LQ
UHGXFLQJ VWRUH VDOHV E\ VDOHV RULJLQDOO\ FRQVXPPDWHG WKURXJK FXVWRPHU IDFLQJ GLJLWDO FKDQQHOV $V WKH &RPSDQ\¶V UHWDLO RSHUDWLRQV DUH LQWHJUDWHG DQG LW
FDQQRWUHDVRQDEO\WUDFNWKHFKDQQHOLQZKLFKWKHXOWLPDWHVDOHLVLQLWLDWHGWKH&RPSDQ\FDQKRZHYHUSURYLGHGLUHFWLRQDOLQIRUPDWLRQRQZKHUHWKHVDOHZDV
FRQVXPPDWHG

)RUILVFDODQGFRPSDUDEOHVDOHVFRQVXPPDWHGWKURXJKFXVWRPHUIDFLQJGLJLWDOFKDQQHOVFRQWLQXHGWKHWUHQGRI\HDURYHU\HDUVWURQJJURZWKZKLOH
FRPSDUDEOHVDOHVFRQVXPPDWHGLQVWRUHGHFOLQHGLQWKHPLGVLQJOHGLJLWSHUFHQWDJHUDQJHIURPWKHFRUUHVSRQGLQJSHULRGLQWKHSULRU\HDU

&RPSDUDEOHVDOHVUHSUHVHQWHGELOOLRQELOOLRQDQGELOOLRQRIQHWVDOHVIRUILVFDODQGUHVSHFWLYHO\&RPSDUDEOHVDOHV
GROODUVDUHFDOFXODWHGEDVHGRQDQHTXLYDOHQWQXPEHURIZHHNVLQHDFKDQQXDOSHULRG

'RPHVWLFVPHUFKDQGLVHLQFOXGHVFDWHJRULHVVXFKDVEHGOLQHQVDQGUHODWHGLWHPVEDWKLWHPVDQGNLWFKHQWH[WLOHV+RPHIXUQLVKLQJVLQFOXGHFDWHJRULHVVXFKDV
NLWFKHQDQGWDEOHWRSLWHPVILQHWDEOHWRSEDVLFKRXVHZDUHVJHQHUDOKRPHIXUQLVKLQJV LQFOXGLQJIXUQLWXUHDQGZDOOGpFRU FRQVXPDEOHVDQGFHUWDLQMXYHQLOH
SURGXFWV6DOHVRIGRPHVWLFVPHUFKDQGLVHDFFRXQWHGIRUDSSUR[LPDWHO\DQGRIQHWVDOHVLQILVFDODQGUHVSHFWLYHO\RI
ZKLFKWKH&RPSDQ\HVWLPDWHVWKDWEHGOLQHQVDFFRXQWHGIRUDSSUR[LPDWHO\RIQHWVDOHVLQILVFDODQG7KHUHPDLQLQJQHWVDOHVLQILVFDO
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RUPRUHRIQHWVDOHVGXULQJILVFDODQG

*URVV3URILW

*URVVSURILWLQILVFDODQGZDVELOOLRQRURIQHWVDOHVELOOLRQRURIQHWVDOHVDQGELOOLRQRURIQHW
VDOHVUHVSHFWLYHO\7KHGHFUHDVHLQWKHJURVVSURILWPDUJLQDVDSHUFHQWDJHRIQHWVDOHVEHWZHHQILVFDODQGZDVSULPDULO\DWWULEXWHGWRLQRUGHURI
PDJQLWXGH DQ LQFUHDVH LQ FRXSRQ H[SHQVH UHVXOWLQJ IURP DQ LQFUHDVH LQ WKH DYHUDJH FRXSRQ DPRXQW SDUWLDOO\ RIIVHW E\ D GHFUHDVH LQ WKH QXPEHU RI
UHGHPSWLRQV D GHFUHDVH LQ PHUFKDQGLVH PDUJLQ DQG DQ LQFUHDVH LQ QHW GLUHFW WR FXVWRPHU VKLSSLQJ H[SHQVH 7KH GHFUHDVH LQ WKH JURVV SURILW PDUJLQ DV D
SHUFHQWDJHRIQHWVDOHVEHWZHHQILVFDODQGZDVSULPDULO\DWWULEXWHGWRLQRUGHURIPDJQLWXGHDGHFUHDVHLQPHUFKDQGLVHPDUJLQDQLQFUHDVHLQ
FRXSRQH[SHQVHUHVXOWLQJIURPLQFUHDVHVLQUHGHPSWLRQVDQGWKHDYHUDJHFRXSRQDPRXQWDQGDQLQFUHDVHLQQHWGLUHFWWRFXVWRPHUVKLSSLQJH[SHQVH

,QDGGLWLRQWKH&RPSDQ\LVLQYHVWLQJLQWKHOLIHWLPHYDOXHRILWVFXVWRPHUVWKURXJKLWVDQQXDO%H\RQG3OXVPHPEHUVKLSDQG&ROOHJH6DYLQJV3DVVSURJUDPV
7KHULFKHUEHQHILWVRIWKHVHSURJUDPVLQFOXGLQJWZHQW\SHUFHQWRIIHQWLUHSXUFKDVHDQGIUHHVKLSSLQJDUHUHDOL]HGLPPHGLDWHO\XSRQVDOHDQGKDGDQGZLOO
FRQWLQXHWRKDYHDQLPSDFWRQWKH&RPSDQ\ VJURVVPDUJLQGXULQJWKHSHULRGRILQFUHDVLQJHQUROOPHQW7KH%H\RQG3OXVPHPEHUVKLSIHHRILVFXUUHQWO\
DPRUWL]HGRYHUWKHRQH\HDUPHPEHUVKLSSHULRG7KH&RPSDQ\HVWLPDWHGWKDWWKHLPSDFWRIWKHVHSURJUDPVUHGXFHGJURVVPDUJLQDVDSHUFHQWDJHRIQHWVDOHV
E\DSSUR[LPDWHO\EDVLVSRLQWVIRUILVFDO

6HOOLQJ*HQHUDODQG$GPLQLVWUDWLYH([SHQVHV

6* $ZDVELOOLRQRURIQHWVDOHVLQILVFDOELOOLRQRURIQHWVDOHVLQILVFDODQGELOOLRQRURIQHWVDOHVLQ
ILVFDO7KHSHUFHQWDJHRIQHWVDOHVLQFUHDVHLQ6* $EHWZHHQILVFDODQGZDVSULPDULO\DWWULEXWDEOHWRDQLQFUHDVHLQWHFKQRORJ\H[SHQVHV
LQFOXGLQJ UHODWHG GHSUHFLDWLRQ 7KH SHUFHQWDJH RI QHW VDOHV LQFUHDVH LQ 6* $ EHWZHHQ ILVFDO  DQG  ZDV SULPDULO\ DWWULEXWDEOH WR LQ RUGHU RI
PDJQLWXGH DQ LQFUHDVH LQ SD\UROO DQG SD\UROO UHODWHG LWHPV LQFOXGLQJ VDODULHV DQG VWRUH PDQDJHPHQW UHVWUXFWXULQJ FKDUJHV  DQ LQFUHDVH LQ DGYHUWLVLQJ
H[SHQVHVGXHLQSDUWWRWKHJURZWKLQGLJLWDODGYHUWLVLQJDQGDQLQFUHDVHLQWHFKQRORJ\H[SHQVHVDQGUHODWHGGHSUHFLDWLRQ

*RRGZLOODQGRWKHULPSDLUPHQWV

*RRGZLOODQGRWKHULPSDLUPHQWVZHUHPLOOLRQLQILVFDO*RRGZLOOLPSDLUPHQWVZHUHPLOOLRQWUDGHQDPHLPSDLUPHQWVZHUHPLOOLRQ
DQGORQJOLYHGDVVHWVLPSDLUPHQWVZHUHPLOOLRQ7KHQRQFDVKSUHWD[JRRGZLOOLPSDLUPHQWFKDUJHVZHUHSULPDULO\WKHUHVXOWRIDVXVWDLQHGGHFOLQHLQ
WKH&RPSDQ\ VPDUNHWFDSLWDOL]DWLRQ7KHUHZHUHQRJRRGZLOORURWKHULPSDLUPHQWVLQILVFDO

2SHUDWLQJ /RVV 3URILW

2SHUDWLQJORVVIRUILVFDOZDVPLOOLRQRURIQHWVDOHVDQGRSHUDWLQJSURILWZDVPLOOLRQRURIQHWVDOHVIRUILVFDODQG
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7DEOHRI&RQWHQWV
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RIQHWVDOHVDQGJRRGZLOODQGRWKHULPSDLUPHQWVDVGHVFULEHGDERYH7KHFKDQJHLQRSHUDWLQJSURILWDVDSHUFHQWDJHRIQHWVDOHVEHWZHHQILVFDODQG
ZHUHUHVXOWRIWKHUHGXFWLRQVLQJURVVSURILWPDUJLQDQGWKHLQFUHDVHVLQ6* $DVDSHUFHQWDJHRIQHWVDOHVDVGHVFULEHGDERYH

7KH&RPSDQ\EHOLHYHVRSHUDWLQJPDUJLQDVDSHUFHQWDJHRIQHWVDOHVLQILVFDOZLOOEHLQUDQJHRIWRDVLWFRQWLQXHVWRIRFXVRQLWVRQJRLQJ
LQLWLDWLYHVDQGWKHUHYLHZRILWVRYHUDOOH[SHQVHVWUXFWXUHDFURVVWKHRUJDQL]DWLRQ

,QWHUHVW([SHQVHQHW

,QWHUHVWH[SHQVHQHWZDVPLOOLRQPLOOLRQDQGPLOOLRQLQILVFDODQGUHVSHFWLYHO\)RUILVFDODQGLQWHUHVW
H[SHQVHQHWSULPDULO\UHODWHGWRLQWHUHVWRQWKHVHQLRUXQVHFXUHGQRWHVLVVXHGLQ-XO\,QFOXGHGLQLQWHUHVWH[SHQVHQHWZDVDQH[SHQVHRIPLOOLRQ
IRU ILVFDO  DQG QHW EHQHILWV RI  PLOOLRQ DQG  PLOOLRQ IRU ILVFDO  DQG ILVFDO  UHVSHFWLYHO\ UHODWHG WR FKDQJHV LQ WKH &RPSDQ\¶V
QRQTXDOLILHG GHIHUUHG FRPSHQVDWLRQ SODQ ³14'&´  LQYHVWPHQWV 7KHVH IDYRUDEOH FKDQJHV ZHUH IXOO\ RIIVHW E\ FRUUHVSRQGLQJ XQIDYRUDEOH FKDQJHV LQ WKH
14'&OLDELOLW\UHFRUGHGLQ6* $DQGUHVXOWHGLQQRQHWLPSDFWWRWKHFRQVROLGDWHGVWDWHPHQWRIHDUQLQJV

,QFRPH7D[HV

7KHHIIHFWLYHWD[UDWHZDVIRUILVFDOIRUILVFDODQGIRUILVFDO )RU ILVFDO   DQG  WKH HIIHFWLYH WD[ UDWH
LQFOXGHGQHWEHQHILWVRIDSSUR[LPDWHO\PLOOLRQQHWH[SHQVHRIDSSUR[LPDWHO\PLOOLRQZKLFKLQFOXGHGWKHLPSDFWVRIWKH7D[$FWDQGQHWEHQHILWVRI
DSSUR[LPDWHO\PLOOLRQUHVSHFWLYHO\7KHHIIHFWLYHWD[UDWHVIRUILVFDODQGLQFOXGHGQHWEHQHILWVGXHWRWKHUHFRJQLWLRQRIIDYRUDEOH
GLVFUHWHIHGHUDODQGVWDWHWD[LWHPV

7KH&RPSDQ\¶VHIIHFWLYHWD[UDWHIRUILVFDOLQFOXGHGDQHWLQFUHDVHRIDSSUR[LPDWHO\UHVXOWLQJIURPWKH7D[$FW7KHILVFDOHIIHFWLYHWD[UDWH
DOVRLQFOXGHGWKHHIIHFWRIWKHDGRSWLRQRI$686WRFN&RPSHQVDWLRQZKLFKLQFUHDVHGWKHHIIHFWLYHWD[UDWHE\DSSUR[LPDWHO\7KHDGRSWLRQRI
WKHVWDQGDUGGLGQRWDIIHFWWKH&RPSDQ\¶VFDVKRXWIORZVIRULQFRPHWD[HV$GGLWLRQDOO\WKHILVFDOHIIHFWLYHUDWHLQFOXGHGDSSUR[LPDWHO\RIQHW
EHQHILWVSULPDULO\GXHWRWKHUHFRJQLWLRQRIIDYRUDEOHGLVFUHWHIHGHUDODQGVWDWHWD[LWHPV

3RWHQWLDOYRODWLOLW\LQWKHHIIHFWLYHWD[UDWHIURP\HDUWR\HDUPD\RFFXUDVWKH&RPSDQ\LVUHTXLUHGHDFK\HDUWRGHWHUPLQHZKHWKHUQHZLQIRUPDWLRQFKDQJHV
WKHDVVHVVPHQWRIERWKWKHSUREDELOLW\WKDWDWD[SRVLWLRQZLOOHIIHFWLYHO\EHVXVWDLQHGDQGWKHDSSURSULDWHQHVVRIWKHDPRXQWRIUHFRJQL]HGEHQHILW

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7KH &RPSDQ\ KDV XQGHUWDNHQ VLJQLILFDQW FKDQJH WR DGDSW WR WKH G\QDPLF UHWDLO HQYLURQPHQW DQG WKH HYROYLQJ QHHGV RI LWV FXVWRPHUV WR LPSURYH LWV
FRPSHWLWLYHSRVLWLRQ7RVXSSRUWWKLVFKDQJHWKH&RPSDQ\DSSRLQWHGQHZOHDGHUVWREULQJH[SHUWLVHLQWKHDUHDVRIGDWDDQDO\WLFVVXSSO\FKDLQFXVWRPHU
IXOILOOPHQW PHUFKDQGLVLQJ OLIH VWDJHV HFRPPHUFH SRUWIROLR PDQDJHPHQW DQG LQIRUPDWLRQ WHFKQRORJ\ $V D UHVXOW WKH &RPSDQ\ EHOLHYHV WKDW LW KDV WKH
QHFHVVDU\PDQDJHPHQWGHSWKWRGULYHJURZWK

7KH &RPSDQ\ V RQJRLQJ WUDQVIRUPDWLRQ SODQ LV H[SHFWHG WR LPSURYH PLGDQGORQJWHUP UHYHQXH JURZWK HQKDQFH JURVV DQG RSHUDWLQJ PDUJLQV DQG FUHDWH
VXVWDLQDEOH VKDUHKROGHU YDOXH 7KH VWUDWHJLF IRFXV RI WKH SODQ LQFOXGHV SURGXFW DVVRUWPHQW VKRSSLQJ H[SHULHQFH VHUYLFHV DQG VROXWLRQV DQG RSHUDWLRQDO
H[FHOOHQFH DQG WKH NH\ ILQDQFLDO REMHFWLYHV DUH PLGDQGORQJWHUP UHYHQXH JURZWK QHDUWHUP DQG RQJRLQJ JURVV PDUJLQ LPSURYHPHQWV QHDUWHUP DQG
RQJRLQJ6* $LPSURYHPHQWVDQGFXUUHQWDQGVXVWDLQDEOHZRUOGFODVVRSHUDWLRQDOVXSSRUW

7KHFRQWLQXHGJURZWKRIWKH&RPSDQ\LVGHSHQGHQWLQSDUWXSRQWKH&RPSDQ\¶VDELOLW\WRH[HFXWHLWVWUDQVIRUPDWLRQVWUDWHJ\VXFFHVVIXOO\

)URPWKHEHJLQQLQJRIILVFDOWRWKHHQGRIILVFDOWKH&RPSDQ\KDVJURZQIURPVWRUHVWRVWRUHVSOXVLWVLQWHUDFWLYHSODWIRUPVLQFOXGLQJ
ZHEVLWHVDQGDSSOLFDWLRQVDQGGLVWULEXWLRQIDFLOLWLHV7RWDOVWRUHVTXDUHIRRWDJHQHWRIRSHQLQJVDQGFORVLQJVJUHZIURPDSSUR[LPDWHO\PLOOLRQVTXDUH
IHHWDWWKHEHJLQQLQJRIILVFDOWRDSSUR[LPDWHO\PLOOLRQVTXDUHIHHWDWWKHHQGRIILVFDODQGLQFOXGHGVWRUHRSHQLQJVDQGFORVXUHVGXULQJ
ILVFDO,QILVFDO WKH &RPSDQ\ H[SHFWV FRPSDQ\ZLGH WR RSHQ DSSUR[LPDWHO\  QHZ VWRUHV DQG FORVH D PLQLPXP RI DSSUR[LPDWHO\  VWRUHV
XQOHVVLWFDQQHJRWLDWHPRUHIDYRUDEOHOHDVHWHUPVZLWKODQGORUGV2YHUWKHSDVWVHYHUDO\HDUVVDOHVIURPWKH&RPSDQ\¶VFXVWRPHUIDFLQJGLJLWDOFKDQQHOV
KDYHFRQWLQXHGWRH[SHULHQFHVWURQJJURZWK

$VRI0DUFKWKH&RPSDQ\KDGGLVWULEXWLRQIDFLOLWLHVWRWDOLQJDSSUR[LPDWHO\PLOOLRQ VTXDUH IHHW VXSSRUWLQJ WKH JURZWK RI LWV FXVWRPHU IDFLQJ
GLJLWDOFKDQQHOVDVZHOODVLWVVWRUHVDQGLWVLQVWLWXWLRQDOVDOHVVHJPHQW

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7DEOHRI&RQWHQWV
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7KH&RPSDQ\KDVEHHQDEOHWRILQDQFHLWVRSHUDWLRQVLQFOXGLQJLWVJURZWKDQGDFTXLVLWLRQVVXEVWDQWLDOO\WKURXJKLQWHUQDOO\JHQHUDWHGIXQGV7KH&RPSDQ\
HQGHGILVFDOLQDVWURQJFDVKSRVLWLRQZKLFKLWDQWLFLSDWHVPDLQWDLQLQJWRSURYLGHWKH&RPSDQ\WKHIOH[LELOLW\WRIXQGLWVRQJRLQJLQLWLDWLYHVDQGDFW
XSRQRWKHURSSRUWXQLWLHVWKDWPD\DULVH$VRI0DUFKWKH&RPSDQ\KDGDSSUR[LPDWHO\ELOOLRQLQFDVKDQGLQYHVWPHQWVHFXULWLHVDQLQFUHDVH
RIDSSUR[LPDWHO\PLOOLRQFRPSDUHGZLWKPLOOLRQDVRI0DUFK)RUILVFDOWKH&RPSDQ\EHOLHYHVWKDWLWFDQFRQWLQXHWRILQDQFHLWV
RSHUDWLRQVLQFOXGLQJLWVJURZWKSODQQHGFDSLWDOH[SHQGLWXUHVGHEWVHUYLFHREOLJDWLRQVFDVKGLYLGHQGVDQGVKDUHUHSXUFKDVHVWKURXJKH[LVWLQJDQGLQWHUQDOO\
JHQHUDWHGIXQGV,QDGGLWLRQLIQHFHVVDU\WKH&RPSDQ\FRXOGERUURZXQGHULWVPLOOLRQUHYROYLQJFUHGLWIDFLOLW\RUWKHDYDLODEOHEDODQFHVXQGHULWVOLQHV
RI FUHGLW &DSLWDO H[SHQGLWXUHV IRU ILVFDO  DUH PRGHOHG WR EH LQ WKH UDQJH RI DSSUR[LPDWHO\ PLOOLRQ WR  PLOOLRQ VXEMHFW WR WKH WLPLQJ DQG
FRPSRVLWLRQRISURMHFWV,QDGGLWLRQWKH&RPSDQ\UHYLHZVLWVDOWHUQDWLYHVZLWKUHVSHFWWRLWVFDSLWDOVWUXFWXUHRQDQRQJRLQJEDVLV

)LVFDOFRPSDUHGWR)LVFDO

1HW FDVK SURYLGHG E\ RSHUDWLQJ DFWLYLWLHV LQ ILVFDO  ZDV PLOOLRQ FRPSDUHG ZLWK PLOOLRQ LQ ILVFDO  <HDU RYHU \HDU WKH &RPSDQ\
H[SHULHQFHGDQLQFUHDVHLQFDVKSURYLGHGE\WKHQHWFRPSRQHQWVRIZRUNLQJFDSLWDO SULPDULO\SUHSDLGH[SHQVHVDQGRWKHUFXUUHQWDVVHWVODUJHO\GXHWRWKH
SUHSD\PHQWLQWKHSULRUILVFDO\HDURIFHUWDLQRSHUDWLQJH[SHQVHVDVVRFLDWHGZLWKWD[SODQQLQJVWUDWHJLHVSDUWLDOO\RIIVHWE\DFFRXQWVSD\DEOH DQGDGHFUHDVH
LQQHWHDUQLQJVDVDGMXVWHGIRUQRQFDVKH[SHQVHV SULPDULO\JRRGZLOODQGRWKHULPSDLUPHQWVDQGGHIHUUHGLQFRPHWD[HV 

5HWDLO LQYHQWRU\ ZKLFK LQFOXGHV LQYHQWRU\ LQ WKH &RPSDQ\¶V GLVWULEXWLRQ IDFLOLWLHV IRU GLUHFW WR FXVWRPHU VKLSPHQWV ZDV DSSUR[LPDWHO\  ELOOLRQ D
GHFUHDVHRIDSSUR[LPDWHO\FRPSDUHGWRUHWDLOLQYHQWRU\DW0DUFK7KH&RPSDQ\FRQWLQXHVWRIRFXVRQLWVLQYHQWRU\RSWLPL]DWLRQVWUDWHJLHV

1HWFDVKXVHGLQLQYHVWLQJDFWLYLWLHVLQILVFDOZDVPLOOLRQFRPSDUHGZLWKPLOOLRQLQILVFDO,QILVFDOQHWFDVKXVHGLQLQYHVWLQJ
DFWLYLWLHVZDVSULPDULO\GXHWRPLOOLRQRIFDSLWDOH[SHQGLWXUHVDQGPLOOLRQRISXUFKDVHVRILQYHVWPHQWVHFXULWLHVQHWRIUHGHPSWLRQV,QILVFDO
 QHW FDVK XVHG LQ LQYHVWLQJ DFWLYLWLHV ZDV SULPDULO\ GXH WR  PLOOLRQ RI FDSLWDO H[SHQGLWXUHV DQG  PLOOLRQ RI SXUFKDVHV RI LQYHVWPHQW
VHFXULWLHV

1HW FDVK XVHG LQ ILQDQFLQJ DFWLYLWLHV IRU ILVFDO  ZDV PLOOLRQ FRPSDUHG ZLWK PLOOLRQ LQ ILVFDO  7KH GHFUHDVH LQ QHW FDVK XVHG LQ
ILQDQFLQJ DFWLYLWLHV ZDV SULPDULO\ GXH WR D GHFUHDVH LQ FRPPRQ VWRFN UHSXUFKDVHV RI PLOOLRQ SDUWLDOO\ RIIVHW E\ D GHFUHDVH LQ SURFHHGV IURP WKH
H[HUFLVHRIVWRFNRSWLRQV

)LVFDOFRPSDUHGWR)LVFDO

1HW FDVK SURYLGHG E\ RSHUDWLQJ DFWLYLWLHV LQ ILVFDO  ZDV  PLOOLRQ FRPSDUHG ZLWK  ELOOLRQ LQ ILVFDO  <HDU RYHU \HDU WKH &RPSDQ\
H[SHULHQFHG D GHFUHDVH LQ QHW HDUQLQJV DV DGMXVWHG IRU QRQFDVK H[SHQVHV SULPDULO\ GHIHUUHG LQFRPH WD[HV  DQG DQ LQFUHDVH LQ FDVK XVHG LQ WKH QHW
FRPSRQHQWVRIZRUNLQJFDSLWDO SULPDULO\SUHSDLGH[SHQVHVDQGRWKHUFXUUHQWDVVHWVODUJHO\GXHWRWKHSUHSD\PHQWRIFHUWDLQRSHUDWLQJH[SHQVHVDVVRFLDWHG
ZLWKWD[SODQQLQJVWUDWHJLHVSDUWLDOO\RIIVHWE\PHUFKDQGLVHLQYHQWRULHV 

5HWDLO LQYHQWRU\ ZKLFK LQFOXGHV LQYHQWRU\ LQ WKH &RPSDQ\¶V GLVWULEXWLRQ IDFLOLWLHV IRU GLUHFW WR FXVWRPHU VKLSPHQWV ZDV DSSUR[LPDWHO\  ELOOLRQ DW
0DUFK   D GHFUHDVH RI DSSUR[LPDWHO\  FRPSDUHG WR UHWDLO LQYHQWRU\ DW )HEUXDU\   7KH SHUFHQWDJH GHFUHDVH ZDV GXH LQ SDUW WR WKH
IDYRUDEOHLPSDFWRIWKH&RPSDQ\¶VLQYHQWRU\RSWLPL]DWLRQVWUDWHJLHV

1HWFDVKXVHGLQLQYHVWLQJDFWLYLWLHVLQILVFDOZDVPLOOLRQFRPSDUHGZLWKPLOOLRQLQILVFDO,QILVFDOQHWFDVKXVHGLQLQYHVWLQJ
DFWLYLWLHVZDVSULPDULO\GXHWRPLOOLRQRIFDSLWDOH[SHQGLWXUHVDQGPLOOLRQRISXUFKDVHVRILQYHVWPHQWVHFXULWLHV,QILVFDOQHWFDVKXVHGLQ
LQYHVWLQJDFWLYLWLHVZDVSULPDULO\GXHWRPLOOLRQRIFDSLWDOH[SHQGLWXUHVDQGPLOOLRQRISD\PHQWVUHODWHGWRDFTXLVLWLRQVQHWRIDFTXLUHGFDVK
SDUWLDOO\RIIVHWE\PLOOLRQRIUHGHPSWLRQVRILQYHVWPHQWVHFXULWLHV

1HW FDVK XVHG LQ ILQDQFLQJ DFWLYLWLHV IRU ILVFDO  ZDV  PLOOLRQ FRPSDUHG ZLWK  PLOOLRQ LQ ILVFDO  7KH GHFUHDVH LQ QHW FDVK XVHG LQ
ILQDQFLQJDFWLYLWLHVZDVSULPDULO\GXHWRDGHFUHDVHLQFRPPRQVWRFNUHSXUFKDVHVRIPLOOLRQSDUWLDOO\RIIVHWE\DQLQFUHDVHRIPLOOLRQIRUWKH
SD\PHQWRIGLYLGHQGV

2WKHU)LVFDO,QIRUPDWLRQ

$W0DUFKWKH&RPSDQ\PDLQWDLQHGWZRXQFRPPLWWHGOLQHVRIFUHGLWRIPLOOLRQHDFKZLWKH[SLUDWLRQGDWHVRI$XJXVWDQG)HEUXDU\
UHVSHFWLYHO\7KHVHXQFRPPLWWHGOLQHVRIFUHGLWDUHFXUUHQWO\DQGDUHH[SHFWHGWREHXVHGIRUOHWWHUVRIFUHGLWLQWKHRUGLQDU\FRXUVHRIEXVLQHVV'XULQJ
ILVFDOWKH&RPSDQ\GLGQRWKDYHDQ\GLUHFWERUURZLQJVXQGHUWKHXQFRPPLWWHGOLQHVRIFUHGLW$OWKRXJKQRDVVXUDQFHVFDQEHSURYLGHGWKH&RPSDQ\
LQWHQGVWRUHQHZERWKXQFRPPLWWHGOLQHVRIFUHGLWEHIRUHWKHUHVSHFWLYHH[SLUDWLRQGDWHV

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2Q1RYHPEHUWKH&RPSDQ\UHSODFHGLWVH[LVWLQJPLOOLRQILYH\HDUVHQLRUXQVHFXUHGUHYROYLQJFUHGLWIDFLOLW\DJUHHPHQWZLWKYDULRXVOHQGHUV
ZLWKDQHZPLOOLRQILYH\HDUVHQLRUXQVHFXUHGUHYROYLQJFUHGLWIDFLOLW\DJUHHPHQW 5HYROYHU ZLWKYDULRXVOHQGHUVPDWXULQJ1RYHPEHU7KH
QHZ5HYROYHUKDVHVVHQWLDOO\WKHVDPHWHUPVDQGUHTXLUHPHQWVDVWKHSULRUUHYROYLQJFUHGLWIDFLOLW\DJUHHPHQW)RUILVFDODQGWKH&RPSDQ\GLGQRW
KDYHDQ\ERUURZLQJVXQGHUWKH5HYROYHU

%HWZHHQ'HFHPEHUDQG6HSWHPEHUWKH&RPSDQ\¶V%RDUGRI'LUHFWRUVDXWKRUL]HGWKURXJKVHYHUDOVKDUHUHSXUFKDVHSURJUDPVWKHUHSXUFKDVHRI
ELOOLRQRILWVFRPPRQVWRFN6LQFHWKURXJKWKHHQGRIILVFDOWKH&RPSDQ\KDVUHSXUFKDVHGDSSUR[LPDWHO\ELOOLRQRILWVFRPPRQ
VWRFNWKURXJKVKDUHUHSXUFKDVHSURJUDPV7KH&RPSDQ\KDVDSSUR[LPDWHO\ELOOLRQUHPDLQLQJRIDXWKRUL]HGVKDUHUHSXUFKDVHVDVRI0DUFK7KH
&RPSDQ\ KDV DXWKRUL]DWLRQ WR PDNH UHSXUFKDVHV IURP WLPH WR WLPH LQ WKH RSHQ PDUNHW RU WKURXJK RWKHU SDUDPHWHUV DSSURYHG E\ WKH %RDUG RI 'LUHFWRUV
SXUVXDQWWRH[LVWLQJUXOHVDQGUHJXODWLRQV7KH&RPSDQ\¶VVKDUHUHSXUFKDVHSURJUDPFRXOGFKDQJHDQGZRXOGEHLQIOXHQFHGE\VHYHUDOIDFWRUVLQFOXGLQJ
EXVLQHVVDQGPDUNHWFRQGLWLRQV

'XULQJILVFDOWKH&RPSDQ\¶V%RDUGRI'LUHFWRUVDXWKRUL]HGDTXDUWHUO\GLYLGHQGSURJUDP'XULQJILVFDODQGWRWDOFDVKGLYLGHQGVRI
PLOOLRQDQGPLOOLRQZHUHSDLGUHVSHFWLYHO\6XEVHTXHQWWRWKHHQGRIWKHIRXUWKTXDUWHURIILVFDORQ$SULO   WKH &RPSDQ\¶V %RDUG RI
'LUHFWRUVGHFODUHGDTXDUWHUO\GLYLGHQGLQFUHDVHWRSHUVKDUHWREHSDLGRQ-XO\WRVKDUHKROGHUVRIUHFRUGDWWKHFORVHRIEXVLQHVVRQ-XQH
7KH&RPSDQ\H[SHFWVWRSD\TXDUWHUO\FDVKGLYLGHQGVRQLWVFRPPRQVWRFNLQWKHIXWXUHVXEMHFWWRWKHGHWHUPLQDWLRQE\WKH%RDUGRI'LUHFWRUVEDVHG
RQDQHYDOXDWLRQRIWKH&RPSDQ\¶VHDUQLQJVILQDQFLDOFRQGLWLRQDQGUHTXLUHPHQWVEXVLQHVVFRQGLWLRQVDQGRWKHUIDFWRUV

7KH&RPSDQ\KDVFRQWUDFWXDOREOLJDWLRQVFRQVLVWLQJPDLQO\RISULQFLSDODQGLQWHUHVWUHODWHGWRWKHVHQLRUXQVHFXUHGQRWHVRSHUDWLQJOHDVHVIRUVWRUHVRIILFHV
GLVWULEXWLRQ IDFLOLWLHV DQG HTXLSPHQW SXUFKDVH REOLJDWLRQV ORQJWHUP VDOHOHDVHEDFN DQG FDSLWDO OHDVH REOLJDWLRQV DQG RWKHU ORQJWHUP OLDELOLWLHV ZKLFK WKH
&RPSDQ\LVREOLJDWHGWRSD\DVRI0DUFKDVIROORZV

                                                                                                /HVVWKDQ                                                     $IWHU
    LQWKRXVDQGV                                                             7RWDO               \HDU             \HDUV           \HDUV             \HDUV
6HQLRUXQVHFXUHGQRWHV                                                                      ²                  ²                 ²          
,QWHUHVWRQVHQLRUXQVHFXUHGQRWHV                                                                                          
2SHUDWLQJOHDVHREOLJDWLRQV                                                                                                   
3XUFKDVHREOLJDWLRQV                                                                                         ²                  ²                    ²
/RQJWHUPVDOHOHDVHEDFNDQGFDSLWDOOHDVHREOLJDWLRQV                                                                              
2WKHUORQJWHUPOLDELOLWLHV                                                                     ²                   ²                  ²                    ²
                                                                                                                                                
7RWDO&RQWUDFWXDO2EOLJDWLRQV                                                                                        

  2Q-XO\WKH&RPSDQ\LVVXHGPLOOLRQDJJUHJDWHSULQFLSDODPRXQWRIVHQLRUXQVHFXUHGQRWHVGXH$XJXVW PLOOLRQ
DJJUHJDWHSULQFLSDODPRXQWRIVHQLRUXQVHFXUHGQRWHVGXH$XJXVWDQGPLOOLRQDJJUHJDWHSULQFLSDODPRXQWRIVHQLRUXQVHFXUHG
QRWHVGXH$XJXVW,QILVFDOWKH&RPSDQ\SXUFKDVHGDQGUHWLUHGPLOOLRQRIVHQLRUXQVHFXUHGQRWHVGXH$XJXVW
  7KHDPRXQWVSUHVHQWHGUHSUHVHQWWKHIXWXUHPLQLPXPOHDVHSD\PHQWVXQGHUQRQFDQFHODEOHRSHUDWLQJOHDVHV,QDGGLWLRQWRPLQLPXPUHQWFHUWDLQRIWKH
&RPSDQ\ VOHDVHVUHTXLUHWKHSD\PHQWRIDGGLWLRQDOFRVWVIRULQVXUDQFHPDLQWHQDQFHDQGRWKHUFRVWV7KHVHDGGLWLRQDODPRXQWVDUHQRWLQFOXGHGLQWKHWDEOH
RIFRQWUDFWXDOFRPPLWPHQWVDVWKHWLPLQJDQGRUDPRXQWVRIVXFKSD\PHQWVDUHQRWNQRZQ$VRI0DUFKWKH&RPSDQ\KDVOHDVHGVLWHVIRUQHZRU
UHORFDWHGORFDWLRQVSODQQHGIRURSHQLQJLQILVFDORUIRUZKLFKDJJUHJDWHPLQLPXPUHQWDOSD\PHQWVRYHUWKHWHUPRIWKHOHDVHVDUHDSSUR[LPDWHO\
PLOOLRQDQGDUHLQFOXGHGLQWKHWDEOHDERYH
  3XUFKDVHREOLJDWLRQVSULPDULO\FRQVLVWRISXUFKDVHRUGHUVIRUPHUFKDQGLVH
  /RQJWHUPVDOHOHDVHEDFNDQGFDSLWDOOHDVHREOLJDWLRQVUHSUHVHQWIXWXUHPLQLPXPOHDVHSD\PHQWVXQGHUWKHVDOHOHDVHEDFNDQGFDSLWDOOHDVHDJUHHPHQWV
    2WKHU ORQJWHUP OLDELOLWLHV DUH SULPDULO\ FRPSULVHG RI LQFRPH WD[HV SD\DEOH GHIHUUHG UHQW ZRUNHUV  FRPSHQVDWLRQ DQG JHQHUDO OLDELOLW\ UHVHUYHV DQG
YDULRXVRWKHUDFFUXDOVDQGDUHUHFRUGHGDV'HIHUUHG5HQWDQG2WKHU/LDELOLWLHVDQG,QFRPH7D[HV3D\DEOHLQWKHFRQVROLGDWHGEDODQFHVKHHWDVRI0DUFK
7KHDPRXQWVDVVRFLDWHGZLWKWKHVHRWKHUORQJWHUPOLDELOLWLHVKDYHEHHQUHIOHFWHGRQO\LQWKH7RWDO&ROXPQLQWKHWDEOHDERYHDVWKHWLPLQJDQGRU
DPRXQWRIDQ\FDVKSD\PHQWLVXQFHUWDLQ

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7KH &RPSDQ\¶V EXVLQHVV LV VXEMHFW WR VHDVRQDO LQIOXHQFHV *HQHUDOO\ LWV VDOHV YROXPHV DUH KLJKHU LQ WKH FDOHQGDU PRQWKV RI $XJXVW 1RYHPEHU DQG
'HFHPEHUDQGORZHULQ)HEUXDU\

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7DEOHRI&RQWHQWV
    Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 79 of 155 PageID: 489
,1)/$7,21

7KH&RPSDQ\GRHVQRWEHOLHYHWKDWLWVRSHUDWLQJUHVXOWVKDYHEHHQPDWHULDOO\DIIHFWHGE\LQIODWLRQGXULQJWKHSDVW\HDU7KHUHFDQEHQRDVVXUDQFHKRZHYHU
WKDWWKH&RPSDQ\¶VRSHUDWLQJUHVXOWVZLOOQRWEHDIIHFWHGE\LQIODWLRQLQWKHIXWXUH

&5,7,&$/$&&2817,1*32/,&,(6

7KH SUHSDUDWLRQ RI FRQVROLGDWHG ILQDQFLDO VWDWHPHQWV LQ FRQIRUPLW\ ZLWK 86 JHQHUDOO\ DFFHSWHG DFFRXQWLQJ SULQFLSOHV UHTXLUHV WKH &RPSDQ\ WR HVWDEOLVK
DFFRXQWLQJ SROLFLHV DQG WR PDNH HVWLPDWHV DQG MXGJPHQWV WKDW DIIHFW WKH UHSRUWHG DPRXQWV RI DVVHWV DQG OLDELOLWLHV DQG GLVFORVXUH RI FRQWLQJHQW DVVHWV DQG
OLDELOLWLHV DV RI WKH GDWH RI WKH FRQVROLGDWHG ILQDQFLDO VWDWHPHQWV DQG WKH UHSRUWHG DPRXQWV RI UHYHQXHV DQG H[SHQVHV GXULQJ WKH UHSRUWLQJ SHULRG 7KH
&RPSDQ\EDVHVLWVHVWLPDWHVRQKLVWRULFDOH[SHULHQFHDQGRQRWKHUDVVXPSWLRQVWKDWLWEHOLHYHVWREHUHOHYDQWXQGHUWKHFLUFXPVWDQFHVWKHUHVXOWVRIZKLFK
IRUPWKHEDVLVIRUPDNLQJMXGJPHQWVDERXWWKHFDUU\LQJYDOXHRIDVVHWVDQGOLDELOLWLHVWKDWDUHQRWUHDGLO\DSSDUHQWIURPRWKHUVRXUFHV,QSDUWLFXODUMXGJPHQW
LVXVHGLQDUHDVVXFKDVLQYHQWRU\YDOXDWLRQLPSDLUPHQWRIORQJOLYHGDVVHWVJRRGZLOODQGRWKHULQGHILQLWHOLYHGLQWDQJLEOHDVVHWVDFFUXDOVIRUVHOILQVXUDQFH
DQGLQFRPHDQGFHUWDLQRWKHUWD[HV$FWXDOUHVXOWVFRXOGGLIIHUIURPWKHVHHVWLPDWHV

,QYHQWRU\9DOXDWLRQ0HUFKDQGLVHLQYHQWRULHVDUHVWDWHGDWWKHORZHURIFRVWRUPDUNHW,QYHQWRU\FRVWVDUHSULPDULO\FDOFXODWHGXVLQJWKHZHLJKWHGDYHUDJH
UHWDLOLQYHQWRU\PHWKRG

8QGHUWKHUHWDLOLQYHQWRU\PHWKRGWKHYDOXDWLRQRILQYHQWRULHVDWFRVWDQGWKHUHVXOWLQJJURVVPDUJLQVDUHFDOFXODWHGE\DSSO\LQJDFRVWWRUHWDLOUDWLRWRWKH
UHWDLOYDOXHVRILQYHQWRULHV7KHFRVWDVVRFLDWHGZLWKGHWHUPLQLQJWKHFRVWWRUHWDLOUDWLRLQFOXGHVPHUFKDQGLVHSXUFKDVHVQHWRIUHWXUQVWRYHQGRUVGLVFRXQWV
DQGYROXPHDQGLQFHQWLYHUHEDWHVLQERXQGIUHLJKWH[SHQVHVGXW\LQVXUDQFHDQGFRPPLVVLRQV

$WDQ\RQHWLPHLQYHQWRULHV LQFOXGH LWHPV WKDW KDYH EHHQZULWWHQGRZQWRWKH&RPSDQ\¶VEHVWHVWLPDWHRIWKHLUUHDOL]DEOHYDOXH-XGJPHQW LV UHTXLUHGLQ
HVWLPDWLQJUHDOL]DEOHYDOXHDQGIDFWRUVFRQVLGHUHGDUHWKHDJHRIPHUFKDQGLVHDQGDQWLFLSDWHGGHPDQG$FWXDOUHDOL]DEOHYDOXHFRXOGGLIIHUPDWHULDOO\IURP
WKLVHVWLPDWHEDVHGXSRQIXWXUHFXVWRPHUGHPDQGRUHFRQRPLFFRQGLWLRQV

7KH&RPSDQ\HVWLPDWHVLWVUHVHUYHIRUVKULQNDJHWKURXJKRXWWKH\HDUEDVHGRQKLVWRULFDOVKULQNDJHDQGDQ\FXUUHQWWUHQGVLIDSSOLFDEOH$FWXDOVKULQNDJHLV
UHFRUGHGDW\HDUHQGEDVHGXSRQWKHUHVXOWVRIWKH&RPSDQ\¶VSK\VLFDOLQYHQWRU\FRXQWVIRUORFDWLRQVDWZKLFKFRXQWVZHUHFRQGXFWHG)RUORFDWLRQVZKHUH
SK\VLFDOLQYHQWRU\FRXQWVZHUHQRWFRQGXFWHGLQWKHILVFDO\HDUDQHVWLPDWHGVKULQNUHVHUYHLVUHFRUGHGEDVHGRQKLVWRULFDOVKULQNDJHDQGDQ\FXUUHQWWUHQGV
LIDSSOLFDEOH+LVWRULFDOO\WKH&RPSDQ\¶VVKULQNDJHKDVQRWEHHQYRODWLOH

7KH&RPSDQ\DFFUXHVIRUPHUFKDQGLVHLQWUDQVLWRQFHLWWDNHVOHJDORZQHUVKLSDQGWLWOHWRWKHPHUFKDQGLVHDVVXFKDQHVWLPDWHIRUPHUFKDQGLVHLQWUDQVLWLV
LQFOXGHGLQWKH&RPSDQ\¶VPHUFKDQGLVHLQYHQWRULHV

,PSDLUPHQWRI/RQJ/LYHG$VVHWV 7KH &RPSDQ\ UHYLHZV ORQJOLYHG DVVHWV IRU LPSDLUPHQW ZKHQ HYHQWV RU FKDQJHV LQ FLUFXPVWDQFHV LQGLFDWH WKH FDUU\LQJ
YDOXHRIWKHVHDVVHWVPD\H[FHHGWKHLUFXUUHQWIDLUYDOXHV5HFRYHUDELOLW\RIDVVHWVWREHKHOGDQGXVHGLVPHDVXUHGE\DFRPSDULVRQRIWKHFDUU\LQJDPRXQWRI
DQDVVHWWRWKHHVWLPDWHGXQGLVFRXQWHGIXWXUHFDVKIORZVH[SHFWHGWREHJHQHUDWHGE\WKHDVVHW,IWKHFDUU\LQJDPRXQWRIDQDVVHWH[FHHGVLWVHVWLPDWHGIXWXUH
FDVKIORZVDQLPSDLUPHQWFKDUJHLVUHFRJQL]HGIRUWKHDPRXQWE\ZKLFKWKHFDUU\LQJDPRXQWRIWKHDVVHWH[FHHGVWKHIDLUYDOXHRIWKHDVVHWV$VVHWVWREH
GLVSRVHGRIZRXOGEHVHSDUDWHO\SUHVHQWHGLQWKHEDODQFHVKHHWDQGUHSRUWHGDWWKHORZHURIWKHFDUU\LQJDPRXQWRUIDLUYDOXHOHVVFRVWVWRVHOODQGDUHQR
ORQJHUGHSUHFLDWHG7KHDVVHWVDQGOLDELOLWLHVRIDGLVSRVDOJURXSFODVVLILHGDVKHOGIRUVDOHZRXOGEHSUHVHQWHGVHSDUDWHO\LQWKHDSSURSULDWHDVVHWDQGOLDELOLW\
VHFWLRQV RI WKH EDODQFH VKHHW ,Q ILVFDO  WKH &RPSDQ\ UHFRUGHG D  PLOOLRQ QRQFDVK SUHWD[ LPSDLUPHQW FKDUJH ZLWKLQ JRRGZLOO DQG RWKHU
LPSDLUPHQWVLQWKHFRQVROLGDWHGVWDWHPHQWRIRSHUDWLRQVIRUFHUWDLQVWRUHOHYHODVVHWV7KHUHZHUHQRLPSDLUPHQWVWRORQJOLYHGDVVHWVLQILVFDORU
,Q WKH IXWXUH LI HYHQWV RU PDUNHW FRQGLWLRQV DIIHFW WKH HVWLPDWHG IDLU YDOXH WR WKH H[WHQW WKDW D ORQJOLYHG DVVHW LV LPSDLUHG WKH &RPSDQ\ ZLOO DGMXVW WKH
FDUU\LQJYDOXHRIWKHVHORQJOLYHGDVVHWVLQWKHSHULRGLQZKLFKWKHLPSDLUPHQWRFFXUV

*RRGZLOO DQG 2WKHU ,QGHILQLWH /LYHG ,QWDQJLEOH $VVHWV 7KH &RPSDQ\ UHYLHZV JRRGZLOO DQG RWKHU LQWDQJLEOHV WKDW KDYH LQGHILQLWH OLYHV IRU LPSDLUPHQW
DQQXDOO\DVRIWKHHQGRIWKHILVFDO\HDURUZKHQHYHQWVRUFKDQJHVLQFLUFXPVWDQFHVLQGLFDWHWKHFDUU\LQJYDOXHRIWKHVHDVVHWVPLJKWH[FHHGWKHLUFXUUHQWIDLU
YDOXHV ,PSDLUPHQW WHVWLQJ LV EDVHG XSRQ WKH EHVW LQIRUPDWLRQ DYDLODEOH LQFOXGLQJ HVWLPDWHV RI IDLU YDOXH ZKLFK LQFRUSRUDWH DVVXPSWLRQV PDUNHWSODFH
SDUWLFLSDQWVZRXOGXVHLQPDNLQJWKHLUHVWLPDWHVRIIDLUYDOXH6LJQLILFDQWDVVXPSWLRQVDQGHVWLPDWHVDUHUHTXLUHGLQFOXGLQJEXWQRWOLPLWHGWRSURMHFWLQJ
IXWXUH FDVK IORZV GHWHUPLQLQJ DSSURSULDWH GLVFRXQW UDWHV DQG WHUPLQDO JURZWK UDWHV DQG RWKHU DVVXPSWLRQV WR HVWLPDWH WKH IDLU YDOXH RI JRRGZLOO DQG
LQGHILQLWHOLYHGLQWDQJLEOHDVVHWV$OWKRXJKWKH&RPSDQ\EHOLHYHVWKHDVVXPSWLRQVDQGHVWLPDWHVPDGHDUHUHDVRQDEOHDQGDSSURSULDWHGLIIHUHQWDVVXPSWLRQV
DQG HVWLPDWHV FRXOG PDWHULDOO\ LPSDFW LWV UHSRUWHG ILQDQFLDO UHVXOWV ,Q DGGLWLRQ VXVWDLQHG GHFOLQHV LQ WKH &RPSDQ\ V VWRFN SULFH DQG UHODWHG PDUNHW
FDSLWDOL]DWLRQFRXOGLPSDFWNH\DVVXPSWLRQVLQWKHRYHUDOOHVWLPDWHGIDLUYDOXHVRILWVUHSRUWLQJXQLWVDQGFRXOGUHVXOW

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7DEOHRI&RQWHQWV
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LQ QRQFDVK LPSDLUPHQW FKDUJHV WKDW FRXOG EH PDWHULDO WR WKH &RPSDQ\ V FRQVROLGDWHG EDODQFH VKHHW RU UHVXOW RI RSHUDWLRQV 3ULRU WR 0DUFK   WKH
&RPSDQ\KDVQRWKLVWRULFDOO\UHFRUGHGDQLPSDLUPHQWWRLWVJRRGZLOODQGRWKHULQGHILQLWHOLYHGLQWDQJLEOHDVVHWV

$VRI0DUFKWKH&RPSDQ\FRPSOHWHGDTXDQWLWDWLYHLPSDLUPHQWDQDO\VLVRIJRRGZLOOUHODWHGWRLWVUHSRUWLQJXQLWVE\FRPSDULQJWKHIDLUYDOXHRID
UHSRUWLQJXQLWZLWKLWVFDUU\LQJDPRXQW7KH&RPSDQ\SHUIRUPHGDGLVFRXQWHGFDVKIORZDQDO\VLVDQGPDUNHWPXOWLSOHDQDO\VLVIRUHDFKUHSRUWLQJXQLW%DVHG
XSRQWKHDQDO\VLVSHUIRUPHGWKH&RPSDQ\UHFRJQL]HGJRRGZLOOLPSDLUPHQWFKDUJHVRIPLOOLRQDQGPLOOLRQIRUWKH1RUWK$PHULFDQ5HWDLODQG
,QVWLWXWLRQDO6DOHVUHSRUWLQJXQLWVUHVSHFWLYHO\7KHQRQFDVKSUHWD[LPSDLUPHQWFKDUJHVZHUHSULPDULO\WKHUHVXOWRIDVXVWDLQHGGHFOLQHLQWKH&RPSDQ\ V
PDUNHWFDSLWDOL]DWLRQ

2WKHULQGHILQLWHOLYHGLQWDQJLEOHDVVHWVZHUHUHFRUGHGDVDUHVXOWRIDFTXLVLWLRQVDQGSULPDULO\FRQVLVWRIWUDGHQDPHV7KH&RPSDQ\YDOXHVLWVWUDGHQDPHV
XVLQJ D UHOLHIIURPUR\DOW\ DSSURDFK ZKLFK DVVXPHV WKH YDOXH RI WKH WUDGHQDPH LV WKH GLVFRXQWHG FDVK IORZV RI WKH DPRXQW WKDW ZRXOG EH SDLG E\ D
K\SRWKHWLFDO PDUNHW SDUWLFLSDQW KDG WKH\ QRW RZQHG WKH WUDGHQDPH DQG LQVWHDG OLFHQVHG WKH WUDGHQDPH IURP DQRWKHU FRPSDQ\ $V RI 0DUFK   IRU
FHUWDLQRWKHULQGHILQLWHOLYHGLQWDQJLEOHDVVHWVWKH&RPSDQ\FRPSOHWHGDTXDQWLWDWLYHLPSDLUPHQWDQDO\VLVE\FRPSDULQJWKHIDLUYDOXHRIWKHWUDGHQDPHVWR
WKHLU FDUU\LQJ YDOXH DQG UHFRJQL]HG D QRQFDVK SUHWD[ WUDGHQDPH LPSDLUPHQW FKDUJH RI  PLOOLRQ ZLWKLQ JRRGZLOO DQG RWKHU LPSDLUPHQWV LQ WKH
FRQVROLGDWHGVWDWHPHQWRIRSHUDWLRQVIRUFHUWDLQRIWKHWUDGHQDPHVZLWKLQWKH1RUWK$PHULFDQ5HWDLOUHSRUWLQJXQLW$VRI0DUFKIRUWKHUHPDLQLQJ
RWKHULQGHILQLWHOLYHGLQWDQJLEOHVDVVHWVWKH&RPSDQ\DVVHVVHGTXDOLWDWLYHIDFWRUVLQRUGHUWRGHWHUPLQHZKHWKHUDQ\HYHQWVDQGFLUFXPVWDQFHVH[LVWHGZKLFK
LQGLFDWHGWKDWLWZDVPRUHOLNHO\WKDQQRWWKDWWKHIDLUYDOXHRIWKHVHRWKHULQGHILQLWHOLYHGDVVHWVGLGQRWH[FHHGWKHLUFDUU\LQJYDOXHVDQGFRQFOXGHGQRVXFK
HYHQWVRUFLUFXPVWDQFHVH[LVWHGZKLFKZRXOGUHTXLUHDQLPSDLUPHQWWHVWEHSHUIRUPHG,QWKHIXWXUHLIHYHQWVRUPDUNHWFRQGLWLRQVDIIHFWWKHHVWLPDWHGIDLU
YDOXHWRWKHH[WHQWWKDWDQDVVHWLVLPSDLUHGWKH&RPSDQ\ZLOODGMXVWWKHFDUU\LQJYDOXHRIWKHVHDVVHWVLQWKHSHULRGLQZKLFKWKHLPSDLUPHQWRFFXUV

6HOI,QVXUDQFH7KH&RPSDQ\XWLOL]HVDFRPELQDWLRQRILQVXUDQFHDQGVHOILQVXUDQFHIRUDQXPEHURIULVNVLQFOXGLQJZRUNHUV¶FRPSHQVDWLRQJHQHUDOOLDELOLW\
F\EHU OLDELOLW\ SURSHUW\ OLDELOLW\ DXWRPRELOH OLDELOLW\ DQG HPSOR\HH UHODWHG KHDOWK FDUH EHQHILWV D SRUWLRQ RI ZKLFK LV SDLG E\ LWV HPSOR\HHV  /LDELOLWLHV
DVVRFLDWHGZLWKWKHULVNVWKDWWKH&RPSDQ\UHWDLQVDUHHVWLPDWHGE\FRQVLGHULQJKLVWRULFDOFODLPVH[SHULHQFHGHPRJUDSKLFIDFWRUVVHYHULW\IDFWRUVDQGRWKHU
DFWXDULDODVVXPSWLRQV$OWKRXJKWKH&RPSDQ\¶VFODLPVH[SHULHQFHKDVQRWGLVSOD\HGVXEVWDQWLDOYRODWLOLW\LQWKHSDVWDFWXDOH[SHULHQFHFRXOGPDWHULDOO\YDU\
IURPLWVKLVWRULFDOH[SHULHQFHLQWKHIXWXUH)DFWRUVWKDWDIIHFWWKHVHHVWLPDWHVLQFOXGHEXWDUHQRWOLPLWHGWRLQIODWLRQWKHQXPEHUDQGVHYHULW\RIFODLPVDQG
UHJXODWRU\FKDQJHV,QWKHIXWXUHLIWKH&RPSDQ\FRQFOXGHVDQDGMXVWPHQWWRVHOILQVXUDQFHDFFUXDOVLVUHTXLUHGWKHOLDELOLW\ZLOOEHDGMXVWHGDFFRUGLQJO\

7D[HV7KH&RPSDQ\DFFRXQWVIRULWVLQFRPHWD[HVXVLQJWKHDVVHWDQGOLDELOLW\PHWKRG'HIHUUHGWD[DVVHWVDQGOLDELOLWLHVDUHUHFRJQL]HGIRUWKHIXWXUHWD[
FRQVHTXHQFHVDWWULEXWDEOHWRWKHGLIIHUHQFHVEHWZHHQWKHILQDQFLDOVWDWHPHQWFDUU\LQJDPRXQWVRIH[LVWLQJDVVHWVDQGOLDELOLWLHVDQGWKHLUUHVSHFWLYHWD[EDVHV
DQGRSHUDWLQJORVVDQGWD[FUHGLWFDUU\IRUZDUGV'HIHUUHGWD[DVVHWVDQGOLDELOLWLHVDUHPHDVXUHGXVLQJHQDFWHGWD[UDWHVH[SHFWHGWRDSSO\WRWD[DEOHLQFRPH
LQWKH\HDULQZKLFKWKRVHWHPSRUDU\GLIIHUHQFHVDUHH[SHFWHGWREHUHFRYHUHGRUVHWWOHG7KHHIIHFWRQGHIHUUHGWD[DVVHWVDQGOLDELOLWLHVRIDFKDQJHLQWD[
UDWHVLVUHFRJQL]HGLQHDUQLQJVLQWKHSHULRGWKDWLQFOXGHVWKHHQDFWPHQWGDWH

2Q'HFHPEHUWKH86JRYHUQPHQWHQDFWHGFRPSUHKHQVLYHWD[OHJLVODWLRQFRPPRQO\UHIHUUHGWRDVWKH7D[$FW7KH7D[$FWLQFOXGHGDPDQGDWRU\
RQHWLPHWD[RQDFFXPXODWHGHDUQLQJVRIIRUHLJQVXEVLGLDULHVDQGDVDUHVXOWDOOSUHYLRXVO\XQUHPLWWHGHDUQLQJVIRUZKLFKQR86GHIHUUHGWD[OLDELOLW\KDG
EHHQSUHYLRXVO\DFFUXHGKDVQRZEHHQVXEMHFWWR86WD[1RWZLWKVWDQGLQJWKH86WD[DWLRQRIWKHVHDPRXQWVWKH&RPSDQ\LQWHQGVWRFRQWLQXHWRUHLQYHVW
WKHXQUHPLWWHGHDUQLQJVRILWV&DQDGLDQVXEVLGLDU\$FFRUGLQJO\QRDGGLWLRQDOSURYLVLRQKDVEHHQPDGHIRU86RUDGGLWLRQDOQRQ86WD[HVZLWKUHVSHFWWR
WKHVHHDUQLQJVH[FHSWIRUWKHWUDQVLWLRQWD[UHVXOWLQJIURPWKH7D[$FW,QWKHHYHQWRIUHSDWULDWLRQWRWKH86LWLVH[SHFWHGWKDWVXFKHDUQLQJVZRXOGEH
VXEMHFWWRQRQ86ZLWKKROGLQJWD[HVRIIVHWLQZKROHRULQSDUWE\86IRUHLJQWD[FUHGLWV

7KH&RPSDQ\UHFRJQL]HVWKHWD[EHQHILWIURPDQXQFHUWDLQWD[SRVLWLRQRQO\LILWLVDWOHDVWPRUHOLNHO\WKDQQRWWKDWWKHWD[SRVLWLRQZLOOEHVXVWDLQHGRQ
H[DPLQDWLRQ E\ WKH WD[LQJ DXWKRULWLHV EDVHG RQ WKH WHFKQLFDO PHULWV RI WKH SRVLWLRQ 7KH WD[ EHQHILWV UHFRJQL]HG LQ WKH ILQDQFLDO VWDWHPHQWV IURP VXFK D
SRVLWLRQDUHPHDVXUHGEDVHGRQWKHODUJHVWEHQHILWWKDWKDVDJUHDWHUWKDQILIW\SHUFHQWOLNHOLKRRGRIEHLQJUHDOL]HGXSRQVHWWOHPHQWZLWKWKHWD[LQJDXWKRULWLHV

3RWHQWLDOYRODWLOLW\LQWKHHIIHFWLYHWD[UDWHIURP\HDUWR\HDUPD\RFFXUDVWKH&RPSDQ\LVUHTXLUHGHDFK\HDUWRGHWHUPLQHZKHWKHUQHZLQIRUPDWLRQFKDQJHV
WKHDVVHVVPHQWRIERWKWKHSUREDELOLW\WKDWDWD[SRVLWLRQZLOOHIIHFWLYHO\EHVXVWDLQHGDQGWKHDSSURSULDWHQHVVRIWKHDPRXQWRIUHFRJQL]HGEHQHILW

7KH&RPSDQ\DOVRDFFUXHVIRUFHUWDLQRWKHUWD[HVDVUHTXLUHGE\LWVRSHUDWLRQV

-XGJPHQW LV UHTXLUHG LQ GHWHUPLQLQJ WKH SURYLVLRQ IRU LQFRPH DQG RWKHU WD[HV DQG UHODWHG DFFUXDOV DQG GHIHUUHG WD[ DVVHWV DQG OLDELOLWLHV ,Q WKH RUGLQDU\
FRXUVHRIEXVLQHVVWKHUHDUHWUDQVDFWLRQVDQGFDOFXODWLRQVZKHUHWKHXOWLPDWHWD[RXWFRPHLVXQFHUWDLQ

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7DEOHRI&RQWHQWV
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$GGLWLRQDOO\ WKH &RPSDQ\¶V YDULRXV WD[ UHWXUQV DUH VXEMHFW WR DXGLW E\ YDULRXV WD[ DXWKRULWLHV $OWKRXJK WKH &RPSDQ\ EHOLHYHV WKDW LWV HVWLPDWHV DUH
UHDVRQDEOHDFWXDOUHVXOWVFRXOGGLIIHUIURPWKHVHHVWLPDWHV

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7KLV)RUP.DQG0DQDJHPHQW¶V'LVFXVVLRQDQG$QDO\VLVRI)LQDQFLDO&RQGLWLRQDQG5HVXOWVRI2SHUDWLRQVFRQWDLQIRUZDUGORRNLQJVWDWHPHQWVZLWKLQWKH
PHDQLQJ RI 6HFWLRQ ( RI WKH 6HFXULWLHV ([FKDQJH $FW RI  DV DPHQGHG )RUZDUGORRNLQJ VWDWHPHQWV LQFOXGH VWDWHPHQWV UHODWHG WR IXWXUH QRW SDVW
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RIWHQFRQWDLQZRUGVVXFKDVPD\ZLOOH[SHFWDQWLFLSDWHDSSUR[LPDWHHVWLPDWHDVVXPHFRQWLQXHPRGHOSURMHFWSODQJRDODQGVLPLODUZRUGVDQGSKUDVHV
7KH&RPSDQ\¶VDFWXDOUHVXOWVDQGIXWXUHILQDQFLDOFRQGLWLRQPD\GLIIHUPDWHULDOO\IURPWKRVHH[SUHVVHGLQDQ\VXFKIRUZDUGORRNLQJVWDWHPHQWVDVDUHVXOWRI
PDQ\ IDFWRUV 6XFK IDFWRUV LQFOXGH ZLWKRXW OLPLWDWLRQ JHQHUDO HFRQRPLF FRQGLWLRQV LQFOXGLQJ WKH KRXVLQJ PDUNHW D FKDOOHQJLQJ RYHUDOO PDFURHFRQRPLF
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UHWDLQTXDOLILHGHPSOR\HHVLQDOODUHDVRIWKHRUJDQL]DWLRQWKHFRVWRIODERUPHUFKDQGLVHDQGRWKHUFRVWVDQGH[SHQVHVSRWHQWLDOVXSSO\FKDLQGLVUXSWLRQGXH
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    Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 83 of 155 PageID: 493
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3D\PHQWDQGYHVWLQJRISHUIRUPDQFHVWRFNXQLWV                                                                                                                                           ²


6WRFNEDVHGFRPSHQVDWLRQH[SHQVHQHW                                                                                                                                          


'LUHFWRUIHHVSDLGLQVWRFN                                                                                                                                                          


5HSXUFKDVHRIFRPPRQVWRFNLQFOXGLQJIHHV                                                                                                                              
%DODQFHDW)HEUXDU\                                                                                                      


1HWHDUQLQJV                                                                                                                                                                 


2WKHUFRPSUHKHQVLYHLQFRPHQHWRIWD[                                                                                                                                           


'LYLGHQGGHFODUHG                                                                                                                                                              


6KDUHVVROGXQGHUHPSOR\HHVWRFNRSWLRQSODQVQHWRIWD[HV                                                                                                                  


,VVXDQFHRIUHVWULFWHGVKDUHVQHW                                                                                                                                                   ²


3D\PHQWDQGYHVWLQJRISHUIRUPDQFHVWRFNXQLWV                                                                                                                                           ²


6WRFNEDVHGFRPSHQVDWLRQH[SHQVHQHW                                                                                                                                          


'LUHFWRUIHHVSDLGLQVWRFN                                                                                                                                                          


5HSXUFKDVHRIFRPPRQVWRFNLQFOXGLQJIHHV                                                                                                                               
%DODQFHDW0DUFK                                                                                                          


1HWHDUQLQJV                                                                                                                                                                 


2WKHUFRPSUHKHQVLYHORVVQHWRIWD[                                                                                                                                            


(IIHFWRI$GRSWLRQRI$68                                                                                                                                                


'LYLGHQGGHFODUHG                                                                                                                                                              


,VVXDQFHRIUHVWULFWHGVKDUHVQHW                                                                                                                                                       ²


3D\PHQWDQGYHVWLQJRISHUIRUPDQFHVWRFNXQLWV                                                                                                                                           ²


6WRFNEDVHGFRPSHQVDWLRQH[SHQVHQHW                                                                                                                                          


'LUHFWRUIHHVSDLGLQVWRFN                                                              ²                                                                                                 


5HSXUFKDVHRIFRPPRQVWRFNLQFOXGLQJIHHV                                                                                                                               
%DODQFHDW0DUFK                                                                                                    

                                                          6HHDFFRPSDQ\LQJ1RWHVWR&RQVROLGDWHG)LQDQFLDO6WDWHPHQWV

                                                                                              
7DEOHRI&RQWHQWV
     Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 87 of 155 PageID: 497
                                                %('%$7+ %(<21',1&$1'68%6,',$5,(6
                                                               &RQVROLGDWHG6WDWHPHQWVRI&DVK)ORZV
                                                                           LQWKRXVDQGV

                                                                                                                    7ZHOYH0RQWKV(QGHG
                                                                                                                                            )HEUXDU\
                                                                                                      0DUFK  0DUFK          
&DVK)ORZVIURP2SHUDWLQJ$FWLYLWLHV                                                                                                                  
    1HW ORVV HDUQLQJV                                                                                                       
    $GMXVWPHQWVWRUHFRQFLOHQHW ORVV HDUQLQJVWRQHWFDVKSURYLGHGE\RSHUDWLQJDFWLYLWLHV                                     
       'HSUHFLDWLRQDQGDPRUWL]DWLRQ                                                                                             
       *DLQRQVDOHRIEXLOGLQJ                                                                                            ²                  ²
       *DLQRQGHEWH[WLQJXLVKPHQW                                                                                            ²                  ²
       *RRGZLOODQGRWKHULPSDLUPHQWV                                                                                     ²                  ²
       6WRFNEDVHGFRPSHQVDWLRQ                                                                                                      
       'HIHUUHGLQFRPHWD[HV                                                                                                      
       2WKHU                                                                                                                                 
       'HFUHDVH LQFUHDVH LQDVVHWVQHWRIHIIHFWRIDFTXLVLWLRQV                                                               
          0HUFKDQGLVHLQYHQWRULHV                                                                                                 
          7UDGLQJLQYHVWPHQWVHFXULWLHV                                                                                             
          2WKHUFXUUHQWDVVHWV                                                                                                    
          2WKHUDVVHWV                                                                                                                  
       'HFUHDVH LQFUHDVHLQOLDELOLWLHVQHWRIHIIHFWRIDFTXLVLWLRQV                                                           
          $FFRXQWVSD\DEOH                                                                                                          
          $FFUXHGH[SHQVHVDQGRWKHUFXUUHQWOLDELOLWLHV                                                                              
          0HUFKDQGLVHFUHGLWDQGJLIWFDUGOLDELOLWLHV                                                                               
          ,QFRPHWD[HVSD\DEOH                                                                                                         
          'HIHUUHGUHQWDQGRWKHUOLDELOLWLHV                                                                                       

    1HWFDVKSURYLGHGE\RSHUDWLQJDFWLYLWLHV                                                                                   

&DVK)ORZVIURP,QYHVWLQJ$FWLYLWLHV                                                                                              

    3XUFKDVHRIKHOGWRPDWXULW\LQYHVWPHQWVHFXULWLHV                                                                                ²
    5HGHPSWLRQRIKHOGWRPDWXULW\LQYHVWPHQWVHFXULWLHV                                                                  ²              
    &DSLWDOH[SHQGLWXUHV                                                                                                         
    3URFHHGVIURPVDOHRIDEXLOGLQJ                                                                                       ²                  ²
    ,QYHVWPHQWLQXQFRQVROLGDWHGMRLQWYHQWXUH                                                                    ²              ²                
    3D\PHQWIRUDFTXLVLWLRQVQHWRIFDVKDFTXLUHG                                                                ²                       

    1HWFDVKXVHGLQLQYHVWLQJDFWLYLWLHV                                                                                        

&DVK)ORZVIURP)LQDQFLQJ$FWLYLWLHV                                                                                              

    3D\PHQWRIGLYLGHQGV                                                                                                            
    5HSXUFKDVHRIFRPPRQVWRFNLQFOXGLQJIHHV                                                                                   
    3D\PHQWRIVHQLRUQRWHV                                                                                                 ²                  ²
    3URFHHGVIURPH[HUFLVHRIVWRFNRSWLRQV                                                                       ²                       
    3D\PHQWRIRWKHUOLDELOLWLHV                                                                                  ²                              ²

    1HWFDVKXVHGLQILQDQFLQJDFWLYLWLHV                                                                                        

    (IIHFWRIH[FKDQJHUDWHFKDQJHVRQFDVKFDVKHTXLYDOHQWVDQGUHVWULFWHGFDVK                                                      

    1HWLQFUHDVH GHFUHDVH LQFDVKFDVKHTXLYDOHQWVDQGUHVWULFWHGFDVK                                                         

&DVKFDVKHTXLYDOHQWVDQGUHVWULFWHGFDVK                                                                                        

    %HJLQQLQJRISHULRG                                                                                                          
    (QGRISHULRG                                                                                                             

                                                   6HHDFFRPSDQ\LQJ1RWHVWR&RQVROLGDWHG)LQDQFLDO6WDWHPHQWV

                                                                                 
7DEOHRI&RQWHQWV
     Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 88 of 155 PageID: 498
1RWHVWR&RQVROLGDWHG)LQDQFLDO6WDWHPHQWV
%HG%DWK %H\RQG,QFDQG6XEVLGLDULHV

   6800$5<2)6,*1,),&$17$&&2817,1*32/,&,(6$1'5(/$7('0$77(56

$ 1DWXUHRI2SHUDWLRQV

%HG %DWK  %H\RQG ,QF DQG VXEVLGLDULHV WKH ³&RPSDQ\´  LV DQ RPQLFKDQQHO UHWDLOHU VHOOLQJ D ZLGH DVVRUWPHQW RI GRPHVWLFV PHUFKDQGLVH DQG KRPH
IXUQLVKLQJVZKLFKRSHUDWHVXQGHUWKHQDPHV%HG%DWK %H\RQG ³%%%´ &KULVWPDV7UHH6KRSV&KULVWPDV7UHH6KRSVDQG7KDWRUDQG7KDW FROOHFWLYHO\
³&76´ +DUPRQ+DUPRQ)DFH9DOXHVRU)DFH9DOXHV FROOHFWLYHO\³+DUPRQ´ EX\EX\%$%< ³%DE\´ DQG:RUOG0DUNHW&RVW3OXV:RUOG0DUNHWRU&RVW
3OXV FROOHFWLYHO\³&RVW3OXV:RUOG0DUNHW´ &XVWRPHUVFDQSXUFKDVHSURGXFWVIURPWKH&RPSDQ\HLWKHULQVWRUHRQOLQHZLWKDPRELOHGHYLFHRUWKURXJKD
FXVWRPHUFRQWDFWFHQWHU7KH&RPSDQ\JHQHUDOO\KDVWKHDELOLW\WRKDYHFXVWRPHUSXUFKDVHVSLFNHGXSLQVWRUHRUVKLSSHGGLUHFWWRWKHFXVWRPHUIURPWKH
&RPSDQ\¶V GLVWULEXWLRQ IDFLOLWLHV VWRUHV RU YHQGRUV ,Q DGGLWLRQ WKH &RPSDQ\ RSHUDWHV 2I D .LQG DQ HFRPPHUFH ZHEVLWH WKDW IHDWXUHV VSHFLDOO\
FRPPLVVLRQHGOLPLWHGHGLWLRQLWHPVIURPHPHUJLQJIDVKLRQDQGKRPHGHVLJQHUV2QH.LQJV/DQHDQDXWKRULW\LQKRPHGpFRUDQGGHVLJQRIIHULQJDXQLTXH
FROOHFWLRQRIVHOHFWKRPHJRRGVGHVLJQHUDQGYLQWDJHLWHPV3HUVRQDOL]DWLRQ0DOOFRP ³30DOO´ DQLQGXVWU\OHDGLQJRQOLQHUHWDLOHURISHUVRQDOL]HGSURGXFWV
&KHI&HQWUDODUHWDLOHURINLWFKHQZDUHFRRNZDUHDQGKRPHZDUHLWHPVFDWHULQJWRFRRNLQJDQGEDNLQJHQWKXVLDVWVDQG'HFRULVWDQRQOLQHLQWHULRUGHVLJQ
SODWIRUPWKDWSURYLGHVSHUVRQDOL]HGKRPHGHVLJQVHUYLFHV7KH&RPSDQ\DOVRRSHUDWHV/LQHQ+ROGLQJVDSURYLGHURIDYDULHW\RIWH[WLOHSURGXFWVDPHQLWLHV
DQG RWKHU JRRGV WR LQVWLWXWLRQDO FXVWRPHUV LQ WKH KRVSLWDOLW\ FUXLVH OLQH KHDOWKFDUH DQG RWKHU LQGXVWULHV $GGLWLRQDOO\ WKH &RPSDQ\ LV D SDUWQHU LQ D MRLQW
YHQWXUHZKLFKRSHUDWHVUHWDLOVWRUHVLQ0H[LFRXQGHUWKHQDPH%HG%DWK %H\RQG

7KH &RPSDQ\ DFFRXQWV IRU LWV RSHUDWLRQV DV WZR RSHUDWLQJ VHJPHQWV 1RUWK $PHULFDQ 5HWDLO DQG ,QVWLWXWLRQDO 6DOHV 7KH ,QVWLWXWLRQDO 6DOHV RSHUDWLQJ
VHJPHQWZKLFKLVFRPSULVHGRI/LQHQ+ROGLQJVGRHVQRWPHHWWKHTXDQWLWDWLYHWKUHVKROGVXQGHU86JHQHUDOO\DFFHSWHGDFFRXQWLQJSULQFLSOHVDQGWKHUHIRUH
LVQRWDUHSRUWDEOHVHJPHQW1HWVDOHVRXWVLGHRIWKH86IRUWKH&RPSDQ\ZHUHQRWPDWHULDOIRUILVFDODQG$VWKH&RPSDQ\RSHUDWHVLQWKH
UHWDLOLQGXVWU\LWVUHVXOWVRIRSHUDWLRQVDUHDIIHFWHGE\JHQHUDOHFRQRPLFFRQGLWLRQVDQGFRQVXPHUVSHQGLQJKDELWV

% )LVFDO<HDU

7KH&RPSDQ\¶VILVFDO\HDULVFRPSULVHGRIWKHRUZHHNSHULRGHQGLQJRQWKH6DWXUGD\QHDUHVW)HEUXDU\WK$FFRUGLQJO\ILVFDODQGILVFDO
UHSUHVHQWHGZHHNVDQGHQGHGRQ0DUFKDQG)HEUXDU\UHVSHFWLYHO\)LVFDOUHSUHVHQWHGZHHNVDQGHQGHG0DUFK

& 3ULQFLSOHVRI&RQVROLGDWLRQ

7KHDFFRPSDQ\LQJFRQVROLGDWHGILQDQFLDOVWDWHPHQWVLQFOXGHWKHDFFRXQWVRIWKH&RPSDQ\DQGLWVZKROO\RZQHGVXEVLGLDULHV7KH&RPSDQ\DFFRXQWVIRULWV
LQYHVWPHQWLQWKHMRLQWYHQWXUHXQGHUWKHHTXLW\PHWKRG

7KH ILVFDO  DQG  FRQVROLGDWHG VWDWHPHQWV RI FDVK IORZV ZHUH UHYLVHG WR LQFOXGH UHVWULFWHG FDVK GXH WR WKH DGRSWLRQ RI WKH )LQDQFLDO $FFRXQWLQJ
6WDQGDUGV%RDUG )$6% $FFRXQWLQJ6WDQGDUGV8SGDWH $68 6WDWHPHQWRI&DVK)ORZV 7RSLF 5HVWULFWHG&DVKLQILVFDO

$OOVLJQLILFDQWLQWHUFRPSDQ\EDODQFHVDQGWUDQVDFWLRQVKDYHEHHQHOLPLQDWHGLQFRQVROLGDWLRQ

' 8VHRI(VWLPDWHV

7KH SUHSDUDWLRQ RI FRQVROLGDWHG ILQDQFLDO VWDWHPHQWV LQ FRQIRUPLW\ ZLWK 86 JHQHUDOO\ DFFHSWHG DFFRXQWLQJ SULQFLSOHV UHTXLUHV WKH &RPSDQ\ WR HVWDEOLVK
DFFRXQWLQJ SROLFLHV DQG WR PDNH HVWLPDWHV DQG MXGJPHQWV WKDW DIIHFW WKH UHSRUWHG DPRXQWV RI DVVHWV DQG OLDELOLWLHV DQG GLVFORVXUH RI FRQWLQJHQW DVVHWV DQG
OLDELOLWLHV DV RI WKH GDWH RI WKH FRQVROLGDWHG ILQDQFLDO VWDWHPHQWV DQG WKH UHSRUWHG DPRXQWV RI UHYHQXHV DQG H[SHQVHV GXULQJ WKH UHSRUWLQJ SHULRG 7KH
&RPSDQ\EDVHVLWVHVWLPDWHVRQKLVWRULFDOH[SHULHQFHDQGRQRWKHUDVVXPSWLRQVWKDWLWEHOLHYHVWREHUHOHYDQWXQGHUWKHFLUFXPVWDQFHVWKHUHVXOWVRIZKLFK
IRUPWKHEDVLVIRUPDNLQJMXGJPHQWVDERXWWKHFDUU\LQJYDOXHRIDVVHWVDQGOLDELOLWLHVWKDWDUHQRWUHDGLO\DSSDUHQWIURPRWKHUVRXUFHV,QSDUWLFXODUMXGJPHQW
LV XVHG LQ DUHDV VXFK DV LQYHQWRU\ YDOXDWLRQ LPSDLUPHQW RI ORQJOLYHG DVVHWV LPSDLUPHQW RI DXFWLRQ UDWH VHFXULWLHV JRRGZLOO DQG RWKHU LQGHILQLWH OLYHG
LQWDQJLEOH DVVHWV DFFUXDOV IRU VHOI LQVXUDQFH OLWLJDWLRQ VWRUH RSHQLQJ H[SDQVLRQ UHORFDWLRQ DQG FORVLQJ FRVWV WKH SURYLVLRQ IRU VDOHV UHWXUQV YHQGRU
DOORZDQFHVVWRFNEDVHGFRPSHQVDWLRQDQGLQFRPHDQGFHUWDLQRWKHUWD[HV$FWXDOUHVXOWVFRXOGGLIIHUIURPWKHVHHVWLPDWHV

( 5HFHQW$FFRXQWLQJ3URQRXQFHPHQWV

,Q 0DUFK  WKH )$6% LVVXHG $68  &RPSHQVDWLRQ  6WRFN &RPSHQVDWLRQ 7RSLF   ,PSURYHPHQWV WR (PSOR\HH 6KDUH%DVHG 3D\PHQW
$FFRXQWLQJZKLFKVLPSOLILHVVHYHUDODVSHFWVRIWKHDFFRXQWLQJIRUVKDUHEDVHGSD\PHQWWUDQVDFWLRQVLQFOXGLQJWKH

                                                                                         
7DEOHRI&RQWHQWV
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DFFRXQWLQJIRULQFRPHWD[HVIRUIHLWXUHVDQGVWDWXWRU\WD[ZLWKKROGLQJUHTXLUHPHQWVDVZHOODVFODVVLILFDWLRQLQWKHVWDWHPHQWRIFDVKIORZV$68
UHTXLUHVRQDSURVSHFWLYHEDVLVUHFRJQLWLRQRIH[FHVVWD[EHQHILWVDQGWD[GHILFLHQFLHV UHVXOWLQJIURPDQLQFUHDVHRUGHFUHDVHLQWKHIDLUYDOXHRIDQDZDUG
IURPJUDQWGDWHWRWKHYHVWLQJRUH[HUFLVHGDWH LQWKHSURYLVLRQIRULQFRPHWD[HVDVDGLVFUHWHLWHPLQWKHSHULRGLQZKLFKWKH\RFFXU7KH$68DOVRFKDQJHV
WKHFODVVLILFDWLRQRIH[FHVVWD[EHQHILWVIURPDILQDQFLQJDFWLYLW\WRDQRSHUDWLQJDFWLYLW\LQWKH&RPSDQ\¶VFRQVROLGDWHGVWDWHPHQWVRIFDVKIORZV,QDGGLWLRQ
$68DOORZVFRPSDQLHVWRPDNHDQDFFRXQWLQJSROLF\HOHFWLRQWRHLWKHUHVWLPDWHH[SHFWHGIRUIHLWXUHVRUDFFRXQWIRUWKHPDVWKH\RFFXU$68
 LV HIIHFWLYH IRU ILVFDO \HDUV EHJLQQLQJ DIWHU 'HFHPEHU   DQG LQWHULP SHULRGV ZLWKLQ WKRVH \HDUV ZLWK HDUO\ DGRSWLRQ SHUPLWWHG 7KH &RPSDQ\
DGRSWHG$68GXULQJWKHILUVWTXDUWHURIILVFDO'XULQJWKHILVFDO\HDUHQGHG0DUFKWKH&RPSDQ\UHFRJQL]HGLQLQFRPHWD[H[SHQVH
GLVFUHWHWD[H[SHQVHVRIPLOOLRQUHODWHGWRWD[GHILFLHQFLHV$GGLWLRQDOO\WKH&RPSDQ\HOHFWHGWRDFFRXQWIRUIRUIHLWXUHVDVDQHVWLPDWHRIWKHQXPEHURI
DZDUGVWKDWDUHH[SHFWHGWRYHVWZKLFKLVFRQVLVWHQWZLWKLWVDFFRXQWLQJSROLF\SULRUWRDGRSWLRQRI$687KH&RPSDQ\DGRSWHGWKHSURYLVLRQVRI
$68UHODWHGWRFKDQJHVLQWKHFRQVROLGDWHGVWDWHPHQWVRIFDVKIORZVRQDUHWURVSHFWLYHEDVLV$VVXFKH[FHVVWD[EHQHILWVDUHQRZFODVVLILHGDVDQ
RSHUDWLQJDFWLYLW\LQWKH&RPSDQ\¶V&RQVROLGDWHG6WDWHPHQWVRI&DVK)ORZVLQVWHDGRIDVDILQDQFLQJDFWLYLW\$VDUHVXOWH[FHVVWD[EHQHILWVRIPLOOLRQ
IRUWKHWZHOYHPRQWKV)HEUXDU\ZHUHUHFODVVLILHGIURPILQDQFLQJDFWLYLWLHVWRRSHUDWLQJDFWLYLWLHV$68DOVRUHTXLUHVWKDWWKHYDOXHRIVKDUHV
ZLWKKHOGIURPHPSOR\HHVXSRQYHVWLQJRIVWRFNDZDUGVLQRUGHUWRVDWLVI\DQ\DSSOLFDEOHWD[ZLWKKROGLQJUHTXLUHPHQWVLVSUHVHQWHGZLWKLQILQDQFLQJDFWLYLWLHV
LQWKH&RPSDQ\¶V&RQVROLGDWHG6WDWHPHQWVRI&DVK)ORZVZKLFKLVFRQVLVWHQWZLWKWKH&RPSDQ\¶VKLVWRULFDOSUHVHQWDWLRQDQGWKHUHIRUHKDGQRLPSDFWWRWKH
&RPSDQ\

,Q0D\WKH)$6%LVVXHG$685HYHQXHIURP&RQWUDFWVZLWK&XVWRPHUV 7RSLF 7KLVJXLGDQFHUHTXLUHVDQHQWLW\WRUHFRJQL]HUHYHQXHLQD
PDQQHUWKDWGHSLFWVWKHWUDQVIHURISURPLVHGJRRGVRUVHUYLFHVWRFXVWRPHUVLQDQDPRXQWWKDWUHIOHFWVWKHFRQVLGHUDWLRQWRZKLFKWKHHQWLW\H[SHFWVWREH
HQWLWOHGLQH[FKDQJHIRUWKRVHJRRGVRUVHUYLFHV7KHQHZVWDQGDUGDOVRZLOOUHVXOWLQHQKDQFHGGLVFORVXUHVDERXWWKHQDWXUHDPRXQWWLPLQJDQGXQFHUWDLQW\RI
UHYHQXHDQGFDVKIORZVDULVLQJIURPFRQWUDFWVZLWKFXVWRPHUV,Q-XO\WKH)$6%LVVXHG$685HYHQXHIURP&RQWUDFWVZLWK&XVWRPHUV 7RSLF
 'HIHUUDORIWKH(IIHFWLYH'DWH7KLVJXLGDQFHGHIHUUHGWKHHIIHFWLYHGDWHRI$68IRURQH\HDUIURPWKHRULJLQDOHIIHFWLYHGDWH,QDFFRUGDQFH
ZLWKWKHGHIHUUDO$68LVHIIHFWLYHIRUDQQXDOUHSRUWLQJSHULRGVEHJLQQLQJDIWHU'HFHPEHULQFOXGLQJLQWHULPSHULRGVZLWKLQWKDWUHSRUWLQJ
SHULRG ,Q  WKH )$6% LVVXHG VHYHUDO DPHQGPHQWV WR FODULI\ YDULRXV DVSHFWV RI WKH LPSOHPHQWDWLRQ JXLGDQFH $68  FDQ EH DGRSWHG HLWKHU
UHWURVSHFWLYHO\WRHDFKSULRUUHSRUWLQJSHULRGSUHVHQWHGRUDVDFXPXODWLYHHIIHFWDGMXVWPHQWDVRIWKHGDWHRIDGRSWLRQ$WWKHEHJLQQLQJRIWKHILUVWTXDUWHURI
ILVFDOWKH&RPSDQ\DGRSWHG$68XVLQJWKHPRGLILHGUHWURVSHFWLYHWUDQVLWLRQPHWKRGDQGUHFRJQL]HGWKHFXPXODWLYHHIIHFWRIDSSO\LQJWKLV
VWDQGDUG WR RSHQLQJ UHWDLQHG HDUQLQJV 7KH &RPSDQ\ UHFRUGHG D QHW DIWHUWD[ UHGXFWLRQ WR RSHQLQJ UHWDLQHG HDUQLQJV RI DSSUR[LPDWHO\ PLOOLRQ DV RI
0DUFK7KHFRPSDUDWLYHILQDQFLDOLQIRUPDWLRQKDVQRWEHHQDGMXVWHGDQGFRQWLQXHVWREHUHSRUWHGXQGHU$6&7RSLF5HYHQXH5HFRJQLWLRQ 7RSLF
 

7KHPDMRULW\RIWKH&RPSDQ\¶VUHYHQXHLVJHQHUDWHGIURPWKHVDOHRISURGXFWVLQLWVUHWDLOVWRUHVZKLFKZLOOFRQWLQXHWREHUHFRJQL]HGZKHQFRQWURORIWKH
SURGXFWLVWUDQVIHUUHGWRWKHFXVWRPHU7KHDGRSWLRQRI$68UHVXOWHGLQWKHIROORZLQJFKDQJHV

        $FKDQJHLQWKHWLPLQJRIUHFRJQL]LQJDGYHUWLVLQJH[SHQVHUHODWHGWRGLUHFWUHVSRQVHDGYHUWLVLQJ7KHVHFRVWVWKDWZHUHSUHYLRXVO\H[SHQVHGRYHUWKH
         SHULRGGXULQJZKLFKWKHVDOHVZHUHH[SHFWHGWRRFFXUZLOOQRZEHH[SHQVHGRQWKHILUVWGD\RIWKHGLUHFWUHVSRQVHDGYHUWLVLQJHYHQW

        $FKDQJHLQWKHSUHVHQWDWLRQRIWKHVDOHVUHWXUQUHVHUYHRQWKHFRQVROLGDWHGEDODQFHVKHHWDVHVWLPDWHGFRVWVRIUHWXUQVZLOOEHUHFRUGHGDVDFXUUHQW
         DVVHWUDWKHUWKDQQHWWHGZLWKWKHVDOHVUHWXUQUHVHUYH

        &KDQJHVLQWKHSUHVHQWDWLRQRIFHUWDLQRWKHUUHYHQXHVWUHDPVRQWKHFRQVROLGDWHGVWDWHPHQWRIHDUQLQJVEHWZHHQQHWVDOHVFRVWRIVDOHVDQGVHOOLQJ
         JHQHUDODQGDGPLQLVWUDWLYHH[SHQVHV

7KH EHORZ WDEOHV VHW IRUWK WKH DGMXVWPHQWV WR WKH &RPSDQ\¶V FRQVROLGDWHG VWDWHPHQW RI HDUQLQJV DQG FRQVROLGDWHG EDODQFH VKHHW DV D UHVXOW RI WKH QHZO\
DGRSWHGUHYHQXHUHFRJQLWLRQVWDQGDUG


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7DEOHRI&RQWHQWV
    Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 90 of 155 PageID: 500
                                                                                                           7ZHOYHPRQWKVHQGHG0DUFK
                                                                                                                      %DODQFHV:LWKRXW
                                                                                                                    $GRSWLRQRI$68             ,PSDFWRI$GRSWLRQ
        ,QWKRXVDQGV                                                                          $V5HSRUWHG                                         ,QFUHDVH 'HFUHDVH
                                                                                                                                             
    1HWVDOHV                                                                                                                                
    &RVWRIVDOHV                                                                                                                                 
    *URVVSURILW                                                                                                                               
    6HOOLQJJHQHUDODQGDGPLQLVWUDWLYHH[SHQVHV                                                                                                  
    *RRGZLOODQGRWKHULPSDLUPHQWV                                                                                                                         ²
    2SHUDWLQJ ORVV SURILW                                                                                                                            
    ,QWHUHVWH[SHQVHQHW                                                                                                                                    ²
     /RVV HDUQLQJVEHIRUHSURYLVLRQIRULQFRPHWD[HV                                                                                                
        %HQHILW SURYLVLRQIRULQFRPHWD[HV                                                                                                                 
    1HW ORVV HDUQLQJV                                                                                                                             
    1HW ORVV HDUQLQJVSHUVKDUH'LOXWHG                                                                                                                 

                                                                                                                         0DUFK
                                                                                                                      %DODQFHV:LWKRXW
                                                                                                                    $GRSWLRQRI$68             ,PSDFWRI$GRSWLRQ
        ,QWKRXVDQGV                                                                          $V5HSRUWHG                                         ,QFUHDVH 'HFUHDVH
                                                                                                                                             
    $VVHWV                                                                                                                                    
    0HUFKDQGLVHLQYHQWRULHV                                                                                                                      
    3UHSDLGH[SHQVHVDQGRWKHUFXUUHQWDVVHWV                                                                                                         
                                                                                                                                             
    /LDELOLWLHVDQG6KDUHKROGHUV (TXLW\                                                                                                      
    $FFUXHGH[SHQVHVDQGRWKHUFXUUHQWOLDELOLWLHV                                                                                                 
    0HUFKDQGLVHFUHGLWDQGJLIWFDUGOLDELOLWLHV                                                                                                      
    5HWDLQHGHDUQLQJV                                                                                                                             

,Q-DQXDU\WKH)$6%LVVXHG$68%XVLQHVV&RPELQDWLRQV 7RSLF &ODULI\LQJWKH'HILQLWLRQRID%XVLQHVV $68  UHTXLUHV WKDW
ZKHQVXEVWDQWLDOO\DOORIWKHIDLUYDOXHRIWKHJURVVDVVHWVDFTXLUHG RUGLVSRVHGRI LVFRQFHQWUDWHGLQDVLQJOHLGHQWLILDEOHDVVHWRUDJURXSRILGHQWLILDEOH
DVVHWV WKH VHW RI DVVHWV ZRXOG QRW UHSUHVHQW D EXVLQHVV $OVR LQ RUGHU WR EH FRQVLGHUHG D EXVLQHVV DQ DFTXLVLWLRQ ZRXOG KDYH WR LQFOXGH DQ LQSXW DQG D
VXEVWDQWLYHSURFHVVWKDWWRJHWKHUVLJQLILFDQWO\FRQWULEXWHWRWKHDELOLW\WRSURGXFHRXWSXWV8QGHUWKHXSGDWHIHZHUVHWVRIDVVHWVDUHH[SHFWHGWREHFRQVLGHUHG
EXVLQHVVHV$68LVHIIHFWLYHIRUDQQXDOUHSRUWLQJSHULRGVEHJLQQLQJDIWHU'HFHPEHULQFOXGLQJLQWHULPSHULRGVZLWKLQWKDWUHSRUWLQJSHULRG
7KH&RPSDQ\DGRSWHGWKLVJXLGDQFHDWWKHEHJLQQLQJRIWKHILUVWTXDUWHURIILVFDODQGLWGLGQRWKDYHDPDWHULDOHIIHFWRQWKH&RPSDQ\ VFRQVROLGDWHG
ILQDQFLDOSRVLWLRQUHVXOWVRIRSHUDWLRQVRUFDVKIORZV

,Q-DQXDU\WKH)$6%LVVXHG$68,QWDQJLEOHV±*RRGZLOODQG2WKHU 7RSLF 6LPSOLI\LQJWKH7HVWIRU*RRGZLOO,PSDLUPHQW$68
HOLPLQDWHV WKH UHTXLUHPHQW WR FDOFXODWH WKH LPSOLHG IDLU YDOXH RI JRRGZLOO WR PHDVXUH WKH DPRXQW RI LPSDLUPHQW ORVV LI DQ\ XQGHU WKH VHFRQG VWHS RI WKH
FXUUHQWJRRGZLOOLPSDLUPHQWWHVW8QGHUWKHXSGDWHWKHJRRGZLOOLPSDLUPHQWORVVZRXOGEHPHDVXUHGDVWKHDPRXQWE\ZKLFKDUHSRUWLQJXQLW¶VFDUU\LQJ
YDOXHH[FHHGVLWVIDLUYDOXHQRWWRH[FHHGWKHFDUU\LQJDPRXQWRIJRRGZLOO$68LVHIIHFWLYHIRUDQQXDOUHSRUWLQJSHULRGVEHJLQQLQJDIWHU'HFHPEHU
  ZLWK HDUO\ DGRSWLRQ SHUPLWWHG 7KH &RPSDQ\ DGRSWHG WKLV JXLGDQFH LQ WKH IRXUWK TXDUWHU RI ILVFDO  DQG SHUIRUPHG LWV DQQXDO JRRGZLOO
LPSDLUPHQWWHVWLQDFFRUGDQFHZLWK$68ZKLFKUHVXOWHGLQDQRQFDVKSUHWD[JRRGZLOOLPSDLUPHQWFKDUJHRIPLOOLRQ

,Q1RYHPEHUWKH)$6%LVVXHG$686WDWHPHQWRI&DVK)ORZV 7RSLF 5HVWULFWHG&DVKZKLFKUHTXLUHVHQWLWLHVWRLQFOXGHUHVWULFWHGFDVK
ZLWKFDVKDQGFDVKHTXLYDOHQWVZKHQUHFRQFLOLQJWKHEHJLQQLQJRISHULRGDQGHQGRISHULRGWRWDODPRXQWVSUHVHQWHGLQWKHVWDWHPHQWRIFDVKIORZV$68
LVHIIHFWLYHIRUILVFDO\HDUVEHJLQQLQJDIWHU'HFHPEHUZLWKHDUO\DGRSWLRQSHUPLWWHG7KH&RPSDQ\DGRSWHGWKLVVWDQGDUGLQILVFDORQ
DUHWURVSHFWLYHEDVLVZKLFKGLGQRWUHVXOWLQDPDWHULDOLPSDFWWKH&RPSDQ\ VFRQVROLGDWHGVWDWHPHQWVRIFDVKIORZV

                                                                                         
7DEOHRI&RQWHQWV
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,Q)HEUXDU\WKH)$6%LVVXHG$68/HDVHV 7RSLF 7KLVJXLGDQFHUHTXLUHVDQHQWLW\WRUHFRJQL]HOHDVHOLDELOLWLHVDQGDULJKWRIXVHDVVHW
IRU DOO OHDVHV RQ WKH EDODQFH VKHHW DQG WR GLVFORVH NH\ LQIRUPDWLRQ DERXW WKH HQWLW\ V OHDVLQJ DUUDQJHPHQWV $68  LV HIIHFWLYH IRU DQQXDO UHSRUWLQJ
SHULRGVEHJLQQLQJDIWHU'HFHPEHULQFOXGLQJLQWHULPSHULRGVZLWKLQWKDWUHSRUWLQJSHULRGZLWKHDUOLHUDGRSWLRQSHUPLWWHG,Q-XO\WKH)$6%
DSSURYHGDQDPHQGPHQWWRWKHQHZJXLGDQFHWKDWDOORZVFRPSDQLHVWKHRSWLRQRIXVLQJWKHHIIHFWLYHGDWHRIWKHQHZVWDQGDUGDVWKHLQLWLDODSSOLFDWLRQ DWWKH
EHJLQQLQJRIWKHSHULRGLQZKLFKLWLVDGRSWHGUDWKHUWKDQDWWKHEHJLQQLQJRIWKHHDUOLHVWFRPSDUDWLYHSHULRG DQGWRUHFRJQL]HWKHHIIHFWVRIDSSO\LQJWKHQHZ
$68 DV D FXPXODWLYH HIIHFW DGMXVWPHQW WR WKH RSHQLQJ EDODQFH VKHHW RU UHWDLQHG HDUQLQJV %DVHG RQ WKH HIIHFWLYH GDWHV WKH &RPSDQ\ ZLOO DGRSW WKH QHZ
JXLGDQFHDWWKHEHJLQQLQJRIWKHILUVWTXDUWHURIILVFDOXVLQJWKHQHZWUDQVLWLRQHOHFWLRQWRQRWUHVWDWHFRPSDUDWLYHSHULRGV7KH&RPSDQ\ZLOOHOHFWWKH
SDFNDJHRISUDFWLFDOH[SHGLHQWVXSRQDGRSWLRQZKLFKSHUPLWVWKH&RPSDQ\WRQRWUHDVVHVVXQGHUWKHQHZVWDQGDUGWKH&RPSDQ\ VSULRUFRQFOXVLRQVDERXW
OHDVHLGHQWLILFDWLRQOHDVHFODVVLILFDWLRQDQGLQLWLDOGLUHFWFRVWV,QDGGLWLRQWKH&RPSDQ\ZLOOHOHFWQRWWRVHSDUDWHOHDVHDQGQRQOHDVHFRPSRQHQWVIRUDOOUHDO
HVWDWH OHDVHV DQG GRHV QRW H[SHFW WR HOHFW WKH KLQGVLJKW SUDFWLFDO H[SHGLHQW /DVWO\ WKH &RPSDQ\ H[SHFWV WR HOHFW D VKRUWWHUP OHDVH H[FHSWLRQ SROLF\
SHUPLWWLQJLWWRH[FOXGHWKHUHFRJQLWLRQUHTXLUHPHQWVRIWKLVVWDQGDUGIURPOHDVHVZLWKLQLWLDOWHUPVRIPRQWKVRUOHVV8SRQDGRSWLRQWKH&RPSDQ\H[SHFWV
WRUHFRJQL]HULJKWRIXVHDVVHWVRIDSSUR[LPDWHO\ELOOLRQWRELOOLRQDQGRSHUDWLQJOHDVHOLDELOLWLHVRIDSSUR[LPDWHO\ELOOLRQWRELOOLRQRQLWV
FRQVROLGDWHG EDODQFH VKHHW ZLWK QR VLJQLILFDQW FKDQJH WR LWV FRQVROLGDWHG VWDWHPHQWV RI RSHUDWLRQV RU FDVK IORZV ,Q DGGLWLRQ WKH DFWXDO ULJKWRIXVH DVVHW
DPRXQWZLOOGHSHQGRQWKHILQDOL]DWLRQRIDQ\LPSDLUPHQWRIWKHULJKWRIXVHDVVHWVZKLFKLVFXUUHQWO\EHLQJUHYLHZHGE\WKH&RPSDQ\DQGWKLVDGMXVWPHQW
ZLOOEHUHFRUGHGDVDFXPXODWLYHHIIHFWDGMXVWPHQWWRUHWDLQHGHDUQLQJVXSRQDGRSWLRQ

)   &DVKDQG&DVK(TXLYDOHQWV

7KH&RPSDQ\FRQVLGHUVDOOKLJKO\OLTXLGLQVWUXPHQWVSXUFKDVHGZLWKRULJLQDOPDWXULWLHVRIWKUHHPRQWKVRUOHVVWREHFDVKHTXLYDOHQWV,QFOXGHGLQFDVKDQG
FDVKHTXLYDOHQWVDUHFUHGLWDQGGHELWFDUGUHFHLYDEOHVIURPEDQNVZKLFKW\SLFDOO\VHWWOHZLWKLQILYHEXVLQHVVGD\VRIPLOOLRQDQGPLOOLRQDVRI
0DUFKDQG0DUFKUHVSHFWLYHO\

* ,QYHVWPHQW6HFXULWLHV

,QYHVWPHQWVHFXULWLHVFRQVLVWSULPDULO\RI867UHDVXU\%LOOVZLWKUHPDLQLQJPDWXULWLHVRIOHVVWKDQRQH\HDUDQGDXFWLRQUDWHVHFXULWLHVZKLFKDUHVHFXULWLHV
ZLWKLQWHUHVWUDWHVWKDWUHVHWSHULRGLFDOO\WKURXJKDQDXFWLRQSURFHVV7KH867UHDVXU\%LOOVDUHFODVVLILHGDVVKRUWWHUPKHOGWRPDWXULW\VHFXULWLHVDQGDUH
VWDWHGDWWKHLUDPRUWL]HGFRVWZKLFKDSSUR[LPDWHVIDLUYDOXH$XFWLRQUDWHVHFXULWLHVDUHFODVVLILHGDVDYDLODEOHIRUVDOHDQGDUHVWDWHGDWIDLUYDOXHZKLFKKDG
KLVWRULFDOO\EHHQFRQVLVWHQWZLWKFRVWRUSDUYDOXHGXHWRLQWHUHVWUDWHVZKLFKUHVHWSHULRGLFDOO\W\SLFDOO\HYHU\RUGD\V$VDUHVXOWWKHUHJHQHUDOO\
ZHUHQRFXPXODWLYHJURVVXQUHDOL]HGKROGLQJJDLQVRUORVVHVUHODWLQJWRWKHVHDXFWLRQUDWHVHFXULWLHV+RZHYHUEHJLQQLQJLQPLG)HEUXDU\GXHWRPDUNHW
FRQGLWLRQVWKHDXFWLRQSURFHVVIRUWKH&RPSDQ\¶VDXFWLRQUDWHVHFXULWLHVIDLOHGDQGFRQWLQXHVWRIDLO7KHVHIDLOHGDXFWLRQVUHVXOWLQDODFNRIOLTXLGLW\LQWKH
VHFXULWLHVDQGDIIHFWWKHLUHVWLPDWHGIDLUYDOXHVDW0DUFKDQG0DUFKEXWGRQRWDIIHFWWKHXQGHUO\LQJFROODWHUDORIWKHVHFXULWLHV 6HH³)DLU
9DOXH0HDVXUHPHQWV´1RWHDQG³,QYHVWPHQW6HFXULWLHV´1RWH $OOLQFRPHIURPWKHVHLQYHVWPHQWVLVUHFRUGHGDVLQWHUHVWLQFRPH

7KRVHLQYHVWPHQWVHFXULWLHVZKLFKWKH&RPSDQ\KDVWKHDELOLW\DQGLQWHQWWRKROGXQWLOPDWXULW\DUHFODVVLILHGDVKHOGWRPDWXULW\LQYHVWPHQWVDQGDUHVWDWHGDW
DPRUWL]HGFRVW7KRVHLQYHVWPHQWVHFXULWLHVZKLFKDUHERXJKWDQGKHOGSULQFLSDOO\IRUWKHSXUSRVHRIVHOOLQJWKHPLQWKHQHDUWHUPDUHFODVVLILHGDVWUDGLQJ
VHFXULWLHVDQGDUHVWDWHGDWIDLUPDUNHWYDOXH

3UHPLXPV DUH DPRUWL]HG DQG GLVFRXQWV DUH DFFUHWHG RYHU WKH OLIH RI WKH VHFXULW\ DV DGMXVWPHQWV WR LQWHUHVW LQFRPH XVLQJ WKH HIIHFWLYH LQWHUHVW PHWKRG
'LYLGHQGDQGLQWHUHVWLQFRPHDUHUHFRJQL]HGZKHQHDUQHG

+ ,QYHQWRU\9DOXDWLRQ

0HUFKDQGLVHLQYHQWRULHVDUHVWDWHGDWWKHORZHURIFRVWRUPDUNHW,QYHQWRU\FRVWVDUHSULPDULO\FDOFXODWHGXVLQJWKHZHLJKWHGDYHUDJHUHWDLOLQYHQWRU\PHWKRG

8QGHUWKHUHWDLOLQYHQWRU\PHWKRGWKHYDOXDWLRQRILQYHQWRULHVDWFRVWDQGWKHUHVXOWLQJJURVVPDUJLQVDUHFDOFXODWHGE\DSSO\LQJDFRVWWRUHWDLOUDWLRWRWKH
UHWDLOYDOXHVRILQYHQWRULHV7KHFRVWDVVRFLDWHGZLWKGHWHUPLQLQJWKHFRVWWRUHWDLOUDWLRLQFOXGHVPHUFKDQGLVHSXUFKDVHVQHWRIUHWXUQVWRYHQGRUVGLVFRXQWV
DQGYROXPHDQGLQFHQWLYHUHEDWHVLQERXQGIUHLJKWH[SHQVHVGXW\LQVXUDQFHDQGFRPPLVVLRQV

$WDQ\RQHWLPHLQYHQWRULHV LQFOXGH LWHPV WKDW KDYH EHHQZULWWHQGRZQWRWKH&RPSDQ\¶VEHVWHVWLPDWHRIWKHLUUHDOL]DEOHYDOXH-XGJPHQW LV UHTXLUHGLQ
HVWLPDWLQJUHDOL]DEOHYDOXHDQGIDFWRUVFRQVLGHUHGDUHWKHDJHRIPHUFKDQGLVHDQGDQWLFLSDWHGGHPDQG$FWXDOUHDOL]DEOHYDOXHFRXOGGLIIHUPDWHULDOO\IURP
WKLVHVWLPDWHEDVHGXSRQIXWXUHFXVWRPHUGHPDQGRUHFRQRPLFFRQGLWLRQV

                                                                                       
7DEOHRI&RQWHQWV
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7KH&RPSDQ\HVWLPDWHVLWVUHVHUYHIRUVKULQNDJHWKURXJKRXWWKH\HDUEDVHGRQKLVWRULFDOVKULQNDJHDQGDQ\FXUUHQWWUHQGVLIDSSOLFDEOH$FWXDOVKULQNDJHLV
UHFRUGHGDW\HDUHQGEDVHGXSRQWKHUHVXOWVRIWKH&RPSDQ\¶VSK\VLFDOLQYHQWRU\FRXQWVIRUORFDWLRQVDWZKLFKFRXQWVZHUHFRQGXFWHG)RUORFDWLRQVZKHUH
SK\VLFDOLQYHQWRU\FRXQWVZHUHQRWFRQGXFWHGLQWKHILVFDO\HDUDQHVWLPDWHGVKULQNUHVHUYHLVUHFRUGHGEDVHGRQKLVWRULFDOVKULQNDJHDQGDQ\FXUUHQWWUHQGV
LIDSSOLFDEOH+LVWRULFDOO\WKH&RPSDQ\¶VVKULQNDJHKDVQRWEHHQYRODWLOH

7KH&RPSDQ\DFFUXHVIRUPHUFKDQGLVHLQWUDQVLWRQFHLWWDNHVOHJDORZQHUVKLSDQGWLWOHWRWKHPHUFKDQGLVHDVVXFKDQHVWLPDWHIRUPHUFKDQGLVHLQWUDQVLWLV
LQFOXGHGLQWKH&RPSDQ\¶VPHUFKDQGLVHLQYHQWRULHV

,   3URSHUW\DQG(TXLSPHQW

3URSHUW\DQGHTXLSPHQWDUHVWDWHGDWFRVWDQGDUHGHSUHFLDWHGSULPDULO\XVLQJWKHVWUDLJKWOLQHPHWKRGRYHUWKHHVWLPDWHGXVHIXOOLYHVRIWKHDVVHWV IRUW\\HDUV
IRU EXLOGLQJV ILYH WR WZHQW\ \HDUV IRU IXUQLWXUH IL[WXUHV DQG HTXLSPHQW DQG WKUHH WR WHQ \HDUV IRU FRPSXWHU HTXLSPHQW DQG VRIWZDUH  /HDVHKROG
LPSURYHPHQWV DUH DPRUWL]HG XVLQJ WKH VWUDLJKWOLQH PHWKRG RYHU WKH OHVVHU RI WKHLU HVWLPDWHG XVHIXO OLIH RU WKH OLIH RI WKH OHDVH 'HSUHFLDWLRQ H[SHQVH LV
SULPDULO\LQFOXGHGZLWKLQVHOOLQJJHQHUDODQGDGPLQLVWUDWLYHH[SHQVHV

7KH FRVW RI PDLQWHQDQFH DQG UHSDLUV LV FKDUJHG WR HDUQLQJV DV LQFXUUHG VLJQLILFDQW UHQHZDOV DQG EHWWHUPHQWV DUH FDSLWDOL]HG 0DLQWHQDQFH DQG UHSDLUV
DPRXQWHGWRPLOOLRQPLOOLRQDQGPLOOLRQIRUILVFDODQGUHVSHFWLYHO\

-   ,PSDLUPHQWRI/RQJ/LYHG$VVHWV

7KH&RPSDQ\UHYLHZVORQJOLYHGDVVHWVIRULPSDLUPHQWZKHQHYHQWVRUFKDQJHVLQFLUFXPVWDQFHVLQGLFDWHWKHFDUU\LQJYDOXHRIWKHVHDVVHWVPD\H[FHHGWKHLU
FXUUHQWIDLUYDOXHV5HFRYHUDELOLW\RIDVVHWVWREHKHOGDQGXVHGLVPHDVXUHGE\DFRPSDULVRQRIWKHFDUU\LQJDPRXQWRIDQDVVHWWRWKHHVWLPDWHGXQGLVFRXQWHG
IXWXUHFDVKIORZVH[SHFWHGWREHJHQHUDWHGE\WKHDVVHW,IWKHFDUU\LQJDPRXQWRIDQDVVHWH[FHHGVLWVHVWLPDWHGIXWXUHFDVKIORZVDQLPSDLUPHQWFKDUJHLV
UHFRJQL]HG IRU WKH DPRXQW E\ ZKLFK WKH FDUU\LQJ DPRXQW RI WKH DVVHW H[FHHGV WKH IDLU YDOXH RI WKH DVVHWV $VVHWV WR EH GLVSRVHG RI ZRXOG EH VHSDUDWHO\
SUHVHQWHGLQWKHEDODQFHVKHHWDQGUHSRUWHGDWWKHORZHURIWKHFDUU\LQJDPRXQWRUIDLUYDOXHOHVVFRVWVWRVHOODQGDUHQRORQJHUGHSUHFLDWHG7KHDVVHWVDQG
OLDELOLWLHVRIDGLVSRVDOJURXSFODVVLILHGDVKHOGIRUVDOHZRXOGEHSUHVHQWHGVHSDUDWHO\LQWKHDSSURSULDWHDVVHWDQGOLDELOLW\VHFWLRQVRIWKHEDODQFHVKHHW,Q
ILVFDOWKH&RPSDQ\UHFRUGHGDPLOOLRQQRQFDVKSUHWD[LPSDLUPHQWFKDUJHZLWKLQJRRGZLOODQGRWKHULPSDLUPHQWVLQWKHFRQVROLGDWHGVWDWHPHQW
RIRSHUDWLRQVIRUFHUWDLQVWRUHOHYHODVVHWV7KHUHZHUHQRLPSDLUPHQWVWRORQJOLYHGDVVHWVLQILVFDORU,QWKHIXWXUHLIHYHQWVRUPDUNHWFRQGLWLRQV
DIIHFWWKHHVWLPDWHGIDLUYDOXHWRWKHH[WHQWWKDWDORQJOLYHGDVVHWLVLPSDLUHGWKH&RPSDQ\ZLOODGMXVWWKHFDUU\LQJYDOXHRIWKHVHORQJOLYHGDVVHWVLQWKH
SHULRGLQZKLFKWKHLPSDLUPHQWRFFXUV

. *RRGZLOODQG2WKHU,QGHILQLWH/LYHG,QWDQJLEOH$VVHWV

7KH&RPSDQ\UHYLHZVJRRGZLOODQGRWKHULQWDQJLEOHVWKDWKDYHLQGHILQLWHOLYHVIRULPSDLUPHQWDQQXDOO\DVRIWKHHQGRIWKHILVFDO\HDURUZKHQHYHQWVRU
FKDQJHV LQ FLUFXPVWDQFHV LQGLFDWH WKH FDUU\LQJ YDOXH RI WKHVH DVVHWV PLJKW H[FHHG WKHLU FXUUHQW IDLU YDOXHV ,PSDLUPHQW WHVWLQJ LV EDVHG XSRQ WKH EHVW
LQIRUPDWLRQDYDLODEOHLQFOXGLQJHVWLPDWHVRIIDLUYDOXHZKLFKLQFRUSRUDWHDVVXPSWLRQVPDUNHWSODFHSDUWLFLSDQWVZRXOGXVHLQPDNLQJWKHLUHVWLPDWHVRIIDLU
YDOXH6LJQLILFDQWDVVXPSWLRQVDQGHVWLPDWHVDUHUHTXLUHGLQFOXGLQJEXWQRWOLPLWHGWRSURMHFWLQJIXWXUHFDVKIORZVGHWHUPLQLQJDSSURSULDWHGLVFRXQWUDWHV
DQGWHUPLQDOJURZWKUDWHVDQGRWKHUDVVXPSWLRQVWRHVWLPDWHWKHIDLUYDOXHRIJRRGZLOODQGLQGHILQLWHOLYHGLQWDQJLEOHDVVHWV$OWKRXJKWKH&RPSDQ\EHOLHYHV
WKHDVVXPSWLRQVDQGHVWLPDWHVPDGHDUHUHDVRQDEOHDQGDSSURSULDWHGLIIHUHQWDVVXPSWLRQVDQGHVWLPDWHVFRXOGPDWHULDOO\LPSDFWLWVUHSRUWHGILQDQFLDOUHVXOWV
,Q DGGLWLRQ VXVWDLQHG GHFOLQHV LQ WKH &RPSDQ\ V VWRFN SULFH DQG UHODWHG PDUNHW FDSLWDOL]DWLRQ FRXOG LPSDFW NH\ DVVXPSWLRQV LQ WKH RYHUDOO HVWLPDWHG IDLU
YDOXHVRILWVUHSRUWLQJXQLWVDQGFRXOGUHVXOWLQQRQFDVKLPSDLUPHQWFKDUJHVWKDWFRXOGEHPDWHULDOWRWKH&RPSDQ\ VFRQVROLGDWHGEDODQFHVKHHWRUUHVXOWVRI
RSHUDWLRQV3ULRUWR0DUFKWKH&RPSDQ\KDVQRWKLVWRULFDOO\UHFRUGHGDQLPSDLUPHQWWRLWVJRRGZLOODQGRWKHULQGHILQLWHOLYHGLQWDQJLEOHDVVHWV

$VRI0DUFKWKH&RPSDQ\FRPSOHWHGDTXDQWLWDWLYHLPSDLUPHQWDQDO\VLVRIJRRGZLOOUHODWHGWRLWVUHSRUWLQJXQLWVE\FRPSDULQJWKHIDLUYDOXHRID
UHSRUWLQJXQLWZLWKLWVFDUU\LQJDPRXQW7KH&RPSDQ\SHUIRUPHGDGLVFRXQWHGFDVKIORZDQDO\VLVDQGPDUNHWPXOWLSOHDQDO\VLVIRUHDFKUHSRUWLQJXQLW%DVHG
XSRQ WKH DQDO\VLV SHUIRUPHG WKH &RPSDQ\ UHFRJQL]HG QRQFDVK SUHWD[ JRRGZLOO LPSDLUPHQW FKDUJHV RI PLOOLRQ DQG  PLOOLRQ IRU WKH 1RUWK
$PHULFDQ5HWDLODQG,QVWLWXWLRQDO6DOHVUHSRUWLQJXQLWVUHVSHFWLYHO\7KHQRQFDVKSUHWD[LPSDLUPHQWFKDUJHVZHUHSULPDULO\WKHUHVXOWRIDVXVWDLQHGGHFOLQH
LQWKH&RPSDQ\ VPDUNHWFDSLWDOL]DWLRQ

2WKHULQGHILQLWHOLYHGLQWDQJLEOHDVVHWVZHUHUHFRUGHGDVDUHVXOWRIDFTXLVLWLRQVDQGSULPDULO\FRQVLVWRIWUDGHQDPHV7KH&RPSDQ\YDOXHVLWVWUDGHQDPHV
XVLQJ D UHOLHIIURPUR\DOW\ DSSURDFK ZKLFK DVVXPHV WKH YDOXH RI WKH WUDGHQDPH LV WKH GLVFRXQWHG FDVK IORZV RI WKH DPRXQW WKDW ZRXOG EH SDLG E\ D
K\SRWKHWLFDO PDUNHW SDUWLFLSDQW KDG WKH\ QRW RZQHG WKH WUDGHQDPH DQG LQVWHDG OLFHQVHG WKH WUDGHQDPH IURP DQRWKHU FRPSDQ\ $V RI 0DUFK   IRU
FHUWDLQRWKHULQGHILQLWHOLYHGLQWDQJLEOHDVVHWVWKH&RPSDQ\FRPSOHWHGDTXDQWLWDWLYHLPSDLUPHQWDQDO\VLVE\FRPSDULQJWKHIDLUYDOXHRIWKHWUDGHQDPHVWR
WKHLU FDUU\LQJ YDOXH DQG UHFRJQL]HG D QRQFDVK SUHWD[ WUDGHQDPH LPSDLUPHQW FKDUJH RI  PLOOLRQ ZLWKLQ JRRGZLOO DQG RWKHU LPSDLUPHQWV LQ WKH
FRQVROLGDWHGVWDWHPHQWRI

                                                                                       
7DEOHRI&RQWHQWV
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RSHUDWLRQV IRU FHUWDLQ RI WKH WUDGHQDPHV ZLWKLQ WKH 1RUWK $PHULFDQ 5HWDLO UHSRUWLQJ XQLW $V RI 0DUFK   IRU WKH UHPDLQLQJ RWKHU LQGHILQLWH OLYHG
LQWDQJLEOHVDVVHWVWKH&RPSDQ\DVVHVVHGTXDOLWDWLYHIDFWRUVLQRUGHUWRGHWHUPLQHZLWKHUDQ\HYHQWVDQGFLUFXPVWDQFHVH[LVWHGZKLFKLQGLFDWHGWKDWLWZDV
PRUH OLNHO\ WKDQ QRW WKDW WKH IDLU YDOXH RI WKHVH RWKHU LQGHILQLWH OLYHG DVVHWV GLG QRW H[FHHG WKHLU FDUU\LQJ YDOXHV DQG FRQFOXGHG QR VXFK HYHQWV RU
FLUFXPVWDQFHVH[LVWHGZKLFKZRXOGUHTXLUHDQLPSDLUPHQWWHVWEHSHUIRUPHG,QWKHIXWXUHLIHYHQWVRUPDUNHWFRQGLWLRQVDIIHFWWKHHVWLPDWHGIDLUYDOXHWRWKH
H[WHQWWKDWDQDVVHWLVLPSDLUHGWKH&RPSDQ\ZLOODGMXVWWKHFDUU\LQJYDOXHRIWKHVHDVVHWVLQWKHSHULRGLQZKLFKWKHLPSDLUPHQWRFFXUV

,QFOXGHGZLWKLQRWKHUDVVHWVLQWKHDFFRPSDQ\LQJFRQVROLGDWHGEDODQFHVKHHWVDVRI0DUFKDQG0DUFKUHVSHFWLYHO\DUHPLOOLRQDQG
PLOOLRQIRULQGHILQLWHOLYHGWUDGHQDPHVDQGWUDGHPDUNV

/ 6HOI,QVXUDQFH

7KH&RPSDQ\XWLOL]HVDFRPELQDWLRQRILQVXUDQFHDQGVHOILQVXUDQFHIRUDQXPEHURIULVNVLQFOXGLQJZRUNHUV¶FRPSHQVDWLRQJHQHUDOOLDELOLW\F\EHUOLDELOLW\
SURSHUW\OLDELOLW\DXWRPRELOHOLDELOLW\DQGHPSOR\HHUHODWHGKHDOWKFDUHEHQHILWV DSRUWLRQRIZKLFKLVSDLGE\LWVHPSOR\HHV /LDELOLWLHVDVVRFLDWHGZLWKWKH
ULVNV WKDW WKH &RPSDQ\ UHWDLQV DUH HVWLPDWHG E\ FRQVLGHULQJ KLVWRULFDO FODLPV H[SHULHQFH GHPRJUDSKLF IDFWRUV VHYHULW\ IDFWRUV DQG RWKHU DFWXDULDO
DVVXPSWLRQV$OWKRXJKWKH&RPSDQ\¶VFODLPVH[SHULHQFHKDVQRWGLVSOD\HGVXEVWDQWLDOYRODWLOLW\LQWKHSDVWDFWXDOH[SHULHQFHFRXOGPDWHULDOO\YDU\IURPLWV
KLVWRULFDOH[SHULHQFHLQWKHIXWXUH)DFWRUVWKDWDIIHFWWKHVHHVWLPDWHVLQFOXGHEXWDUHQRWOLPLWHGWRLQIODWLRQWKHQXPEHUDQGVHYHULW\RIFODLPVDQGUHJXODWRU\
FKDQJHV,QWKHIXWXUHLIWKH&RPSDQ\FRQFOXGHVDQDGMXVWPHQWWRVHOILQVXUDQFHDFFUXDOVLVUHTXLUHGWKHOLDELOLW\ZLOOEHDGMXVWHGDFFRUGLQJO\

0 'HIHUUHG5HQW

7KH &RPSDQ\ DFFRXQWV IRU VFKHGXOHG UHQW LQFUHDVHV FRQWDLQHG LQLWV OHDVHV RQ D VWUDLJKWOLQH EDVLV RYHU WKH WHUP RI WKH OHDVHEHJLQQLQJ DV RI WKH GDWH WKH
&RPSDQ\REWDLQHGSRVVHVVLRQRIWKHOHDVHGSUHPLVHV'HIHUUHGUHQWDPRXQWHGWRPLOOLRQDQGPLOOLRQDVRI0DUFKDQG0DUFK
UHVSHFWLYHO\

&DVKRUOHDVHLQFHQWLYHV ³WHQDQWDOORZDQFHV´ UHFHLYHGSXUVXDQWWRFHUWDLQVWRUHOHDVHVDUHUHFRJQL]HGRQDVWUDLJKWOLQHEDVLVDVDUHGXFWLRQWRUHQWRYHUWKH
OHDVH WHUP 7KH XQDPRUWL]HG SRUWLRQ RI WHQDQW DOORZDQFHV LV LQFOXGHG LQ GHIHUUHG UHQW DQG RWKHU OLDELOLWLHV 7KH XQDPRUWL]HG SRUWLRQ RI WHQDQW DOORZDQFHV
DPRXQWHGWRPLOOLRQDQGPLOOLRQDVRI0DUFKDQG0DUFKUHVSHFWLYHO\

1 6KDUHKROGHUV¶(TXLW\

7KH&RPSDQ\KDVDXWKRUL]DWLRQWRPDNHUHSXUFKDVHVRILWVFRPPRQVKDUHVIURPWLPHWRWLPHLQWKHRSHQPDUNHWRUWKURXJKRWKHUSDUDPHWHUVDSSURYHGE\WKH
%RDUGRI'LUHFWRUVSXUVXDQWWRH[LVWLQJUXOHVDQGUHJXODWLRQV

%HWZHHQ'HFHPEHUDQG6HSWHPEHUWKH&RPSDQ\¶V%RDUGRI'LUHFWRUVDXWKRUL]HGWKURXJKVHYHUDOVKDUHUHSXUFKDVHSURJUDPVWKHUHSXUFKDVHRI
ELOOLRQRILWVVKDUHVRIFRPPRQVWRFN6LQFHWKURXJKWKHHQGRIILVFDOWKH&RPSDQ\KDVUHSXUFKDVHGDSSUR[LPDWHO\ELOOLRQRILWV
FRPPRQ VWRFN WKURXJK VKDUH UHSXUFKDVH SURJUDPV 7KH &RPSDQ\ DOVR DFTXLUHV VKDUHV RI LWV FRPPRQ VWRFN WR FRYHU HPSOR\HH UHODWHG WD[HV ZLWKKHOG RQ
YHVWHGUHVWULFWHGVWRFNDQGSHUIRUPDQFHVWRFNXQLWDZDUGV

'XULQJILVFDOWKH&RPSDQ\UHSXUFKDVHGDSSUR[LPDWHO\PLOOLRQVKDUHVRILWVFRPPRQVWRFNDWDWRWDOFRVWRIDSSUR[LPDWHO\PLOOLRQ'XULQJ
ILVFDOWKH&RPSDQ\UHSXUFKDVHGDSSUR[LPDWHO\PLOOLRQVKDUHVRILWVFRPPRQVWRFNDWDWRWDOFRVWRIDSSUR[LPDWHO\PLOOLRQ'XULQJILVFDO
WKH&RPSDQ\UHSXUFKDVHGDSSUR[LPDWHO\PLOOLRQVKDUHVRILWVFRPPRQVWRFNDWDWRWDOFRVWRIDSSUR[LPDWHO\PLOOLRQ7KH&RPSDQ\KDV
DSSUR[LPDWHO\ELOOLRQUHPDLQLQJRIDXWKRUL]HGVKDUHUHSXUFKDVHVDVRI0DUFK

'XULQJILVFDOWKH&RPSDQ\¶V%RDUGRI'LUHFWRUVDXWKRUL]HGDTXDUWHUO\GLYLGHQGSURJUDP'XULQJILVFDODQGWRWDOFDVKGLYLGHQGVRI
PLOOLRQDQGPLOOLRQZHUHSDLGUHVSHFWLYHO\6XEVHTXHQWWRWKHHQGRIWKHIRXUWKTXDUWHURIILVFDORQ$SULO   WKH &RPSDQ\¶V %RDUG RI
'LUHFWRUVGHFODUHGDTXDUWHUO\GLYLGHQGLQFUHDVHWRSHUVKDUHWREHSDLGRQ-XO\WRVKDUHKROGHUVRIUHFRUGDWWKHFORVHRIEXVLQHVVRQ-XQH
7KH&RPSDQ\H[SHFWVWRSD\TXDUWHUO\FDVKGLYLGHQGVRQLWVFRPPRQVWRFNLQWKHIXWXUHVXEMHFWWRWKHGHWHUPLQDWLRQE\WKH%RDUGRI'LUHFWRUVEDVHG
RQDQHYDOXDWLRQRIWKH&RPSDQ\¶VHDUQLQJVILQDQFLDOFRQGLWLRQDQGUHTXLUHPHQWVEXVLQHVVFRQGLWLRQVDQGRWKHUIDFWRUV

&DVKGLYLGHQGVLIDQ\DUHDFFUXHGDVDOLDELOLW\RQWKH&RPSDQ\¶VFRQVROLGDWHGEDODQFHVKHHWVDQGUHFRUGHGDVDGHFUHDVHWRDGGLWLRQDOSDLGLQFDSLWDOZKHQ
GHFODUHG

2 )DLU9DOXHRI)LQDQFLDO,QVWUXPHQWV

7KH&RPSDQ\¶VILQDQFLDOLQVWUXPHQWVLQFOXGHFDVKDQGFDVKHTXLYDOHQWVLQYHVWPHQWVHFXULWLHVDFFRXQWVSD\DEOHORQJWHUPGHEWDQGFHUWDLQRWKHUOLDELOLWLHV
7KH&RPSDQ\¶VLQYHVWPHQWVHFXULWLHVFRQVLVWSULPDULO\RI867UHDVXU\VHFXULWLHVZKLFKDUHVWDWHGDW

                                                                                       
7DEOHRI&RQWHQWV
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DPRUWL]HG FRVW DQG DXFWLRQ UDWH VHFXULWLHV ZKLFK DUH VWDWHG DW WKHLU DSSUR[LPDWH IDLU YDOXH 7KH ERRN YDOXH RI WKH ILQDQFLDO LQVWUXPHQWV H[FOXGLQJ WKH
&RPSDQ\¶VORQJWHUPGHEWLVUHSUHVHQWDWLYHRIWKHLUIDLUYDOXHV 6HH³)DLU9DOXH0HDVXUHPHQWV´1RWH 7KHIDLUYDOXHRIWKH&RPSDQ\¶VORQJWHUPGHEWLV
DSSUR[LPDWHO\ELOOLRQ DV RI 0DUFK   ZKLFK LV EDVHG RQ TXRWHG SULFHV LQ DFWLYH PDUNHWV IRU LGHQWLFDO LQVWUXPHQWV LH /HYHO  YDOXDWLRQ 
FRPSDUHGWRWKHFDUU\LQJYDOXHRIDSSUR[LPDWHO\ELOOLRQ

3   5HYHQXH5HFRJQLWLRQ

6DOHV DUH UHFRJQL]HG XSRQ SXUFKDVH E\ FXVWRPHUV DW WKH &RPSDQ\¶V UHWDLO VWRUHV RU XSRQ GHOLYHU\ IRU SURGXFWV SXUFKDVHG IURP LWV ZHEVLWHV 7KH YDOXH RI
SRLQWRIVDOHFRXSRQVDQGSRLQWRIVDOHUHEDWHVWKDWUHVXOWLQDUHGXFWLRQRIWKHSULFHSDLGE\WKHFXVWRPHUDUHUHFRUGHGDVDUHGXFWLRQRIVDOHV6KLSSLQJDQG
KDQGOLQJIHHVWKDWDUHELOOHGWRDFXVWRPHULQDVDOHWUDQVDFWLRQDUHUHFRUGHGLQVDOHV7D[HVVXFKDVVDOHVWD[XVHWD[DQGYDOXHDGGHGWD[DUHQRWLQFOXGHGLQ
VDOHV

5HYHQXHVIURPJLIWFDUGVJLIWFHUWLILFDWHVDQGPHUFKDQGLVHFUHGLWVDUHUHFRJQL]HGZKHQUHGHHPHG*LIWFDUGVKDYHQRSURYLVLRQVIRUUHGXFWLRQLQWKHYDOXHRI
XQXVHGFDUGEDODQFHVRYHUGHILQHGWLPHSHULRGVDQGKDYHQRH[SLUDWLRQGDWHV,QILVFDOWKH&RPSDQ\UHFRJQL]HGQHWVDOHVIRUJLIWFDUGDQGPHUFKDQGLVH
FUHGLWUHGHPSWLRQVRIDSSUR[LPDWHO\PLOOLRQZKLFKZHUHLQFOXGHGLQPHUFKDQGLVHFUHGLWDQGJLIWFDUGOLDELOLWLHVRQWKHFRQVROLGDWHGEDODQFHVKHHWDVRI
0DUFK

6DOHVUHWXUQVDUHSURYLGHGIRULQWKHSHULRGWKDWWKHUHODWHGVDOHVDUHUHFRUGHGEDVHGRQKLVWRULFDOH[SHULHQFH$OWKRXJKWKHHVWLPDWHIRUVDOHVUHWXUQVKDVQRW
YDULHGPDWHULDOO\IURPKLVWRULFDOSURYLVLRQVDFWXDOH[SHULHQFHFRXOGYDU\IURPKLVWRULFDOH[SHULHQFHLQWKHIXWXUHLIWKHOHYHORIVDOHVUHWXUQDFWLYLW\FKDQJHV
PDWHULDOO\,QWKHIXWXUHLIWKH&RPSDQ\FRQFOXGHVWKDWDQDGMXVWPHQWLVUHTXLUHGGXHWRPDWHULDOFKDQJHVLQWKHUHWXUQVDFWLYLW\WKHOLDELOLW\IRUHVWLPDWHG
UHWXUQVDQGWKHFRUUHVSRQGLQJULJKWRIUHWXUQDVVHWZLOOEHDGMXVWHGDFFRUGLQJO\$VRI0DUFKWKHOLDELOLW\IRUHVWLPDWHGUHWXUQVRIPLOOLRQLV
LQFOXGHGLQDFFUXHGH[SHQVHVDQGRWKHUFXUUHQWOLDELOLWLHVDQGWKHFRUUHVSRQGLQJULJKWRIUHWXUQDVVHWIRUPHUFKDQGLVHRIPLOOLRQLVLQFOXGHGLQSUHSDLG
H[SHQVHVDQGRWKHUFXUUHQWDVVHWV

7KH&RPSDQ\VHOOVDZLGHDVVRUWPHQWRIGRPHVWLFVPHUFKDQGLVHDQGKRPHIXUQLVKLQJV'RPHVWLFVPHUFKDQGLVHLQFOXGHVFDWHJRULHVVXFKDVEHGOLQHQVDQG
UHODWHGLWHPVEDWKLWHPVDQGNLWFKHQWH[WLOHV+RPHIXUQLVKLQJVLQFOXGHFDWHJRULHVVXFKDVNLWFKHQDQGWDEOHWRSLWHPVILQHWDEOHWRSEDVLFKRXVHZDUHVJHQHUDO
KRPH IXUQLVKLQJV LQFOXGLQJ IXUQLWXUH DQG ZDOO GpFRU  FRQVXPDEOHV DQG FHUWDLQ MXYHQLOH SURGXFWV 6DOHV RI GRPHVWLFV PHUFKDQGLVH DQG KRPH IXUQLVKLQJV
DFFRXQWHGIRUDSSUR[LPDWHO\ DQG  RI QHW VDOHV UHVSHFWLYHO\ IRU ILVFDO  DQG  RI QHW VDOHV UHVSHFWLYHO\ IRU ILVFDO  DQG
DQGRIQHWVDOHVUHVSHFWLYHO\IRUILVFDO

4 &RVWRI6DOHV

&RVWRIVDOHVLQFOXGHVWKHFRVWRIPHUFKDQGLVHEX\LQJFRVWVDQGFRVWVRIWKH&RPSDQ\¶VGLVWULEXWLRQQHWZRUNLQFOXGLQJLQERXQGIUHLJKWFKDUJHVGLVWULEXWLRQ
IDFLOLW\FRVWVUHFHLYLQJFRVWVLQWHUQDOWUDQVIHUFRVWVDQGVKLSSLQJDQGKDQGOLQJFRVWV

5 9HQGRU$OORZDQFHV

7KH &RPSDQ\ UHFHLYHV DOORZDQFHV IURP YHQGRUV LQ WKH QRUPDO FRXUVH RI EXVLQHVV IRU YDULRXV UHDVRQV LQFOXGLQJ GLUHFW FRRSHUDWLYH DGYHUWLVLQJ SXUFKDVH
YROXPHDQGUHLPEXUVHPHQWIRURWKHUH[SHQVHV$QQXDOWHUPVIRUHDFKDOORZDQFHLQFOXGHWKHEDVLVIRUHDUQLQJWKHDOORZDQFHDQGSD\PHQWWHUPVZKLFKYDU\
E\DJUHHPHQW$OOYHQGRUDOORZDQFHVDUHUHFRUGHGDVDUHGXFWLRQRILQYHQWRU\FRVWH[FHSWIRUGLUHFWFRRSHUDWLYHDGYHUWLVLQJDOORZDQFHVZKLFKDUHVSHFLILF
LQFUHPHQWDODQGLGHQWLILDEOH7KH&RPSDQ\UHFRJQL]HVSXUFKDVHYROXPHDOORZDQFHVDVDUHGXFWLRQRIWKHFRVWRILQYHQWRU\LQWKHTXDUWHULQZKLFKPLOHVWRQHV
DUHDFKLHYHG$GYHUWLVLQJFRVWVZHUHUHGXFHGE\GLUHFWFRRSHUDWLYHDOORZDQFHVRIPLOOLRQPLOOLRQDQGPLOOLRQIRUILVFDODQG
UHVSHFWLYHO\

6 6WRUH2SHQLQJ([SDQVLRQ5HORFDWLRQDQG&ORVLQJ&RVWV

6WRUHRSHQLQJH[SDQVLRQUHORFDWLRQDQGFORVLQJFRVWVLQFOXGLQJPDUNGRZQVDVVHWUHVLGXDOYDOXHVDQGSURMHFWHGRFFXSDQF\FRVWVDUHFKDUJHGWRHDUQLQJVDV
LQFXUUHG

7   $GYHUWLVLQJ&RVWV

3ULRUWRILVFDOH[SHQVHVDVVRFLDWHGZLWKGLUHFWUHVSRQVHDGYHUWLVLQJZHUHH[SHQVHGRYHUWKHSHULRGLQZKLFKWKHVDOHVZHUHH[SHFWHGWRRFFXUJHQHUDOO\
ILYHWRHLJKWZHHNV%HJLQQLQJLQILVFDOGXHWRWKHDGRSWLRQRI$68DGYHUWLVLQJH[SHQVHUHODWHGWRGLUHFWUHVSRQVHDGYHUWLVLQJDUHH[SHQVHGRQ
WKHILUVWGD\RIWKHGLUHFWUHVSRQVHDGYHUWLVLQJHYHQW$OORWKHUH[SHQVHVDVVRFLDWHGZLWKVWRUHDGYHUWLVLQJDUHFKDUJHGWRHDUQLQJVDVLQFXUUHG1HWDGYHUWLVLQJ
FRVWVDPRXQWHGWRPLOOLRQPLOOLRQDQGPLOOLRQIRUILVFDODQGUHVSHFWLYHO\

8 6WRFN%DVHG&RPSHQVDWLRQ

                                                                                      
7DEOHRI&RQWHQWV
    Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 95 of 155 PageID: 505
7KH &RPSDQ\ PHDVXUHV DOO HPSOR\HH VWRFNEDVHG FRPSHQVDWLRQ DZDUGV XVLQJ D IDLU YDOXH PHWKRG DQG UHFRUGV VXFK H[SHQVH LQ LWV FRQVROLGDWHG ILQDQFLDO
VWDWHPHQWV&XUUHQWO\WKH&RPSDQ\¶VVWRFNEDVHGFRPSHQVDWLRQUHODWHVWRUHVWULFWHGVWRFNDZDUGVVWRFNRSWLRQVDQGSHUIRUPDQFHVWRFNXQLWV7KH&RPSDQ\¶V
UHVWULFWHGVWRFNDZDUGVDUHFRQVLGHUHGQRQYHVWHGVKDUHDZDUGV

9 ,QFRPH7D[HV

7KH&RPSDQ\ILOHVDFRQVROLGDWHGIHGHUDOLQFRPHWD[UHWXUQ,QFRPHWD[UHWXUQVDUHDOVRILOHGZLWKHDFKWD[DEOHMXULVGLFWLRQLQZKLFKWKH&RPSDQ\FRQGXFWV
EXVLQHVV

7KH &RPSDQ\ DFFRXQWV IRU LWV LQFRPH WD[HV XVLQJ WKH DVVHW DQG OLDELOLW\ PHWKRG 'HIHUUHG WD[ DVVHWV DQG OLDELOLWLHV DUH UHFRJQL]HG IRU WKH IXWXUH WD[
FRQVHTXHQFHVDWWULEXWDEOHWRWKHGLIIHUHQFHVEHWZHHQWKHILQDQFLDOVWDWHPHQWFDUU\LQJDPRXQWVRIH[LVWLQJDVVHWVDQGOLDELOLWLHVDQGWKHLUUHVSHFWLYHWD[EDVHV
DQGRSHUDWLQJORVVDQGWD[FUHGLWFDUU\IRUZDUGV'HIHUUHGWD[DVVHWVDQGOLDELOLWLHVDUHPHDVXUHGXVLQJHQDFWHGWD[UDWHVH[SHFWHGWRDSSO\WRWD[DEOHLQFRPH
LQWKH\HDULQZKLFKWKRVHWHPSRUDU\GLIIHUHQFHVDUHH[SHFWHGWREHUHFRYHUHGRUVHWWOHG7KHHIIHFWRQGHIHUUHGWD[DVVHWVDQGOLDELOLWLHVRIDFKDQJHLQWD[
UDWHVLVUHFRJQL]HGLQHDUQLQJVLQWKHSHULRGWKDWLQFOXGHVWKHHQDFWPHQWGDWH

2Q'HFHPEHUWKH86JRYHUQPHQWHQDFWHGFRPSUHKHQVLYHWD[OHJLVODWLRQFRPPRQO\UHIHUUHGWRDVWKH7D[&XWVDQG-REV$FW WKH³7D[$FW´ 7KH
7D[$FWLQFOXGHGDPDQGDWRU\RQHWLPHWD[RQDFFXPXODWHGHDUQLQJVRIIRUHLJQVXEVLGLDULHVDQGDVDUHVXOWDOOSUHYLRXVO\XQUHPLWWHGHDUQLQJVIRUZKLFKQR
86GHIHUUHGWD[OLDELOLW\KDGEHHQSUHYLRXVO\DFFUXHGKDVQRZEHHQVXEMHFWWR86WD[1RWZLWKVWDQGLQJWKH86WD[DWLRQRIWKHVHDPRXQWVWKH&RPSDQ\
LQWHQGVWRFRQWLQXHWRUHLQYHVWWKHXQUHPLWWHGHDUQLQJVRILWV&DQDGLDQVXEVLGLDU\$FFRUGLQJO\QRDGGLWLRQDOSURYLVLRQKDVEHHQPDGHIRU86RUDGGLWLRQDO
QRQ86WD[HVZLWKUHVSHFWWRWKHVHHDUQLQJVH[FHSWIRUWKHWUDQVLWLRQWD[UHVXOWLQJIURPWKH7D[$FW,QWKHHYHQWRIUHSDWULDWLRQWRWKH86LWLVH[SHFWHG
WKDWVXFKHDUQLQJVZRXOGEHVXEMHFWWRQRQ86ZLWKKROGLQJWD[HVRIIVHWLQZKROHRULQSDUWE\86IRUHLJQWD[FUHGLWV

7KH&RPSDQ\UHFRJQL]HVWKHWD[EHQHILWIURPDQXQFHUWDLQWD[SRVLWLRQRQO\LILWLVDWOHDVWPRUHOLNHO\WKDQQRWWKDWWKHWD[SRVLWLRQZLOOEHVXVWDLQHGRQ
H[DPLQDWLRQ E\ WKH WD[LQJ DXWKRULWLHV EDVHG RQ WKH WHFKQLFDO PHULWV RI WKH SRVLWLRQ 7KH WD[ EHQHILWV UHFRJQL]HG LQ WKH ILQDQFLDO VWDWHPHQWV IURP VXFK D
SRVLWLRQDUHPHDVXUHGEDVHGRQWKHODUJHVWEHQHILWWKDWKDVDJUHDWHUWKDQILIW\SHUFHQWOLNHOLKRRGRIEHLQJUHDOL]HGXSRQVHWWOHPHQWZLWKWKHWD[LQJDXWKRULWLHV

-XGJPHQWLVUHTXLUHGLQGHWHUPLQLQJWKHSURYLVLRQIRULQFRPHWD[HVDQGUHODWHGDFFUXDOVGHIHUUHGWD[DVVHWVDQGOLDELOLWLHV,QWKHRUGLQDU\FRXUVHRIEXVLQHVV
WKHUHDUHWUDQVDFWLRQVDQGFDOFXODWLRQVZKHUHWKHXOWLPDWHWD[RXWFRPHLVXQFHUWDLQ$GGLWLRQDOO\WKH&RPSDQ\¶VWD[UHWXUQVDUHVXEMHFWWRDXGLWE\YDULRXVWD[
DXWKRULWLHV$OWKRXJKWKH&RPSDQ\EHOLHYHVWKDWLWVHVWLPDWHVDUHUHDVRQDEOHDFWXDOUHVXOWVFRXOGGLIIHUIURPWKHVHHVWLPDWHV

: (DUQLQJVSHU6KDUH

7KH&RPSDQ\SUHVHQWVHDUQLQJVSHUVKDUHRQDEDVLFDQGGLOXWHGEDVLV%DVLFHDUQLQJVSHUVKDUHLVFRPSXWHGE\GLYLGLQJQHWHDUQLQJVE\WKHZHLJKWHGDYHUDJH
QXPEHU RI VKDUHV RXWVWDQGLQJ 'LOXWHG HDUQLQJV SHU VKDUH LV FRPSXWHG E\ GLYLGLQJ QHW HDUQLQJV E\ WKH ZHLJKWHG DYHUDJH QXPEHU RI VKDUHV RXWVWDQGLQJ
LQFOXGLQJWKHGLOXWLYHHIIHFWRIVWRFNEDVHGDZDUGVDVFDOFXODWHGXQGHUWKHWUHDVXU\VWRFNPHWKRG

6WRFNEDVHGDZDUGVRIDSSUR[LPDWHO\PLOOLRQPLOOLRQDQGPLOOLRQVKDUHVZHUHH[FOXGHGIURPWKHFRPSXWDWLRQRIGLOXWHGHDUQLQJVSHUVKDUHDVWKH
HIIHFWZRXOGEHDQWLGLOXWLYHIRUILVFDODQGUHVSHFWLYHO\

5(6758&785,1*$&7,9,7,(6

,QWKHVHFRQGTXDUWHURIILVFDOWKH&RPSDQ\DFFHOHUDWHGWKHUHDOLJQPHQWRILWVVWRUHPDQDJHPHQWVWUXFWXUHWRVXSSRUWLWVFXVWRPHUIRFXVHGLQLWLDWLYHV
DQG RPQLFKDQQHO JURZWK DQG H[SHQVHG SUHWD[ FDVK UHVWUXFWXULQJ FKDUJHV RI DSSUR[LPDWHO\  PLOOLRQ SULPDULO\ IRU VHYHUDQFH DQG UHODWHG FRVWV LQ
FRQMXQFWLRQZLWKWKLVUHDOLJQPHQW'XULQJILVFDOWKH&RPSDQ\SDLGPLOOLRQRIWKHVHFRVWV

$&48,6,7,216

2Q-XQHWKH&RPSDQ\DFTXLUHG2QH.LQJV/DQH,QFDQDXWKRULW\LQKRPHGpFRUDQGGHVLJQRIIHULQJDXQLTXHFROOHFWLRQRIVHOHFWKRPHJRRGV
GHVLJQHUDQGYLQWDJHLWHPV6LQFHWKH GDWH RI DFTXLVLWLRQ WKHUHVXOWVRI2QH.LQJV/DQH¶VRSHUDWLRQVZKLFKZHUHQRWPDWHULDOKDYHEHHQLQFOXGHG LQ WKH
&RPSDQ\¶VUHVXOWVRIRSHUDWLRQVDQGQRSURIRUPDGLVFORVXUHRIILQDQFLDOLQIRUPDWLRQKDVEHHQSUHVHQWHG2QH.LQJV/DQHLVLQFOXGHGLQWKH1RUWK$PHULFDQ
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SXUFKDVHSULFHRIDSSUR[LPDWHO\PLOOLRQ6LQFHWKHGDWHRIDFTXLVLWLRQWKHUHVXOWRI30DOO¶V

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7DEOHRI&RQWHQWV
      Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 96 of 155 PageID: 506
RSHUDWLRQVZKLFKZHUHQRWPDWHULDOKDYHEHHQLQFOXGHGLQWKHUHVXOWVRIRSHUDWLRQVDQGQRSURIRUPDGLVFORVXUHRIILQDQFLDOLQIRUPDWLRQKDVEHHQSUHVHQWHG
30DOOLVLQFOXGHGLQWKH1RUWK$PHULFDQ5HWDLORSHUDWLQJVHJPHQW

'XULQJWKHWKLUGTXDUWHURIILVFDOWKH&RPSDQ\ILQDOL]HGWKHYDOXDWLRQRIDVVHWVDFTXLUHGDQGOLDELOLWLHVDVVXPHG7KHIROORZLQJWDEOHVXPPDUL]HVWKH
HVWLPDWHGIDLUYDOXHRIWKHDVVHWVDFTXLUHGDQGOLDELOLWLHVDVVXPHGDWWKHGDWHRIDFTXLVLWLRQ

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,QWDQJLEOHDVVHWV                                                                                                                                                               
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2Q -DQXDU\   WKH &RPSDQ\ DFTXLUHG FHUWDLQ DVVHWV LQFOXGLQJ WKH EUDQG ZHEVLWH DQG FHUWDLQ LQWHOOHFWXDO SURSHUW\ DVVHWV DQG DVVXPHG FHUWDLQ
FRQWUDFWXDOREOLJDWLRQVRI&KHI&HQWUDODUHWDLOHURINLWFKHQZDUHFRRNZDUHDQGKRPHZDUHLWHPVFDWHULQJWRFRRNLQJDQGEDNLQJHQWKXVLDVWV6LQFHWKHGDWHRI
DFTXLVLWLRQWKHUHVXOWVRI&KHI&HQWUDO¶VRSHUDWLRQVZKLFKZHUHQRWPDWHULDOKDYHEHHQLQFOXGHGLQWKH&RPSDQ\¶VUHVXOWVRIRSHUDWLRQVDQGQRSURIRUPD
GLVFORVXUH RI ILQDQFLDO LQIRUPDWLRQ KDV EHHQ SUHVHQWHG &KHI &HQWUDO LV LQFOXGHG LQ WKH 1RUWK $PHULFDQ 5HWDLO RSHUDWLQJ VHJPHQW 6HH ³7UDQVDFWLRQV DQG
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2Q0DUFKWKH&RPSDQ\DFTXLUHG'HFRULVW,QFDQRQOLQHLQWHULRUGHVLJQSODWIRUPWKDWSURYLGHVSHUVRQDOL]HGKRPHGHVLJQVHUYLFHV6LQFHWKHGDWHRI
DFTXLVLWLRQ WKH UHVXOWV RI 'HFRULVW¶V RSHUDWLRQV ZKLFK ZHUH QRW PDWHULDO KDYH EHHQ LQFOXGHG LQ WKH &RPSDQ\¶V UHVXOWV RI RSHUDWLRQV DQG QR SURIRUPD
GLVFORVXUHRIILQDQFLDOLQIRUPDWLRQKDVEHHQSUHVHQWHG'HFRULVWLVLQFOXGHGLQWKH1RUWK$PHULFDQ5HWDLORSHUDWLQJVHJPHQW

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PDUNHWSDUWLFLSDQWVDWWKHPHDVXUHPHQWGDWH,QGHWHUPLQLQJIDLUYDOXHWKH&RPSDQ\XVHVYDULRXVYDOXDWLRQDSSURDFKHVLQFOXGLQJTXRWHGPDUNHWSULFHVDQG
GLVFRXQWHGFDVKIORZV7KHKLHUDUFK\IRULQSXWVXVHGLQPHDVXULQJIDLUYDOXHPD[LPL]HVWKHXVHRIREVHUYDEOHLQSXWVDQGPLQLPL]HVWKHXVHRIXQREVHUYDEOH
LQSXWVE\UHTXLULQJWKDWWKHPRVWREVHUYDEOHLQSXWVEHXVHGZKHQDYDLODEOH2EVHUYDEOHLQSXWVDUHLQSXWVWKDWPDUNHWSDUWLFLSDQWVZRXOGXVHLQSULFLQJWKH
DVVHW RU OLDELOLW\ GHYHORSHG EDVHG RQ PDUNHW GDWD REWDLQHG IURP LQGHSHQGHQW VRXUFHV 8QREVHUYDEOH LQSXWV DUH LQSXWV WKDW UHIOHFW D FRPSDQ\¶V MXGJPHQW
FRQFHUQLQJWKHDVVXPSWLRQVWKDWPDUNHWSDUWLFLSDQWVZRXOGXVHLQSULFLQJWKHDVVHWRUOLDELOLW\GHYHORSHGEDVHGRQWKHEHVWLQIRUPDWLRQDYDLODEOHXQGHUWKH
FLUFXPVWDQFHV ,Q FHUWDLQ FDVHV WKH LQSXWV XVHG WR PHDVXUH IDLU YDOXH PD\ IDOO LQWR GLIIHUHQW OHYHOV RI WKH IDLU YDOXH KLHUDUFK\ ,Q VXFK FDVHV DQ DVVHW RU
OLDELOLW\PXVWEHFODVVLILHGLQLWVHQWLUHW\EDVHGRQWKHORZHVWOHYHORILQSXWWKDWLVVLJQLILFDQWWRWKHPHDVXUHPHQWRIIDLUYDOXH7KHIDLUYDOXHKLHUDUFK\LV
EURNHQGRZQLQWRWKUHHOHYHOVEDVHGRQWKHUHOLDELOLW\RILQSXWVDVIROORZV

                   /HYHO  ± 9DOXDWLRQV EDVHG RQ TXRWHG SULFHV LQ DFWLYH PDUNHWV IRU LGHQWLFDO LQVWUXPHQWV WKDW WKH &RPSDQ\ LV DEOH WR DFFHVV 6LQFH
YDOXDWLRQVDUHEDVHGRQTXRWHGSULFHVWKDWDUHUHDGLO\DQGUHJXODUO\DYDLODEOHLQDQDFWLYHPDUNHWYDOXDWLRQRIWKHVHSURGXFWVGRHVQRWHQWDLODVLJQLILFDQW
GHJUHHRIMXGJPHQW

                   /HYHO±9DOXDWLRQVEDVHGRQTXRWHGSULFHVLQDFWLYHPDUNHWVIRULQVWUXPHQWVWKDWDUHVLPLODURUTXRWHGSULFHVLQPDUNHWVWKDWDUHQRW
DFWLYHIRULGHQWLFDORUVLPLODULQVWUXPHQWVDQGPRGHOGHULYHGYDOXDWLRQVLQZKLFKDOOVLJQLILFDQWLQSXWVDQGVLJQLILFDQWYDOXHGULYHUVDUHREVHUYDEOHLQDFWLYH
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                    /HYHO±9DOXDWLRQVEDVHGRQLQSXWVWKDWDUHXQREVHUYDEOHDQGVLJQLILFDQWWRWKHRYHUDOOIDLUYDOXHPHDVXUHPHQW

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7DEOHRI&RQWHQWV
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$V RI 0DUFK   WKH &RPSDQ\¶V ILQDQFLDO DVVHWV XWLOL]LQJ /HYHO  LQSXWV LQFOXGH VKRUW WHUP WUDGLQJ LQYHVWPHQW VHFXULWLHV WUDGHG RQ DFWLYH VHFXULWLHV
H[FKDQJHV7KH&RPSDQ\GLGQRWKDYHDQ\ILQDQFLDODVVHWVXWLOL]LQJ/HYHOLQSXWV)LQDQFLDODVVHWVXWLOL]LQJ/HYHOLQSXWVLQFOXGHGORQJWHUPLQYHVWPHQWVLQ
DXFWLRQUDWHVHFXULWLHVFRQVLVWLQJRISUHIHUUHGVKDUHVRIFORVHGHQGPXQLFLSDOERQGIXQGV 6HH³,QYHVWPHQW6HFXULWLHV´1RWH 

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7KH&RPSDQ\¶VLQYHVWPHQWVHFXULWLHVDVRI0DUFKDQG0DUFKDUHDVIROORZV

    LQPLOOLRQV                                                                                                                    0DUFK              0DUFK
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RI DXFWLRQ UDWH VHFXULWLHV FRQVLVWLQJ RI SUHIHUUHG VKDUHV RI FORVHG HQG PXQLFLSDO ERQG IXQGV OHVV WHPSRUDU\ YDOXDWLRQ DGMXVWPHQWV RI DSSUR[LPDWHO\ 
PLOOLRQDQGPLOOLRQUHVSHFWLYHO\6LQFHWKHVHYDOXDWLRQDGMXVWPHQWVDUHGHHPHGWREHWHPSRUDU\WKH\DUHUHFRUGHGLQDFFXPXODWHGRWKHUFRPSUHKHQVLYH
ORVVQHWRIDUHODWHGWD[EHQHILWDQGGLGQRWDIIHFWWKH&RPSDQ\¶VQHWHDUQLQJV

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7UDGLQJ,QYHVWPHQW6HFXULWLHV

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DUHVWDWHGDWIDLUPDUNHWYDOXH 6HH³(PSOR\HH%HQHILW3ODQV´1RWH 7KHYDOXHRIWKHVHWUDGLQJLQYHVWPHQWVHFXULWLHVLQFOXGHGLQWKHWDEOHDERYHZDV
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RQWKH1RWHVLVSD\DEOHVHPLDQQXDOO\RQ)HEUXDU\DQG$XJXVWRIHDFK\HDU,QILVFDOWKH&RPSDQ\SXUFKDVHGDQGUHWLUHGPLOOLRQRIVHQLRU
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³,QGHQWXUH´ ZKLFKFRQWDLQVYDULRXVUHVWULFWLYHFRYHQDQWVZKLFKDUHVXEMHFWWRLPSRUWDQWOLPLWDWLRQVDQGH[FHSWLRQVWKDWDUHGHVFULEHGLQWKH,QGHQWXUH7KH
&RPSDQ\ZDVLQFRPSOLDQFHZLWKDOOFRYHQDQWVUHODWHGWRWKH1RWHVDVRI0DUFK

7KH1RWHVDUHXQVHFXUHGVHQLRUREOLJDWLRQVDQGUDQNHTXDOLQULJKWRISD\PHQWWRDQ\RIWKH&RPSDQ\¶VH[LVWLQJDQGIXWXUHVHQLRUXQVHFXUHGLQGHEWHGQHVV
7KH&RPSDQ\PD\UHGHHPWKH1RWHVDWDQ\WLPHLQZKROHRULQSDUWDWWKHUHGHPSWLRQSULFHVGHVFULEHGLQWKH,QGHQWXUHSOXVDFFUXHGDQGXQSDLGLQWHUHVWWR
WKHUHGHPSWLRQGDWH,IDFKDQJHLQFRQWUROWULJJHULQJHYHQWDVGHILQHGE\WKH,QGHQWXUHJRYHUQLQJWKH1RWHVRFFXUVXQOHVVWKH&RPSDQ\KDVH[HUFLVHGLWV
ULJKWWRUHGHHPWKH1RWHVWKH&RPSDQ\ZLOOEHUHTXLUHGWRPDNHDQRIIHUWRWKHKROGHUVRIWKH1RWHVWRSXUFKDVHWKH1RWHVDWRIWKHLUSULQFLSDODPRXQW
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QHZ5HYROYHUKDVHVVHQWLDOO\WKHVDPHWHUPVDQGUHTXLUHPHQWVDVWKHSULRUUHYROYLQJFUHGLWIDFLOLW\DJUHHPHQW)RUILVFDODQGWKH&RPSDQ\GLGQRW
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)XQGV5DWHSOXV RU RQHPRQWK /,%25 SOXV  DQG LQ HDFK FDVH SOXV DQ DSSOLFDEOH PDUJLQ EDVHG XSRQ WKH &RPSDQ\¶V OHYHUDJH UDWLR ZKLFK LV
FDOFXODWHG TXDUWHUO\   D SHULRGLF IL[HG UDWH HTXDO WR /,%25 SOXV DQ DSSOLFDEOH PDUJLQ EDVHG XSRQ WKH &RPSDQ\¶V OHYHUDJH UDWLR ZKLFK LV FDOFXODWHG
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RIRSHUDWLRQV7KH5HYROYHUFRQWDLQVFXVWRPDU\DIILUPDWLYHDQGQHJDWLYHFRYHQDQWVDQGDOVRUHTXLUHVWKH&RPSDQ\WRPDLQWDLQDPD[LPXPOHYHUDJHUDWLR
7KH&RPSDQ\ZDVLQFRPSOLDQFHZLWKDOOFRYHQDQWVUHODWHGWRWKH5HYROYHUDVRI0DUFK

'HIHUUHG ILQDQFLQJ FRVWV DVVRFLDWHG ZLWK WKH 1RWHV DQG WKH FXUUHQW DQG IRUPHU 5HYROYHUV RI DSSUR[LPDWHO\  PLOOLRQ ZHUH FDSLWDOL]HG ,Q WKH
DFFRPSDQ\LQJFRQVROLGDWHGEDODQFHVKHHWVWKHGHIHUUHGILQDQFLQJFRVWVDUHLQFOXGHGLQORQJWHUPGHEWQHWRIDPRUWL]DWLRQIRUWKH1RWHVDQGDUHLQFOXGHGLQ
RWKHUDVVHWVQHWRIDPRUWL]DWLRQIRUWKH5HYROYHU7KHVHGHIHUUHGILQDQFLQJFRVWVIRUWKH1RWHVDQGWKH5HYROYHUDUHEHLQJDPRUWL]HGRYHUWKHWHUPRIHDFKRI
WKH1RWHVDQGWKHWHUPRIWKH5HYROYHUDQGVXFKDPRUWL]DWLRQLVLQFOXGHGLQLQWHUHVWH[SHQVHQHWLQWKHFRQVROLGDWHGVWDWHPHQWRIRSHUDWLRQV,QWHUHVWH[SHQVH
UHODWHGWRWKH1RWHVDQGWKH5HYROYHULQFOXGLQJWKHFRPPLWPHQWIHHDQGWKHDPRUWL]DWLRQRIWKHGHIHUUHGILQDQFLQJFRVWVZDVDSSUR[LPDWHO\PLOOLRQ
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IHGHUDOFRUSRUDWHLQFRPHWD[UDWHHIIHFWLYH-DQXDU\IURPWR LL LPSRVLQJDRQH

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7DEOHRI&RQWHQWV
      Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 99 of 155 PageID: 509
WLPHWUDQVLWLRQWD[RQHDUQLQJVRIIRUHLJQVXEVLGLDULHVGHHPHGWREHUHSDWULDWHGDQG LLL LPSOHPHQWLQJDPRGLILHGWHUULWRULDOWD[V\VWHP

,Q 0DUFK  WKH )$6% LVVXHG $68  ,QFRPH 7D[HV 7RSLF   $PHQGPHQWV WR 6(& 3DUDJUDSKV 3XUVXDQW WR WKH 6HFXULWLHV DQG ([FKDQJH
&RPPLVVLRQ 6(& 6WDII$FFRXQWLQJ%XOOHWLQ1R 6$% 7KLVXSGDWHSURYLGHGJXLGDQFHRQLQFRPHWD[DFFRXQWLQJLPSOLFDWLRQVXQGHUWKH7D[
$FW6$%DGGUHVVHGWKHDSSOLFDWLRQRI*$$3WRVLWXDWLRQVZKHQDUHJLVWUDQWGRHVQRWKDYHWKHQHFHVVDU\LQIRUPDWLRQDYDLODEOHSUHSDUHGRUDQDO\]HGLQ
UHDVRQDEOH GHWDLO WR FRPSOHWH WKH DFFRXQWLQJ IRU FHUWDLQ LQFRPH WD[ HIIHFWV RI WKH 7D[ $FW DQG DOORZV FRPSDQLHV WR UHFRUG SURYLVLRQDO DPRXQWV GXULQJ D
UHPHDVXUHPHQWSHULRGQRWWRH[FHHGRQH\HDUDIWHUWKHHQDFWPHQWGDWHZKLOHWKHDFFRXQWLQJLPSDFWUHPDLQVXQGHUDQDO\VLV

7KH&RPSDQ\KDVUHDVRQDEO\HVWLPDWHGWKHLPSDFWRIWKH7D[$FWLQLWVILVFDOSURYLVLRQIRULQFRPHWD[HVLQDFFRUGDQFHZLWKLWVLQWHUSUHWDWLRQRIWKH7D[
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$V RI 'HFHPEHU   WKH &RPSDQ\ FRPSOHWHG LWV UHYLHZ RI WKH SUHYLRXVO\ UHFRUGHG SURYLVLRQDO DPRXQWV UHODWHG WR WKH 7D[ $FW DQG UHFRUGHG DQ
LPPDWHULDO IDYRUDEOH DGMXVWPHQW WR WKHVH DPRXQWV GXULQJ ILVFDO  7KH SURYLVLRQDO DPRXQWV ZHUH UHODWHG WR WKH UHPHDVXUHPHQW RI WKH &RPSDQ\¶V QHW
GHIHUUHGWD[DVVHWVDQGWKHWUDQVLWLRQWD[RQDFFXPXODWHGIRUHLJQHDUQLQJVZKLFKFROOHFWLYHO\WRWDOHGDSSUR[LPDWHO\PLOOLRQDVRI0DUFK

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$W0DUFKDQG0DUFKLQFOXGHGLQRWKHUDVVHWVLVDQHWGHIHUUHGLQFRPHWD[DVVHWRIPLOOLRQ DQG PLOOLRQ UHVSHFWLYHO\ 7KHVH
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      0HUFKDQGLVHFUHGLWVDQGJLIWFDUGOLDELOLWLHV                                                                                                          
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7KH&RPSDQ\KDVQRWHVWDEOLVKHGDYDOXDWLRQDOORZDQFHIRUWKHQHWGHIHUUHGWD[DVVHWDVLWLVFRQVLGHUHGPRUHOLNHO\WKDQQRWWKDWLWLVUHDOL]DEOHWKURXJKD
FRPELQDWLRQRIIXWXUHWD[DEOHLQFRPHDQGWKHGHGXFWLELOLW\RIIXWXUHQHWGHIHUUHGWD[OLDELOLWLHV

7KHIROORZLQJWDEOHVXPPDUL]HVWKHDFWLYLW\UHODWHGWRWKHJURVVXQUHFRJQL]HGWD[EHQHILWVIURPXQFHUWDLQWD[SRVLWLRQV

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*URVV XQUHFRJQL]HG WD[ EHQHILWV DUH FODVVLILHG LQ QRQFXUUHQW LQFRPH WD[HV SD\DEOH RU D FRQWUD GHIHUUHG WD[ DVVHW  RQ WKH FRQVROLGDWHG EDODQFH VKHHW IRU
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DQGPLOOLRQ UHVSHFWLYHO\ RI DFFUXHG LQWHUHVW 7KH &RPSDQ\ UHFRUGHG D GHFUHDVH RI LQWHUHVW RI DSSUR[LPDWHO\ PLOOLRQ IRU WKH ILVFDO \HDU HQGHG
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WRPDNHVXEVWDQWLDOIXWXUHSUHPLXPSD\PHQWV,QRUGHUWRFRQIHUDEHQHILWWRLWV&R)RXQGHUVLQVXEVWLWXWLRQIRUWKHDIRUHPHQWLRQHGWHUPLQDWHGDJUHHPHQWV
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2Q -DQXDU\   WKH &RPSDQ\ DFTXLUHG FHUWDLQ DVVHWV LQFOXGLQJ WKH EUDQG ZHEVLWH DQG FHUWDLQ LQWHOOHFWXDO SURSHUW\ DVVHWV DQG DVVXPHG FHUWDLQ
FRQWUDFWXDOREOLJDWLRQVRI&KHI&HQWUDODUHWDLOHURINLWFKHQZDUHFRRNZDUHDQGKRPHZDUHLWHPVFDWHULQJWRFRRNLQJDQGEDNLQJHQWKXVLDVWV5RQ(LVHQEHUJ
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&HQWUDOEUDQGHGVWRUHVRUGHSDUWPHQWV0U(LVHQEHUJEURXJKWPRUHWKDQ\HDUVRIVSHFLDOW\UHWDLOH[SHULHQFHDQGWKHWUDQVDFWLRQDOVRDGGHGNQRZOHGJHDEOH
DQG WDOHQWHG DVVRFLDWHV WR WKH &RPSDQ\ ZLWK JUHDW FXOLQDU\ UHWDLOLQJ H[SHUWLVH :DUUHQ (LVHQEHUJ UHFXVHG KLPVHOI IURP %RDUG RI 'LUHFWRU GHOLEHUDWLRQV
UHODWLQJWRWKHWUDQVDFWLRQ 6HH³$FTXLVLWLRQV´1RWH 

2Q$SULO:DUUHQ(LVHQEHUJDQG/HRQDUG)HLQVWHLQWUDQVLWLRQHGWRWKHUROHRI&R)RXQGHUVDQG&R&KDLUPHQ(PHULWLRIWKH%RDUGRI'LUHFWRUVRI
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7KH&RPSDQ\OHDVHVUHWDLOVWRUHVDVZHOODVGLVWULEXWLRQIDFLOLWLHVRIILFHVDQGHTXLSPHQWXQGHUDJUHHPHQWVH[SLULQJDWYDULRXVGDWHVWKURXJK&HUWDLQ
OHDVHV SURYLGH IRU FRQWLQJHQW UHQWV ZKLFK DUH EDVHG XSRQ VWRUH VDOHV H[FHHGLQJ VWLSXODWHG DPRXQWV DQG DUH LPPDWHULDO LQ ILVFDO   DQG  
VFKHGXOHG UHQW LQFUHDVHV DQG UHQHZDO RSWLRQV 7KH &RPSDQ\ LV REOLJDWHG XQGHU D PDMRULW\ RI WKH OHDVHV WR SD\ IRU WD[HV LQVXUDQFH DQG FRPPRQ DUHD
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$VRI0DUFKIXWXUHPLQLPXPOHDVHSD\PHQWVXQGHUQRQFDQFHODEOHRSHUDWLQJOHDVHVZHUHDVIROORZV

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FRQVROLGDWHGEDODQFHVKHHW0RQWKO\PLQLPXPOHDVHSD\PHQWVDUHDFFRXQWHGIRUDVSULQFLSDODQGLQWHUHVWSD\PHQWV,QWHUHVWH[SHQVHIRUDOOFDSLWDOOHDVHVZDV
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7KH &RPSDQ\ KDV ILQDQFLQJ REOLJDWLRQV UHODWHG WR WZR VDOHOHDVHEDFN DJUHHPHQWV ZKLFK DSSUR[LPDWHG WKH GLVFRXQWHG IDLU YDOXH RI WKH PLQLPXP OHDVH
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OLDELOLWLHV UHVSHFWLYHO\ LQ WKH FRQVROLGDWHG EDODQFH VKHHW 0RQWKO\ OHDVH SD\PHQWV DUH DFFRXQWHG IRU DV SULQFLSDO DQG LQWHUHVW SD\PHQWV DW DSSUR[LPDWH
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DQQXDOSUHWD[FRPSHQVDWLRQVXEMHFWWRVWDWXWRU\DQG3ODQOLPLWDWLRQV,QDGGLWLRQDFHUWDLQSHUFHQWDJHRIDQHPSOR\HH¶VFRQWULEXWLRQVDUHPDWFKHGE\WKH
&RPSDQ\DQGYHVWRYHUDVSHFLILHGSHULRGRIWLPHVXEMHFWWRFHUWDLQVWDWXWRU\DQG3ODQOLPLWDWLRQV7KH&RPSDQ\¶VPDWFKZDVDSSUR[LPDWHO\PLOOLRQ
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SDUWLFLSDQWVEDODQFHVZHUHOLTXLGDWHGDQGGLVEXUVHGWRWKRVHSDUWLFLSDQWV

7KH&RPSDQ\¶V14'&ZDVIRUWKHEHQHILWRIHPSOR\HHVZKRDUHGHILQHGE\WKH,QWHUQDO5HYHQXH6HUYLFHDVKLJKO\FRPSHQVDWHG3DUWLFLSDQWVRIWKH14'&
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KDYHEHHQPDWFKHGE\WKH&RPSDQ\DQGYHVWHGRYHUDVSHFLILHGSHULRGRIWLPHVXEMHFWWRFHUWDLQSODQOLPLWDWLRQV7KH&RPSDQ\¶VPDWFKZDVDSSUR[LPDWHO\
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7KH&RPSDQ\KDVDQRQFRQWULEXWRU\GHILQHGEHQHILWSHQVLRQSODQIRUWKH&76HPSOR\HHVKLUHGRQRUEHIRUH-XO\ZKRPHHWVSHFLILHGDJHDQG
OHQJWKRIVHUYLFHUHTXLUHPHQWV7KHEHQHILWVDUHEDVHGRQ\HDUVRIVHUYLFHDQGWKHHPSOR\HH¶VFRPSHQVDWLRQXSXQWLOUHWLUHPHQW7KH&RPSDQ\UHFRJQL]HVWKH
RYHUIXQGHGRUXQGHUIXQGHGVWDWXVRIWKHSHQVLRQSODQDVDQDVVHWRUOLDELOLW\LQLWVVWDWHPHQWRIILQDQFLDOSRVLWLRQDQGUHFRJQL]HVFKDQJHVLQWKHIXQGHGVWDWXV
LQWKH\HDULQZKLFKWKHFKDQJHVRFFXU)RUWKH\HDUVHQGHG0DUFK0DUFKDQG)HEUXDU\   WKH QHW SHULRGLF SHQVLRQ FRVW ZDV QRW
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7KH'LVWULFW$WWRUQH\ VRIILFHIRUWKH&RXQW\RI9HQWXUD&DOLIRUQLDWRJHWKHUZLWK'LVWULFW$WWRUQH\VIRURWKHUFRXQWLHVLQ&DOLIRUQLD WRJHWKHUWKH³'LVWULFW
$WWRUQH\V UHFHQWO\FRQFOXGHGDQLQYHVWLJDWLRQUHJDUGLQJWKHPDQDJHPHQWDQGGLVSRVDODWWKH&RPSDQ\ VVWRUHVLQ&DOLIRUQLDRIFHUWDLQPDWHULDOVWKDWPD\
EHGHHPHGKD]DUGRXVRUXQLYHUVDOZDVWHXQGHU&DOLIRUQLDODZ2Q0DUFKWKH'LVWULFW$WWRUQH\VSURYLGHGWKH&RPSDQ\ZLWKDVHWWOHPHQWGHPDQG
WKDWLQFOXGHGDSURSRVHGFLYLOSHQDOW\UHLPEXUVHPHQWRILQYHVWLJDWLRQFRVWVDQGFHUWDLQLQMXQFWLYHUHOLHILQFOXGLQJPRGLILFDWLRQVWRWKH&RPSDQ\ VH[LVWLQJ
FRPSOLDQFHSURJUDPZKLFKDOUHDG\LQFOXGHVDVVRFLDWHWUDLQLQJRQJRLQJUHYLHZRIGLVSRVDOUXOHVDSSOLFDEOHWRYDULRXVSURGXFWFDWHJRULHVDQGVSHFLDOL]HG
WKLUGSDUW\GLVSRVDO7KH&RPSDQ\LVZRUNLQJZLWKWKH'LVWULFW$WWRUQH\VWRZDUGVDUHVROXWLRQRIWKLVPDWWHUDQGKDVUHFRUGHGDQDFFUXDOIRUWKHHVWLPDWHG
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7KH&RPSDQ\PDLQWDLQVHPSOR\PHQWDJUHHPHQWVZLWKLWV&R)RXQGHUV8QGHUWKHVHDJUHHPHQWVWKH&R)RXQGHUVFRXOGDWDQ\WLPHHOHFWVHQLRUVWDWXV LH
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WHUPLQDWLRQDQGRWKHURUDGGLWLRQDOEHQHILWVLQDFFRUGDQFHZLWKWKHDSSOLFDEOHSODQVDQGSURJUDPVXQWLOWKHHDUOLHURIGHDWKRIWKHVXUYLYRURIWKH&R)RXQGHU
DQG KLV VSRXVH RU WKH GDWH V  KH UHFHLYHV HTXLYDOHQW FRYHUDJH DQG EHQHILWV IURP D VXEVHTXHQW HPSOR\HU  ,Q DGGLWLRQ WKH &R)RXQGHUV DUH HQWLWOHG WR
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7KH&RPSDQ\UHFRUGVDQHVWLPDWHGOLDELOLW\UHODWHGWRLWVYDULRXVFODLPVDQGOHJDODFWLRQVDULVLQJLQWKHRUGLQDU\FRXUVHRIEXVLQHVVZKHQDQGWRWKHH[WHQW
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DQGOHJDODFWLRQVDQGUHYLVHVLWVHVWLPDWHGOLDELOLWLHVDVDSSURSULDWH7KH&RPSDQ\H[SHFWVWKHXOWLPDWHGLVSRVLWLRQRIWKHVHPDWWHUVZLOOQRWKDYHDPDWHULDO
DGYHUVHHIIHFWRQWKH&RPSDQ\¶VFRQVROLGDWHGILQDQFLDOSRVLWLRQUHVXOWVRIRSHUDWLRQVRUOLTXLGLW\7KH&RPSDQ\DOVRFDQQRWSUHGLFWWKHQDWXUHDQGYDOLGLW\RI
FODLPVZKLFKFRXOGEHDVVHUWHGLQWKHIXWXUHDQGIXWXUHFODLPVFRXOGKDYHDPDWHULDOLPSDFWRQLWVHDUQLQJV

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7KH &RPSDQ\ UHFRUGHG DQ DFFUXDO IRU FDSLWDO H[SHQGLWXUHV RI PLOOLRQ PLOOLRQ DQG  PLOOLRQ DV RI 0DUFK   0DUFK   DQG
)HEUXDU\UHVSHFWLYHO\,QDGGLWLRQWKH&RPSDQ\UHFRUGHGDQDFFUXDOIRUGLYLGHQGVSD\DEOHRIPLOOLRQDQGPLOOLRQDVRI0DUFK
DQG0DUFKUHVSHFWLYHO\7KH&RPSDQ\GLGQRWGHFODUHDQ\GLYLGHQGVSULRUWRILVFDO,QILVFDOWKH&RPSDQ\UHFRUGHGDPLOOLRQQRWH
UHFHLYDEOHLQFRQQHFWLRQZLWKWKHVDOHRIDEXLOGLQJ

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7DEOHRI&RQWHQWV
    Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 104 of 155 PageID: 514
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7KH&RPSDQ\PHDVXUHVDOOHPSOR\HHVWRFNEDVHGFRPSHQVDWLRQDZDUGVXVLQJDIDLUYDOXHPHWKRGDQGUHFRUGVVXFKH[SHQVHQHWRIHVWLPDWHGIRUIHLWXUHVLQ
LWVFRQVROLGDWHGILQDQFLDOVWDWHPHQWV&XUUHQWO\WKH&RPSDQ\¶VVWRFNEDVHGFRPSHQVDWLRQUHODWHVWRUHVWULFWHGVWRFNDZDUGVVWRFNRSWLRQVDQGSHUIRUPDQFH
VWRFNXQLWV7KH&RPSDQ\¶VUHVWULFWHGVWRFNDZDUGVDUHFRQVLGHUHGQRQYHVWHGVKDUHDZDUGV

6WRFNEDVHGFRPSHQVDWLRQH[SHQVHIRUWKHILVFDO\HDUHQGHG0DUFK0DUFKDQG)HEUXDU\ZDVDSSUR[LPDWHO\PLOOLRQ 
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,QFHQWLYH&RPSHQVDWLRQ3ODQV

7KH&RPSDQ\FXUUHQWO\JUDQWVDZDUGVXQGHUWKH%HG%DWK %H\RQG,QFHQWLYH&RPSHQVDWLRQ3ODQ WKH³3ODQ´ ZKLFKLQFOXGHVDQDJJUHJDWHRI
PLOOLRQ VKDUHV RI FRPPRQ VWRFN DXWKRUL]HG IRU LVVXDQFH RI DZDUGV SHUPLWWHG XQGHU WKH  3ODQ LQFOXGLQJ VWRFN RSWLRQV VWRFN DSSUHFLDWLRQ ULJKWV
UHVWULFWHG VWRFN DZDUGV SHUIRUPDQFH DZDUGV DQG RWKHU VWRFN EDVHG DZDUGV 7KH  3ODQ VXSSOHPHQWV WKH %HG %DWK  %H\RQG  ,QFHQWLYH
&RPSHQVDWLRQ3ODQ WKH3ODQ ZKLFKDPHQGHGDQGUHVWDWHGWKH%HG%DWK %H\RQG,QFHQWLYH&RPSHQVDWLRQ3ODQ WKH³3ODQ´ 7KH
3ODQ LQFOXGHV DQ DJJUHJDWH RI PLOOLRQ FRPPRQ VKDUHV DXWKRUL]HG IRU LVVXDQFH RI DZDUGV SHUPLWWHG XQGHU WKH  3ODQ VLPLODU WR WKH  3ODQ 
2XWVWDQGLQJDZDUGVWKDWZHUHFRYHUHGE\WKH3ODQFRQWLQXHWREHLQHIIHFWXQGHUWKH3ODQ

6LPLODU WR WKH  3ODQ WKH  3ODQ LV D IOH[LEOH FRPSHQVDWLRQ SODQ WKDW HQDEOHV WKH &RPSDQ\ WR RIIHU LQFHQWLYH FRPSHQVDWLRQ WKURXJK VWRFN RSWLRQV
 ZKHWKHUQRQTXDOLILHGVWRFNRSWLRQVRULQFHQWLYHVWRFNRSWLRQV UHVWULFWHGVWRFNDZDUGVVWRFNDSSUHFLDWLRQULJKWVSHUIRUPDQFHDZDUGVDQGRWKHUVWRFNEDVHG
DZDUGVLQFOXGLQJFDVKDZDUGV8QGHUWKH3ODQJUDQWVDUHGHWHUPLQHGE\WKH&RPSHQVDWLRQ&RPPLWWHHIRUWKRVHDZDUGVJUDQWHGWRH[HFXWLYHRIILFHUV
DQGE\DQDSSURSULDWHFRPPLWWHHIRUDOORWKHUDZDUGVJUDQWHG$ZDUGVRIVWRFNRSWLRQVDQGUHVWULFWHGVWRFNJHQHUDOO\YHVWLQILYHHTXDODQQXDOLQVWDOOPHQWV
EHJLQQLQJRQHWRWKUHH\HDUV IURP WKH GDWH RI JUDQW $ZDUGV RI SHUIRUPDQFH VWRFN XQLWV JHQHUDOO\ YHVW RYHU D SHULRG RI IRXU\HDUV IURP WKH GDWH RI JUDQW
GHSHQGHQW RQ WKH &RPSDQ\¶V DFKLHYHPHQW RI SHUIRUPDQFHEDVHG WHVWV DQG VXEMHFW LQ JHQHUDO WR WKH H[HFXWLYH UHPDLQLQJ LQ WKH &RPSDQ\¶V VHUYLFH RQ
VSHFLILHGYHVWLQJGDWHV

7KH&RPSDQ\JHQHUDOO\LVVXHVQHZVKDUHVIRUVWRFNRSWLRQH[HUFLVHVUHVWULFWHGVWRFNDZDUGVDQGYHVWLQJRISHUIRUPDQFHVWRFNXQLWV

6WRFN2SWLRQV

6WRFNRSWLRQJUDQWVDUHLVVXHGDWIDLUPDUNHWYDOXHRQWKHGDWHRIJUDQWDQGJHQHUDOO\EHFRPHH[HUFLVDEOHLQHLWKHUWKUHHRUILYHHTXDODQQXDO LQVWDOOPHQWV
EHJLQQLQJRQH\HDUIURPWKHGDWHRIJUDQWIRURSWLRQVLVVXHGVLQFH0D\DQGEHJLQQLQJRQHWRWKUHH\HDUVIURPWKHGDWHRIJUDQWIRURSWLRQVLVVXHG
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HLJKW\HDUV DIWHU WKH GDWH RI JUDQW $OO RSWLRQ JUDQWV DUH QRQTXDOLILHG $V RI 0DUFK   XQUHFRJQL]HG FRPSHQVDWLRQ H[SHQVH UHODWHG WR WKH XQYHVWHG
SRUWLRQRIWKH&RPSDQ\¶VVWRFNRSWLRQVZDVPLOOLRQZKLFKLVH[SHFWHGWREHUHFRJQL]HGRYHUDZHLJKWHGDYHUDJHSHULRGRI\HDUV

7KHIDLUYDOXHRIWKHVWRFNRSWLRQVJUDQWHGZDVHVWLPDWHGRQWKHGDWHRIWKHJUDQWXVLQJD%ODFN6FKROHVRSWLRQSULFLQJPRGHOWKDWXVHVWKHDVVXPSWLRQVQRWHG
LQWKHIROORZLQJWDEOH

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%ODFN6FKROHV9DOXDWLRQ$VVXPSWLRQV                                                                0DUFK           0DUFK         )HEUXDU\
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 ([SHFWHGYRODWLOLW\LVEDVHGRQWKHDYHUDJHRIKLVWRULFDODQGLPSOLHGYRODWLOLW\7KHKLVWRULFDOYRODWLOLW\LVGHWHUPLQHGE\REVHUYLQJDFWXDOSULFHVRIWKH
&RPSDQ\¶VVWRFNRYHUDSHULRGFRPPHQVXUDWHZLWKWKHH[SHFWHGOLIHRIWKHDZDUGV7KHLPSOLHGYRODWLOLW\

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7DEOHRI&RQWHQWV
   Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 105 of 155 PageID: 515
UHSUHVHQWVWKHLPSOLHGYRODWLOLW\RIWKH&RPSDQ\¶VFDOORSWLRQVZKLFKDUHDFWLYHO\WUDGHGRQPXOWLSOHH[FKDQJHVKDGUHPDLQLQJPDWXULWLHVLQH[FHVVRIWZHOYH
PRQWKVKDGPDUNHWSULFHVFORVHWRWKHH[HUFLVHSULFHVRIWKHHPSOR\HHVWRFNRSWLRQVDQGZHUHPHDVXUHGRQWKHVWRFNRSWLRQJUDQWGDWH
  %DVHGRQWKH867UHDVXU\FRQVWDQWPDWXULW\LQWHUHVWUDWHZKRVHWHUPLVFRQVLVWHQWZLWKWKHH[SHFWHGOLIHRIWKHVWRFNRSWLRQV
  ([SHFWHGGLYLGHQG\LHOGLVHVWLPDWHGEDVHGRQDQWLFLSDWHGGLYLGHQGSD\RXWV

&KDQJHVLQWKH&RPSDQ\¶VVWRFNRSWLRQVIRUWKHILVFDO\HDUHQGHG0DUFKZHUHDVIROORZV

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 6KDUHVLQWKRXVDQGV                                                                                                              2SWLRQV      ([HUFLVH3ULFH
2SWLRQVRXWVWDQGLQJEHJLQQLQJRISHULRG                                                                                                                    
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([HUFLVHG                                                                                                                                     ²                      ²
)RUIHLWHGRUH[SLUHG                                                                                                                                           
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7KH ZHLJKWHG DYHUDJH IDLU YDOXH IRU WKH VWRFN RSWLRQV JUDQWHG LQ ILVFDO  DQG  ZDV   DQG  UHVSHFWLYHO\ 7KH ZHLJKWHG
DYHUDJHUHPDLQLQJFRQWUDFWXDOWHUPDQGWKHDJJUHJDWHLQWULQVLFYDOXHIRURSWLRQVRXWVWDQGLQJDVRI0DUFKZDV\HDUVDQGWKHDJJUHJDWHLQWULQVLF
YDOXHZDV7KHZHLJKWHGDYHUDJHUHPDLQLQJFRQWUDFWXDOWHUPIRURSWLRQVH[HUFLVDEOHDVRI0DUFKZDV\HDUVDQGWKHDJJUHJDWHLQWULQVLFYDOXH
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DQGPLOOLRQUHVSHFWLYHO\

5HVWULFWHG6WRFN

5HVWULFWHG VWRFN DZDUGV DUH LVVXHG DQG PHDVXUHG DW IDLU PDUNHW YDOXH RQ WKH GDWH RI JUDQW DQG JHQHUDOO\ EHFRPH YHVWHG LQ ILYHHTXDODQQXDOLQVWDOOPHQWV
EHJLQQLQJRQHWRWKUHH\HDUVIURPWKHGDWHRIJUDQWVXEMHFWLQJHQHUDOWRWKHUHFLSLHQWUHPDLQLQJLQWKH&RPSDQ\¶VVHUYLFHRQVSHFLILHGYHVWLQJGDWHV9HVWLQJ
RI UHVWULFWHG VWRFN LV EDVHG VROHO\ RQ WLPH YHVWLQJ $V RI 0DUFK   XQUHFRJQL]HG FRPSHQVDWLRQ H[SHQVH UHODWHG WR WKH XQYHVWHG SRUWLRQ RI WKH
&RPSDQ\¶VUHVWULFWHGVWRFNDZDUGVZDVPLOOLRQZKLFKLVH[SHFWHGWREHUHFRJQL]HGRYHUDZHLJKWHGDYHUDJHSHULRGRI\HDUV

&KDQJHVLQWKH&RPSDQ\¶VUHVWULFWHGVWRFNIRUWKHILVFDO\HDUHQGHG0DUFKZHUHDVIROORZV

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 6KDUHVLQWKRXVDQGV                                                                                                         5HVWULFWHG6KDUHV       9DOXH
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)RUIHLWHG                                                                                                                                                      
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H[HFXWLYHVLVGHSHQGHQWRQWKH&RPSDQ\¶VDFKLHYHPHQWRIDSHUIRUPDQFHEDVHGWHVWGXULQJDRQH\HDUSHULRGIURPWKHGDWHRIJUDQWDQGGXULQJDWKUHH\HDU
SHULRGIURPWKHGDWHRIJUDQWDQGDVVXPLQJDFKLHYHPHQWRIWKHSHUIRUPDQFHEDVHGWHVWWLPHYHVWLQJRYHUSHULRGVRIXSWRIRXU\HDUVVXEMHFWLQJHQHUDOWR
WKH H[HFXWLYH UHPDLQLQJ LQ WKH &RPSDQ\¶V VHUYLFH RQ VSHFLILHG YHVWLQJ GDWHV 3HUIRUPDQFH GXULQJ WKH RQH\HDU SHULRG ZLOO EH EDVHG RQ (DUQLQJV %HIRUH
,QWHUHVW DQG 7D[HV ³(%,7´  PDUJLQ UHODWLYH WR D SHHU JURXS RI WKH &RPSDQ\ DQG SHUIRUPDQFH GXULQJ WKH WKUHH\HDU SHULRG ZLOO EH EDVHG RQ 5HWXUQ RQ
,QYHVWHG&DSLWDO ³52,&´ RUDFRPELQDWLRQRI(%,7PDUJLQDQG52,&UHODWLYHWRVXFKSHHUJURXS7KHDZDUGVEDVHGRQ(%,7PDUJLQDQG52,&UDQJHIURP
DIORRURI]HURWRDFDSRIRIWDUJHWDFKLHYHPHQW368VDUHFRQYHUWHGLQWRVKDUHVRIFRPPRQVWRFNXSRQSD\PHQWIROORZLQJYHVWLQJ8SRQJUDQWRIWKH
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7DEOHRI&RQWHQWV
      Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 106 of 155 PageID: 516
RQ WKH DVVXPSWLRQ WKDW  RI WKH WDUJHW DZDUG ZLOO EH DFKLHYHG 7KH &RPSDQ\ HYDOXDWHV WKH WDUJHW DVVXPSWLRQ RQ D TXDUWHUO\ EDVLV DQG DGMXVWV
FRPSHQVDWLRQH[SHQVHUHODWHGWRWKHVHDZDUGVDVDSSURSULDWH$VRI0DUFKXQUHFRJQL]HGFRPSHQVDWLRQH[SHQVHUHODWHGWRWKHXQYHVWHGSRUWLRQRI
WKH&RPSDQ\¶VSHUIRUPDQFHVWRFNXQLWVZDVPLOOLRQZKLFKLVH[SHFWHGWREHUHFRJQL]HGRYHUDZHLJKWHGDYHUDJHSHULRGRI\HDUV

&KDQJHVLQWKH&RPSDQ\¶V368VIRUWKHILVFDO\HDUHQGHG0DUFKZHUHDVIROORZV

                                                                                                                                                1XPEHURI              :HLJKWHG$YHUDJH
                                                                                                                                               3HUIRUPDQFH             *UDQW'DWH)DLU
    6KDUHVLQWKRXVDQGV                                                                                                                        6WRFN8QLWV                9DOXH
8QYHVWHGSHUIRUPDQFHVWRFNXQLWVEHJLQQLQJRISHULRG                                                                                                                         
*UDQWHG                                                                                                                                                                        
9HVWHG                                                                                                                                                                           
)RUIHLWHG                                                                                                                                                                         
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                                                                       6HSWHPEHU       'HFHPEHU        0DUFK         0D\        $XJXVW         1RYHPEHU          0DUFK
    LQWKRXVDQGVH[FHSWSHUVKDUHGDWD             -XQH                                                                                        
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1HWHDUQLQJV ORVV                                                                                                                
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ZHFRQVLGHUHGQHFHVVDU\LQWKHFLUFXPVWDQFHV:HEHOLHYHWKDWRXUDXGLWSURYLGHVDUHDVRQDEOHEDVLVIRURXURSLQLRQ

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ILQDQFLDOUHSRUWLQJLQFOXGHVWKRVHSROLFLHVDQGSURFHGXUHVWKDW  SHUWDLQWRWKHPDLQWHQDQFHRIUHFRUGVWKDWLQUHDVRQDEOHGHWDLODFFXUDWHO\DQGIDLUO\UHIOHFW
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PDGH RQO\ LQ DFFRUGDQFH ZLWK DXWKRUL]DWLRQV RI PDQDJHPHQW DQG GLUHFWRUV RI WKH FRPSDQ\ DQG   SURYLGH UHDVRQDEOH DVVXUDQFH UHJDUGLQJ SUHYHQWLRQ RU
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                    $GGHQGXPWR6WRFN2SWLRQ$JUHHPHQWVIRU(XJHQH$&DVWDJQD0DWWKHZ)LRULOOLDQG$UWKXU6WDUNGDWHG'HFHPEHU
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                    $PHQGHGDQG5HVWDWHG(PSOR\PHQW$JUHHPHQWEHWZHHQWKH&RPSDQ\DQG:DUUHQ(LVHQEHUJGDWHGDVRI'HFHPEHU
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                    $PHQGHGDQG5HVWDWHG6XSSOHPHQWDO([HFXWLYH5HWLUHPHQW%HQHILW$JUHHPHQWEHWZHHQWKH&RPSDQ\DQG6WHYHQ+7HPDUHVGDWHG
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                    3HUIRUPDQFH%DVHG)RUPRI5HVWULFWHG6WRFN$JUHHPHQWXQGHU6WRFN,QFHQWLYH3ODQ LQFRUSRUDWHGE\UHIHUHQFHWR([KLELWWR
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                  UHFHQWILVFDOTXDUWHU WKHUHJLVWUDQW¶VIRXUWKILVFDOTXDUWHULQWKHFDVHRIDQDQQXDOUHSRUW WKDWKDVPDWHULDOO\DIIHFWHGRULVUHDVRQDEO\OLNHO\
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      ȕ  $SSRLQWLQJ3DWULFN*DVWRQWUDQVIRUPDWLRQDOOHDGHUDQGVHDVRQHGH[HFXWLYHDV,QGHSHQGHQW&KDLURIWKH%RDUG
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       ȕ  $FWLYHO\VHDUFKLQJIRUDSHUPDQHQW&(2ZKRZLOOEULQJWUDQVIRUPDWLRQDQGLQQRYDWLRQH[SHULHQFHLQWKHUHWDLOVHFWRUWRWKH&RPSDQ\7KH
           VHDUFKSURFHVVLVEHLQJOHGE\DGHGLFDWHG&(26HDUFK&RPPLWWHH ZKLFKZLOOLQFOXGHWZRRIWKHGLUHFWRUVZKRMRLQHGWKH%RDUGLQ
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           FRQQHFWLRQZLWKWRGD\ȍVDQQRXQFHPHQW FKDLUHGE\LQGHSHQGHQWGLUHFWRU9LUJLQLD5XHVWHUKRO]WKHUHFHQWO\DSSRLQWHGFKDLURIWKH
           1RPLQDWLQJDQG*RYHUQDQFH&RPPLWWHHDQGLVVXSSRUWHGE\DOHDGLQJH[HFXWLYHVHDUFKILUPDQG
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       ȕ  &UHDWLQJD%XVLQHVV7UDQVIRUPDWLRQDQG6WUDWHJ\5HYLHZ&RPPLWWHH ZKLFKZLOOLQFOXGHWZRRIWKHGLUHFWRUVZKRMRLQHGWKH%RDUGLQ
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           FRQQHFWLRQZLWKWRGD\ȍVDQQRXQFHPHQW FKDLUHGE\$QGUHD:HLVVDORQJWLPHUHWDLOH[HFXWLYHDQGLQQRYDWRU

3DWULFN*DVWRQ,QGHSHQGHQW&KDLUPDQRIWKH%HG%DWK %H\RQG%RDUGVDLGȐ:HKDYHVLJQLILFDQWO\WUDQVIRUPHGWKH%HG%DWK %H\RQG%RDUGZLWK
WKHDSSRLQWPHQWRIQLQHQHZLQGHSHQGHQWGLUHFWRUVRYHUWKHODVWPRQWK,DPSOHDVHGWRZHOFRPH-RKQ6XH-HIIUH\DQG-RVKXDDVQHZLQGHSHQGHQW
GLUHFWRUVZKREULQJDGGLWLRQDOILQDQFLDOUHWDLOHFRPPHUFHDQGOHDGHUVKLSH[SHULHQFHWRFRPSOHPHQWRXU%RDUGȍVVWURQJTXDOLILFDWLRQVVNLOOVDQG
H[SHUWLVH:HDSSUHFLDWHWKHZRUNXQGHUWDNHQE\WKH,QYHVWRU*URXSDQGWKHLUFRQWULEXWLRQVDQGDUHH[FLWHGWRZRUNFROODERUDWLYHO\ZLWKDOORIRXU%RDUG
PHPEHUVDQGRXUVKDUHKROGHUVWRHPEUDFHRSSRUWXQLWLHVWRFUHDWHODVWLQJYDOXHIRUWKH&RPSDQ\DQGDOOLWVVWDNHKROGHUV7KHQHZO\WUDQVIRUPHG%RDUG
EULQJVULFKGLYHUVLW\RISHUVSHFWLYHVEDFNJURXQGVDJHVJHQGHUUDFHDQGHWKQLFLW\DQGUHIOHFWVWKHGLYHUVLW\RIWKH&RPSDQ\ȍVOR\DOFXVWRPHUVDQG
GHGLFDWHGDVVRFLDWHV:HEHOLHYHWKDWRXUUHIUHVKHG%RDUGLVZHOOHTXLSSHGWRRYHUVHHDQGGULYHWKHEXVLQHVVWUDQVIRUPDWLRQXQGHUZD\DQGZHORRN
IRUZDUGWRZRUNLQJWLUHOHVVO\RQEHKDOIRIDOOVKDUHKROGHUVWRFUHDWHVLJQLILFDQWYDOXHȑ

0DU\:LQVWRQ,QWHULP&KLHI([HFXWLYH2IILFHURI%HG%DWK %H\RQGVDLGȐ%HG%DWK %H\RQGLVDQLFRQLFUHWDLOHUZLWKJUHDWEUDQGVVWURQJ
FXVWRPHUDIILQLW\DQGKDUGZRUNLQJDVVRFLDWHV:HDUHDWDQLPSRUWDQWLQIOHFWLRQSRLQWLQWKH&RPSDQ\ȍVKLVWRU\DQGZLWKWKHEHQHILWRIDQHZO\
WUDQVIRUPHG%RDUGWKH&RPSDQ\LVFRPPLWWHGWRWDNLQJWKHULJKWDFWLRQVWRIXUWKHUHQKDQFHRXUFRPSHWLWLYHDQGILQDQFLDOSRVLWLRQWUDQVIRUP%HG
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7KH,QYHVWRU*URXSVWDWHGȐ:HDUHSOHDVHGWRKDYHUHDFKHGWKLVUHVROXWLRQZLWK%HG%DWK %H\RQGZKLFKLVWKHUHVXOWRIFROODERUDWLYHGLDORJXHDQG
LQWHQVLYHHQJDJHPHQWZLWKWKH&RPSDQ\7RJHWKHUZLWKWKHH[LVWLQJ%RDUGPHPEHUVWKHVHIRXUQHZLQGHSHQGHQWGLUHFWRUVZLOOKHOSWKH&RPSDQ\
QDYLJDWHWKHFXUUHQWRPQLFKDQQHOUHWDLOHQYLURQPHQWDQGSXUVXHRXUVKDUHGJRDORIHQKDQFLQJVKDUHKROGHUYDOXH:HDUHRSWLPLVWLFDERXWWKH&RPSDQ\ȍV
HIIRUWVWRILQGDEHVWLQFODVV&(2WRGULYHVKDUHKROGHUYDOXHDQGDSSODXGWKH%RDUGȍVFRPPLWPHQWWREXLOGLQJDQHYHQVWURQJHUIXWXUHIRUVKDUHKROGHUV
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,QFRQQHFWLRQZLWKWKHDSSRLQWPHQWVRIWKHIRXUQHZLQGHSHQGHQWGLUHFWRUV%HG%DWK %H\RQGKDVHQWHUHGLQWRDFRRSHUDWLRQDQGVXSSRUWDJUHHPHQW
ZLWKWKH,QYHVWRU*URXSZKLFKWRJHWKHURZQVDSSUR[LPDWHO\RIWKH&RPSDQ\ȍVRXWVWDQGLQJFRPPRQVWRFN8QGHUWKHWHUPVRIWKHDJUHHPHQW
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GLUHFWRUQRPLQHHVDWWKHDQG$QQXDO0HHWLQJVRI
6KDUHKROGHUVZKLFKZLOOLQFOXGHWKHIRXUQHZLQGHSHQGHQWGLUHFWRUVDSSRLQWHGWRGD\7KH,QYHVWRU*URXSDOVRKDVDJUHHGWRDELGHE\FHUWDLQFXVWRPDU\
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VWDQGVWLOOSURYLVLRQVXQWLOGD\VSULRUWRWKHFORVHRIWKHQRPLQDWLRQZLQGRZIRUWKH&RPSDQ\ȍV$QQXDO0HHWLQJRI6KDUHKROGHUV7KHOLWLJDWLRQ
ILOHGE\DPHPEHURIWKH,QYHVWRU*URXSLVDOVREHLQJZLWKGUDZQDQGGLVPLVVHG7KHFRPSOHWHDJUHHPHQWZLOOEHILOHGRQD)RUP.ZLWKWKH86
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$ERXWWKH1HZ'LUHFWRUV
-RKQ()OHPLQJDJHKDVVHUYHGDVDPHPEHURIWKH$GYLVRU\%RDUGRI8178&.LW//&DFDVXDOPHQȍVDSSDUHOFRPSDQ\VLQFH'HFHPEHU
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0HUFKDQGLVLQJ2IILFHU WR )URPWR0U)OHPLQJZDVWKH&KLHI([HFXWLYH2IILFHURI:DOPDUWFRP:DOPDUWȍVHFRPPHUFH
SODWIRUPDQGZDVWKH&KLHI0HUFKDQGLVLQJ2IILFHULQ+HEHJDQKLVFDUHHUDW'D\WRQ+XGVRQSUHYLRXVO\DGHSDUWPHQWVWRUHFKDLQDQGURVH
WKURXJKWKHUDQNVWREHFRPHWKH6HQLRU9LFH3UHVLGHQWRI0HUFKDQGLVLQJ+HZDVDW'D\WRQ+XGVRQIURPWR6LQFH$SULO0U)OHPLQJ
KDVVHUYHGRQWKH%RDUGRI'LUHFWRUVRI86$+RFNH\)RXQGDWLRQWKHSKLODQWKURSLFDUPRI86$+RFNH\+HSUHYLRXVO\VHUYHGRQWKH%RDUGRI
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6RXWKHDVWHUQ*URFHUVDVXSHUPDUNHWSRUWIROLRIURPWRDQG:DOPDUWGH0©[LFR\&HQWURDP©ULFDWKH0H[LFDQDQG&HQWUDO$PHULFDQ
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*ROIVPLWK,QWHUQDWLRQDO+ROGLQJV,QFDQ$PHULFDQJROIVSHFLDOW\UHWDLOHUIURP2FWREHUWR$SULODQG3UHVLGHQWIURP)HEUXDU\WR$SULO
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MHZHOU\UHWDLOHUZKHUHVKHVHUYHGLQVHQLRUILQDQFLDORSHUDWLQJDQGVWUDWHJLFUROHVFXOPLQDWLQJLQWKH(93DQG&KLHI2SHUDWLQJ2IILFHUUROH0V*RYH
FXUUHQWO\VHUYHVRQWKHERDUGVRI7DLORUHG%UDQGV,QFDUHWDLOKROGLQJFRPSDQ\IRUYDULRXVPHQȍVDSSDUHOVWRUHVVLQFH$XJXVWDQG,FRQL[%UDQG
*URXS,QFDEUDQGPDQDJHPHQWFRPSDQ\3UHYLRXVO\VKHZDVDGLUHFWRURIHDFKRI/RJLWHFK,QWHUQDWLRQDO6$DSURYLGHURISHUVRQDOFRPSXWHUDQG
PRELOHSHULSKHUDOVIURP6HSWHPEHUXQWLO6HSWHPEHUDQG$XWR=RQH,QFDUHWDLOHURIDIWHUPDUNHWDXWRPRWLYHSDUWVDQGDFFHVVRULHVIURP-XO\
XQWLO'HFHPEHU0V*RYHUHFHLYHGKHU%%$IURPWKH8QLYHUVLW\RI7H[DVDW$XVWLQ

-HIIUH\$.LUZDQDJHZLOOEHDSSRLQWHG([HFXWLYH&KDLUPDQRI0DXULFHV,QFRUSRUDWHG ȐPDXULFHVȑ DVSHFLDOW\UHWDLOHUIRFXVHGRQZRPHQȍV
YDOXHDSSDUHOXSRQWKHFORVLQJRIWKHDFTXLVLWLRQRIDPDMRULW\HTXLW\VWDNHLQPDXULFHVE\2S&DSLWD&RQVXPHU2SSRUWXQLWLHV)XQG,,/3ZKLFKLV
H[SHFWHGWRFORVHE\HDUO\VXPPHU3UHYLRXVO\0U.LUZDQVHUYHGDVWKH*OREDO3UHVLGHQWDQG&KLHI([HFXWLYH2IILFHU*DS Ȑ*DSȑ DGLYLVLRQRI
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9LFH3UHVLGHQWDQG3UHVLGHQWIURP)HEUXDU\WR'HFHPEHUDQGDV6HQLRU9LFH3UHVLGHQW0DQDJLQJ'LUHFWRUDQG&KLHI2SHUDWLQJ2IILFHU
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$XJXVWWR0D\DQGDW2OG1DY\&DQDGDDV6HQLRU9LFH3UHVLGHQWDQG*HQHUDO0DQDJHUIURP0DUFKWR$XJXVWDQGDV9LFH
3UHVLGHQWDQG*HQHUDO0DQDJHUIURP$SULOWR0DUFK0U.LUZDQUHFHLYHGKLV%6IURP5KRGH,VODQG&ROOHJHDQGDQ0%$IURPWKH
8QLYHUVLW\RI0DU\ODQG8QLYHUVLW\&ROOHJH
-RVKXD(6FKHFKWHULVDSULYDWHLQYHVWRU0U6FKHFKWHUKDVDOVRVHUYHGDV&KDLUPDQRIWKH%RDUGRI'LUHFWRUVRI6XQ:RUNV,QFDSUHPLHU
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SURYLGHURIKLJKSHUIRUPDQFHVRODUSRZHUVROXWLRQVVLQFH0D\DQGDVDGLUHFWRUVLQFH$SULODVDGLUHFWRURI*HQHVFR,QFDVSHFLDOW\UHWDLOHU
RIIRRWZHDUDQGDFFHVVRULHVVLQFH$SULOWKURXJK*HQHVFRȍVDQQXDOPHHWLQJ9LDG&RUSDQ6 36PDOO&DSLQWHUQDWLRQDOH[SHULHQWLDO
VHUYLFHVFRPSDQ\VLQFH$SULODQGDGLUHFWRURI6XSSRUWFRP,QFDOHDGLQJSURYLGHURIFORXGEDVHGVRIWZDUHDQGVHUYLFHVVLQFH-XQH+H
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0U6FKHFKWHUVHUYHGDV0DQDJLQJ'LUHFWRURI6WHHO3DUWQHUV/WGDSULYDWHO\RZQHGKHGJHIXQGVSRQVRUDQGIURPWR-XQH
0U6FKHFKWHUVHUYHGDVFR3UHVLGHQWRI6WHHO3DUWQHUV-DSDQ$VVHW0DQDJHPHQW/3DSULYDWHFRPSDQ\RIIHULQJLQYHVWPHQWVHUYLFHV0U6FKHFKWHU
SUHYLRXVO\VHUYHGRQWKHERDUGRIGLUHFWRUVRI7KH3DQWU\,QFDOHDGLQJLQGHSHQGHQWO\RSHUDWHGFRQYHQLHQFHVWRUHFKDLQLQWKHVRXWKHDVWHUQ8QLWHG
6WDWHVDQGRQHRIWKHODUJHVWLQGHSHQGHQWO\RSHUDWHGFRQYHQLHQFHVWRUHFKDLQVLQWKHFRXQWU\IURP0DUFKXQWLOWKHFRPSOHWLRQRILWVVDOHLQ0DUFK
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LQPDQ\RIWKHPDUNHWVLWVHUYHVIURPXQWLODQG3XURIORZ,QF QND$UJDQ,QF DSURYLGHURIDIXOOUDQJHRISRZHULQGXVWU\DQG
WHOHFRPPXQLFDWLRQVLQIUDVWUXFWXUHVHUYLFHVIURPXQWLO0U6FKHFKWHUHDUQHGDQ03$LQ3URIHVVLRQDO$FFRXQWLQJDQGD%%$IURP7KH
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DPHQLWLHVDQGRWKHUJRRGVWRLQVWLWXWLRQDOFXVWRPHUVLQWKHKRVSLWDOLW\FUXLVHOLQHKHDOWKFDUHDQGRWKHULQGXVWULHV$GGLWLRQDOO\WKH&RPSDQ\LVDSDUWQHU
LQDMRLQWYHQWXUHZKLFKRSHUDWHVUHWDLOVWRUHVLQ0H[LFRXQGHUWKHQDPH%HG%DWK %H\RQG


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7KLVSUHVVUHOHDVHPD\FRQWDLQIRUZDUGORRNLQJVWDWHPHQWV0DQ\RIWKHVHIRUZDUGORRNLQJVWDWHPHQWVFDQEHLGHQWLILHGE\XVHRIZRUGVVXFKDVPD\
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UHVXOWVDQGIXWXUHILQDQFLDOFRQGLWLRQPD\GLIIHUPDWHULDOO\IURPWKRVHH[SUHVVHGLQDQ\VXFKIRUZDUGORRNLQJVWDWHPHQWVDVDUHVXOWRIPDQ\IDFWRUV
6XFKIDFWRUVLQFOXGHZLWKRXWOLPLWDWLRQJHQHUDOHFRQRPLFFRQGLWLRQVLQFOXGLQJWKHKRXVLQJPDUNHWDFKDOOHQJLQJRYHUDOOPDFURHFRQRPLFHQYLURQPHQW
DQGUHODWHGFKDQJHVLQWKHUHWDLOLQJHQYLURQPHQWFRQVXPHUSUHIHUHQFHVVSHQGLQJKDELWVDQGDGRSWLRQRIQHZWHFKQRORJLHVGHPRJUDSKLFVDQGRWKHU
PDFURHFRQRPLFIDFWRUVWKDWPD\LPSDFWWKHOHYHORIVSHQGLQJIRUWKHW\SHVRIPHUFKDQGLVHVROGE\WKH&RPSDQ\FLYLOGLVWXUEDQFHVDQGWHUURULVWDFWV
XQXVXDOZHDWKHUSDWWHUQVDQGQDWXUDOGLVDVWHUVFRPSHWLWLRQIURPH[LVWLQJDQGSRWHQWLDOFRPSHWLWRUVDFURVVDOOFKDQQHOVSULFLQJSUHVVXUHVOLTXLGLW\WKH
DELOLW\WRDFKLHYHDQWLFLSDWHGFRVWVDYLQJVDQGWRQRWH[FHHGDQWLFLSDWHGFRVWVDVVRFLDWHGZLWKRUJDQL]DWLRQDOFKDQJHVDQGLQYHVWPHQWVWKHDELOLW\WR
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GLVUXSWLRQGXHWRWUDGHUHVWULFWLRQVSROLWLFDOLQVWDELOLW\ODERUGLVWXUEDQFHVSURGXFWUHFDOOVILQDQFLDORURSHUDWLRQDOLQVWDELOLW\RIVXSSOLHUVRUFDUULHUVDQG
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WHFKQRORJLHVLQVXSSRUWRIWKH&RPSDQ\ȍVGHYHORSPHQWRILWVRPQLFKDQQHOFDSDELOLWLHVXQFHUWDLQW\LQILQDQFLDOPDUNHWVYRODWLOLW\LQWKHSULFHRIWKH
&RPSDQ\ȍVFRPPRQVWRFNDQGLWVHIIHFWDQGWKHHIIHFWRIRWKHUIDFWRUVRQWKH&RPSDQ\ȍVFDSLWDO
DOORFDWLRQVWUDWHJ\WKHLPSDFWRIJRRGZLOODQGLQWDQJLEOHDVVHWLPSDLUPHQWVGLVUXSWLRQVWRWKH&RPSDQ\ȍVLQIRUPDWLRQWHFKQRORJ\V\VWHPVLQFOXGLQJ
 Case 2:20-cv-08673-MCA-MAH Document 27-3 Filed 01/04/22 Page 134 of 155 PageID: 544
EXWQRWOLPLWHGWRVHFXULW\EUHDFKHVRIV\VWHPVSURWHFWLQJFRQVXPHUDQGHPSOR\HHLQIRUPDWLRQRURWKHUW\SHVRIF\EHUFULPHVRUF\EHUVHFXULW\DWWDFNV
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Bed Bath & Beyond Inc. NasdaqGS:BBBY
FQ1 2020 Earnings Call Transcripts
Wednesday, July 10, 2019 9:00 PM GMT
S&P Global Market Intelligence Estimates
                                          -FQ1 2020-                             -FQ2 2020-                        -FY 2020-                 -FY 2021-

                      CONSENSUS             ACTUAL             SURPRISE          CONSENSUS             CONSENSUS          GUIDANCE           CONSENSUS

     EPS
                          0.07                0.12                 80.00             0.59                   1.97               2.11            2.19
  Normalized

Revenue (mm)            2870.81             2862.99              30.29 4 (         270%.87              11801.2%          11) 00.00          1129) .08
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                                                                                   - EPS NORMALIZED -

                                                       CONSENSUS                               ACTUAL                           SURPRISE

           FQ2 2019                                             0.80                                 0.5%                       327.00 4 (

           FQ3 2019                                             0.16                                 0.17                         8.77 4

           FQ4 2019                                             1.10                                 1.20                         9.09 4

           FQ1 2020                                             0.07                                 0.12                        80.00 4




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